                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 1 of 69
                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                           Nation ‐ By Week

        Week               First‐Class Mail   USPS Marketing Mail           Periodicals
           1/4/2020                    91.76%              91.21%                    85.70%
          1/11/2020                    91.36%              88.61%                    85.87%
          1/18/2020                    93.01%              89.86%                    87.71%
          1/25/2020                    91.15%              91.45%                    87.49%
           2/1/2020                    90.71%              90.57%                    87.54%
           2/8/2020                    91.98%              91.80%                    88.57%
          2/15/2020                    93.88%              92.24%                    89.40%
          2/22/2020                    92.84%              93.29%                    87.38%
          2/29/2020                    93.16%              92.41%                    86.54%
           3/7/2020                    92.40%              92.21%                    86.77%
          3/14/2020                    92.11%              91.32%                    86.08%
          3/21/2020                    92.84%              92.48%                    85.57%
          3/28/2020                    92.54%              93.69%                    85.09%
           4/1/2020                    92.82%              90.08%                    85.68%
           4/4/2020                    91.55%              90.54%                    83.16%
          4/11/2020                    89.62%              89.39%                    77.21%
          4/18/2020                    91.24%              89.10%                    78.86%
          4/25/2020                    90.28%              87.83%                    74.97%
           5/2/2020                    89.99%              86.81%                    73.76%
           5/9/2020                    89.52%              87.39%                    68.94%
          5/16/2020                    91.19%              89.52%                    71.72%
          5/23/2020                    92.30%              89.52%                    76.49%
          5/30/2020                    90.39%              91.07%                    78.77%
           6/6/2020                    90.69%              89.70%                    76.53%
          6/13/2020                    91.74%              90.84%                    78.71%
          6/20/2020                    90.86%              90.69%                    79.10%
          6/27/2020                    90.70%              92.34%                    81.00%
           7/1/2020                    91.82%              89.87%                    81.04%
           7/4/2020                    90.56%              87.55%                    77.13%
          7/11/2020                    85.26%              82.94%                    73.16%
          7/18/2020                    82.22%              79.76%                    71.62%
          7/25/2020                    83.64%              82.19%                    69.47%
           8/1/2020                    82.82%              81.58%                    68.95%
           8/8/2020                    81.47%              82.27%                    69.04%
          8/15/2020                    85.19%              86.28%                    73.15%
          8/22/2020                    87.76%              89.54%                    75.57%
          8/29/2020                    88.04%              89.56%                    78.24%
           9/5/2020                    88.74%              87.90%                    80.32%
          9/12/2020                    86.75%              86.90%                    77.04%
          9/19/2020                    84.23%              88.68%                    79.72%
          9/26/2020                    85.97%              89.82%                    78.30%
          10/3/2020                    86.15%              89.17%                    78.54%
         10/10/2020                    85.58%              86.00%                    77.43%
         10/17/2020                    80.85%              86.74%                    74.68%
         10/24/2020                    81.57%              85.57%                    74.74%
         10/31/2020                    84.61%              84.00%                    76.26%
          11/7/2020                    85.40%              86.91%                    79.61%
         11/14/2020                    87.72%              88.70%                    75.44%
         11/21/2020                    84.69%              85.80%                    74.49%
         11/28/2020                    78.86%              85.28%                    67.08%
          12/5/2020                    75.29%              80.77%                    62.00%
         12/12/2020                    70.60%              74.65%                    54.00%




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Commission (PRC) at the end of the quarter.                         1
                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 2 of 69
                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                            Area ‐ By Week

         Area                  Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Capital Metro                     1/4/2020                    90.91%              87.74%                    84.43%
Capital Metro                    1/11/2020                    90.38%              82.03%                    83.34%
Capital Metro                    1/18/2020                    92.12%              85.94%                    87.35%
Capital Metro                    1/25/2020                    90.55%              88.62%                    86.04%
Capital Metro                     2/1/2020                    90.22%              88.11%                    85.11%
Capital Metro                     2/8/2020                    91.78%              89.28%                    87.92%
Capital Metro                    2/15/2020                    93.58%              89.84%                    89.34%
Capital Metro                    2/22/2020                    92.29%              90.98%                    85.68%
Capital Metro                    2/29/2020                    92.88%              84.70%                    84.43%
Capital Metro                     3/7/2020                    92.15%              89.99%                    85.58%
Capital Metro                    3/14/2020                    92.86%              89.83%                    85.48%
Capital Metro                    3/21/2020                    93.44%              91.39%                    86.61%
Capital Metro                    3/28/2020                    93.23%              93.33%                    86.46%
Capital Metro                     4/1/2020                    94.20%              90.41%                    86.53%
Capital Metro                     4/4/2020                    92.99%              92.27%                    87.31%
Capital Metro                    4/11/2020                    91.65%              91.72%                    81.63%
Capital Metro                    4/18/2020                    92.87%              92.67%                    84.91%
Capital Metro                    4/25/2020                    92.04%              90.92%                    78.95%
Capital Metro                     5/2/2020                    91.08%              88.45%                    77.63%
Capital Metro                     5/9/2020                    89.71%              86.44%                    68.43%
Capital Metro                    5/16/2020                    91.38%              85.77%                    71.09%
Capital Metro                    5/23/2020                    92.45%              88.50%                    78.75%
Capital Metro                    5/30/2020                    89.55%              88.82%                    77.07%
Capital Metro                     6/6/2020                    90.07%              85.87%                    77.74%
Capital Metro                    6/13/2020                    90.86%              88.67%                    78.93%
Capital Metro                    6/20/2020                    90.76%              89.32%                    81.19%
Capital Metro                    6/27/2020                    91.15%              92.77%                    81.11%
Capital Metro                     7/1/2020                    92.00%              88.45%                    80.37%
Capital Metro                     7/4/2020                    90.81%              86.74%                    72.63%
Capital Metro                    7/11/2020                    87.12%              81.71%                    68.58%
Capital Metro                    7/18/2020                    83.65%              78.91%                    66.25%
Capital Metro                    7/25/2020                    84.31%              79.65%                    65.58%
Capital Metro                     8/1/2020                    83.36%              80.50%                    70.06%
Capital Metro                     8/8/2020                    80.63%              77.33%                    68.21%
Capital Metro                    8/15/2020                    83.11%              80.46%                    68.56%
Capital Metro                    8/22/2020                    86.60%              86.67%                    72.47%
Capital Metro                    8/29/2020                    85.46%              86.13%                    68.95%
Capital Metro                     9/5/2020                    84.59%              82.79%                    77.50%
Capital Metro                    9/12/2020                    83.09%              81.13%                    73.59%
Capital Metro                    9/19/2020                    78.70%              82.41%                    75.40%
Capital Metro                    9/26/2020                    82.65%              85.60%                    71.66%
Capital Metro                    10/3/2020                    82.47%              84.14%                    74.88%
Capital Metro                   10/10/2020                    80.76%              79.76%                    69.98%
Capital Metro                   10/17/2020                    73.69%              75.48%                    68.29%
Capital Metro                   10/24/2020                    74.19%              71.22%                    62.56%
Capital Metro                   10/31/2020                    78.86%              70.07%                    62.85%
Capital Metro                    11/7/2020                    80.81%              79.37%                    70.85%
Capital Metro                   11/14/2020                    84.01%              82.86%                    66.64%
Capital Metro                   11/21/2020                    82.54%              80.12%                    71.79%
Capital Metro                   11/28/2020                    74.51%              80.13%                    57.63%
Capital Metro                    12/5/2020                    68.61%              73.75%                    55.85%
Capital Metro                   12/12/2020                    60.61%              68.24%                    48.50%
Eastern                           1/4/2020                    91.55%              92.72%                    87.05%
Eastern                          1/11/2020                    92.64%              90.84%                    89.31%
Eastern                          1/18/2020                    93.93%              92.72%                    91.71%
Eastern                          1/25/2020                    92.21%              94.23%                    87.53%
Eastern                           2/1/2020                    92.30%              93.80%                    91.07%


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                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 3 of 69
                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                            Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Eastern                           2/8/2020                    93.13%              94.04%                    89.85%
Eastern                          2/15/2020                    94.59%              94.32%                    91.21%
Eastern                          2/22/2020                    93.18%              95.21%                    90.93%
Eastern                          2/29/2020                    93.38%              94.95%                    90.31%
Eastern                           3/7/2020                    92.88%              94.59%                    90.24%
Eastern                          3/14/2020                    92.91%              94.37%                    88.19%
Eastern                          3/21/2020                    93.69%              94.15%                    88.22%
Eastern                          3/28/2020                    93.37%              95.10%                    88.79%
Eastern                           4/1/2020                    93.95%              93.45%                    88.85%
Eastern                           4/4/2020                    92.93%              93.34%                    87.38%
Eastern                          4/11/2020                    91.43%              91.62%                    80.24%
Eastern                          4/18/2020                    92.12%              92.55%                    81.49%
Eastern                          4/25/2020                    91.18%              90.27%                    77.48%
Eastern                           5/2/2020                    91.23%              90.78%                    79.48%
Eastern                           5/9/2020                    91.38%              91.40%                    72.02%
Eastern                          5/16/2020                    91.88%              92.85%                    77.68%
Eastern                          5/23/2020                    93.24%              90.27%                    80.40%
Eastern                          5/30/2020                    91.66%              92.04%                    80.77%
Eastern                           6/6/2020                    92.14%              91.98%                    81.58%
Eastern                          6/13/2020                    92.73%              92.57%                    82.71%
Eastern                          6/20/2020                    92.34%              91.98%                    82.02%
Eastern                          6/27/2020                    92.27%              93.63%                    83.13%
Eastern                           7/1/2020                    93.02%              92.33%                    80.62%
Eastern                           7/4/2020                    91.09%              89.09%                    78.91%
Eastern                          7/11/2020                    85.29%              82.02%                    74.92%
Eastern                          7/18/2020                    79.00%              74.45%                    73.60%
Eastern                          7/25/2020                    78.04%              79.19%                    72.43%
Eastern                           8/1/2020                    79.75%              81.17%                    68.68%
Eastern                           8/8/2020                    78.98%              80.10%                    71.14%
Eastern                          8/15/2020                    83.65%              85.46%                    75.94%
Eastern                          8/22/2020                    88.25%              90.73%                    78.16%
Eastern                          8/29/2020                    88.53%              90.51%                    77.46%
Eastern                           9/5/2020                    88.90%              88.92%                    80.83%
Eastern                          9/12/2020                    86.27%              86.20%                    78.87%
Eastern                          9/19/2020                    82.98%              87.18%                    81.00%
Eastern                          9/26/2020                    84.81%              89.98%                    78.69%
Eastern                          10/3/2020                    83.72%              88.29%                    82.54%
Eastern                         10/10/2020                    82.90%              85.10%                    79.03%
Eastern                         10/17/2020                    75.39%              82.14%                    72.63%
Eastern                         10/24/2020                    74.07%              80.32%                    74.97%
Eastern                         10/31/2020                    77.49%              77.61%                    79.61%
Eastern                          11/7/2020                    80.40%              82.03%                    80.08%
Eastern                         11/14/2020                    84.46%              85.34%                    75.81%
Eastern                         11/21/2020                    81.31%              79.08%                    73.40%
Eastern                         11/28/2020                    72.11%              79.03%                    66.96%
Eastern                          12/5/2020                    65.90%              71.46%                    48.09%
Eastern                         12/12/2020                    57.22%              59.26%                    40.78%
Great Lakes                       1/4/2020                    91.09%              91.75%                    85.58%
Great Lakes                      1/11/2020                    90.97%              89.42%                    87.13%
Great Lakes                      1/18/2020                    92.29%              89.60%                    86.96%
Great Lakes                      1/25/2020                    90.07%              90.56%                    86.47%
Great Lakes                       2/1/2020                    88.41%              89.81%                    86.19%
Great Lakes                       2/8/2020                    91.63%              90.76%                    87.53%
Great Lakes                      2/15/2020                    93.02%              91.19%                    87.26%
Great Lakes                      2/22/2020                    92.07%              92.50%                    84.37%
Great Lakes                      2/29/2020                    92.35%              89.88%                    84.11%
Great Lakes                       3/7/2020                    92.02%              91.07%                    86.81%


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                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 4 of 69
                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                            Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Great Lakes                      3/14/2020                    91.48%              90.71%                    84.42%
Great Lakes                      3/21/2020                    91.76%              89.84%                    82.94%
Great Lakes                      3/28/2020                    90.41%              88.33%                    82.87%
Great Lakes                       4/1/2020                    90.01%              77.95%                    77.26%
Great Lakes                       4/4/2020                    88.16%              82.15%                    76.87%
Great Lakes                      4/11/2020                    84.87%              79.25%                    73.14%
Great Lakes                      4/18/2020                    88.59%              75.22%                    67.57%
Great Lakes                      4/25/2020                    88.23%              76.82%                    69.61%
Great Lakes                       5/2/2020                    87.51%              76.09%                    57.75%
Great Lakes                       5/9/2020                    87.46%              77.87%                    69.07%
Great Lakes                      5/16/2020                    89.26%              86.85%                    61.82%
Great Lakes                      5/23/2020                    91.17%              87.53%                    74.02%
Great Lakes                      5/30/2020                    89.76%              89.69%                    77.53%
Great Lakes                       6/6/2020                    90.21%              87.33%                    74.99%
Great Lakes                      6/13/2020                    90.97%              89.14%                    74.19%
Great Lakes                      6/20/2020                    89.81%              89.73%                    75.24%
Great Lakes                      6/27/2020                    89.77%              91.01%                    76.46%
Great Lakes                       7/1/2020                    90.23%              85.87%                    71.64%
Great Lakes                       7/4/2020                    88.34%              84.28%                    71.03%
Great Lakes                      7/11/2020                    82.40%              79.74%                    70.99%
Great Lakes                      7/18/2020                    81.14%              77.52%                    63.56%
Great Lakes                      7/25/2020                    80.71%              73.47%                    56.85%
Great Lakes                       8/1/2020                    79.49%              71.24%                    58.93%
Great Lakes                       8/8/2020                    79.25%              71.67%                    64.06%
Great Lakes                      8/15/2020                    83.71%              80.19%                    69.20%
Great Lakes                      8/22/2020                    86.38%              83.87%                    71.19%
Great Lakes                      8/29/2020                    87.40%              84.83%                    75.90%
Great Lakes                       9/5/2020                    87.47%              84.88%                    76.27%
Great Lakes                      9/12/2020                    85.18%              85.03%                    72.83%
Great Lakes                      9/19/2020                    78.16%              86.75%                    71.82%
Great Lakes                      9/26/2020                    81.14%              83.62%                    72.51%
Great Lakes                      10/3/2020                    83.53%              82.67%                    69.51%
Great Lakes                     10/10/2020                    83.25%              82.25%                    74.09%
Great Lakes                     10/17/2020                    79.87%              85.71%                    68.95%
Great Lakes                     10/24/2020                    80.44%              85.00%                    69.24%
Great Lakes                     10/31/2020                    83.72%              82.11%                    70.13%
Great Lakes                      11/7/2020                    83.99%              86.23%                    78.73%
Great Lakes                     11/14/2020                    85.74%              86.64%                    66.98%
Great Lakes                     11/21/2020                    82.62%              79.26%                    64.75%
Great Lakes                     11/28/2020                    77.69%              80.13%                    56.27%
Great Lakes                      12/5/2020                    74.28%              77.23%                    49.39%
Great Lakes                     12/12/2020                    70.00%              70.00%                    51.44%
Northeast                         1/4/2020                    91.24%              89.76%                    84.39%
Northeast                        1/11/2020                    91.20%              87.80%                    80.59%
Northeast                        1/18/2020                    92.10%              88.72%                    82.77%
Northeast                        1/25/2020                    90.46%              91.32%                    83.49%
Northeast                         2/1/2020                    91.45%              90.47%                    85.06%
Northeast                         2/8/2020                    91.74%              91.17%                    85.51%
Northeast                        2/15/2020                    93.41%              92.07%                    86.55%
Northeast                        2/22/2020                    92.49%              91.98%                    81.32%
Northeast                        2/29/2020                    92.77%              92.03%                    82.54%
Northeast                         3/7/2020                    91.80%              90.96%                    82.34%
Northeast                        3/14/2020                    90.56%              87.27%                    80.50%
Northeast                        3/21/2020                    91.17%              89.73%                    78.18%
Northeast                        3/28/2020                    91.02%              89.99%                    73.87%
Northeast                         4/1/2020                    90.88%              86.98%                    76.26%
Northeast                         4/4/2020                    88.48%              77.40%                    63.52%


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                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 5 of 69
                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                            Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Northeast                        4/11/2020                    84.09%              74.19%                    50.42%
Northeast                        4/18/2020                    85.91%              76.41%                    51.08%
Northeast                        4/25/2020                    85.57%              72.43%                    39.24%
Northeast                         5/2/2020                    84.12%              70.03%                    41.35%
Northeast                         5/9/2020                    85.26%              77.96%                    42.51%
Northeast                        5/16/2020                    88.56%              82.29%                    50.58%
Northeast                        5/23/2020                    89.48%              84.53%                    53.41%
Northeast                        5/30/2020                    87.84%              87.90%                    63.01%
Northeast                         6/6/2020                    88.25%              87.13%                    56.93%
Northeast                        6/13/2020                    90.14%              88.42%                    64.55%
Northeast                        6/20/2020                    89.56%              88.73%                    65.60%
Northeast                        6/27/2020                    89.51%              88.39%                    72.75%
Northeast                         7/1/2020                    90.83%              91.06%                    72.12%
Northeast                         7/4/2020                    89.87%              87.65%                    71.70%
Northeast                        7/11/2020                    84.25%              84.79%                    65.70%
Northeast                        7/18/2020                    82.64%              84.28%                    66.32%
Northeast                        7/25/2020                    85.58%              86.14%                    65.67%
Northeast                         8/1/2020                    84.29%              81.54%                    65.51%
Northeast                         8/8/2020                    81.26%              82.96%                    64.34%
Northeast                        8/15/2020                    85.91%              88.91%                    68.93%
Northeast                        8/22/2020                    88.33%              89.24%                    71.73%
Northeast                        8/29/2020                    89.74%              90.17%                    72.70%
Northeast                         9/5/2020                    90.13%              89.12%                    78.47%
Northeast                        9/12/2020                    87.71%              86.36%                    70.70%
Northeast                        9/19/2020                    85.24%              89.17%                    75.71%
Northeast                        9/26/2020                    88.55%              92.06%                    78.59%
Northeast                        10/3/2020                    88.25%              90.32%                    77.52%
Northeast                       10/10/2020                    88.01%              88.06%                    74.58%
Northeast                       10/17/2020                    85.43%              91.30%                    72.59%
Northeast                       10/24/2020                    86.45%              90.02%                    71.83%
Northeast                       10/31/2020                    88.23%              89.16%                    71.26%
Northeast                        11/7/2020                    88.50%              91.99%                    79.67%
Northeast                       11/14/2020                    89.97%              89.31%                    69.40%
Northeast                       11/21/2020                    86.83%              87.79%                    67.06%
Northeast                       11/28/2020                    83.19%              89.50%                    60.44%
Northeast                        12/5/2020                    78.54%              82.26%                    60.55%
Northeast                       12/12/2020                    71.00%              72.09%                    46.43%
Pacific                           1/4/2020                    93.61%              93.21%                    84.80%
Pacific                          1/11/2020                    92.62%              91.93%                    85.16%
Pacific                          1/18/2020                    93.84%              92.32%                    89.86%
Pacific                          1/25/2020                    92.35%              91.46%                    89.13%
Pacific                           2/1/2020                    90.72%              88.77%                    87.07%
Pacific                           2/8/2020                    91.51%              91.83%                    87.96%
Pacific                          2/15/2020                    94.29%              93.61%                    91.85%
Pacific                          2/22/2020                    93.78%              95.10%                    89.31%
Pacific                          2/29/2020                    93.69%              92.77%                    84.15%
Pacific                           3/7/2020                    93.49%              93.46%                    87.32%
Pacific                          3/14/2020                    92.64%              93.28%                    87.73%
Pacific                          3/21/2020                    93.54%              94.51%                    87.73%
Pacific                          3/28/2020                    93.57%              95.26%                    86.96%
Pacific                           4/1/2020                    93.81%              90.31%                    89.12%
Pacific                           4/4/2020                    92.72%              94.14%                    88.47%
Pacific                          4/11/2020                    91.65%              93.72%                    83.55%
Pacific                          4/18/2020                    92.50%              91.95%                    86.33%
Pacific                          4/25/2020                    90.30%              92.08%                    81.57%
Pacific                           5/2/2020                    91.48%              92.89%                    82.21%
Pacific                           5/9/2020                    89.83%              92.48%                    76.42%


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                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 6 of 69
                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                            Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Pacific                          5/16/2020                    91.10%              92.80%                    79.79%
Pacific                          5/23/2020                    92.14%              91.87%                    79.56%
Pacific                          5/30/2020                    90.43%              91.48%                    77.38%
Pacific                           6/6/2020                    90.74%              91.61%                    77.79%
Pacific                          6/13/2020                    91.85%              91.48%                    81.97%
Pacific                          6/20/2020                    89.79%              90.86%                    81.10%
Pacific                          6/27/2020                    90.64%              91.67%                    81.63%
Pacific                           7/1/2020                    91.54%              87.77%                    83.93%
Pacific                           7/4/2020                    91.17%              88.17%                    75.26%
Pacific                          7/11/2020                    86.26%              85.84%                    71.24%
Pacific                          7/18/2020                    82.52%              82.14%                    74.54%
Pacific                          7/25/2020                    84.12%              85.11%                    69.36%
Pacific                           8/1/2020                    80.80%              83.60%                    64.08%
Pacific                           8/8/2020                    81.29%              85.75%                    67.68%
Pacific                          8/15/2020                    86.37%              89.32%                    72.57%
Pacific                          8/22/2020                    88.84%              91.04%                    76.21%
Pacific                          8/29/2020                    90.24%              90.64%                    80.06%
Pacific                           9/5/2020                    91.22%              91.11%                    80.99%
Pacific                          9/12/2020                    90.91%              91.51%                    81.10%
Pacific                          9/19/2020                    90.70%              93.56%                    87.02%
Pacific                          9/26/2020                    90.77%              93.35%                    81.83%
Pacific                          10/3/2020                    90.10%              93.63%                    83.00%
Pacific                         10/10/2020                    90.73%              91.92%                    80.21%
Pacific                         10/17/2020                    87.42%              94.13%                    79.07%
Pacific                         10/24/2020                    88.62%              94.38%                    80.93%
Pacific                         10/31/2020                    90.18%              93.23%                    85.72%
Pacific                          11/7/2020                    90.99%              94.38%                    86.58%
Pacific                         11/14/2020                    92.18%              94.15%                    87.69%
Pacific                         11/21/2020                    89.90%              93.95%                    87.20%
Pacific                         11/28/2020                    84.87%              92.86%                    80.34%
Pacific                          12/5/2020                    81.96%              91.33%                    80.18%
Pacific                         12/12/2020                    81.34%              87.40%                    75.50%
Southern                          1/4/2020                    91.96%              91.10%                    84.77%
Southern                         1/11/2020                    91.03%              87.45%                    85.13%
Southern                         1/18/2020                    93.47%              88.19%                    86.46%
Southern                         1/25/2020                    91.52%              90.04%                    88.85%
Southern                          2/1/2020                    91.36%              90.05%                    86.98%
Southern                          2/8/2020                    92.07%              91.64%                    87.48%
Southern                         2/15/2020                    93.87%              91.60%                    88.06%
Southern                         2/22/2020                    92.56%              92.30%                    86.83%
Southern                         2/29/2020                    93.23%              91.98%                    87.74%
Southern                          3/7/2020                    92.38%              91.56%                    85.73%
Southern                         3/14/2020                    91.83%              90.23%                    85.16%
Southern                         3/21/2020                    93.39%              92.77%                    86.53%
Southern                         3/28/2020                    93.12%              94.98%                    86.48%
Southern                          4/1/2020                    93.38%              91.72%                    88.84%
Southern                          4/4/2020                    92.33%              94.01%                    86.97%
Southern                         4/11/2020                    91.03%              93.61%                    80.96%
Southern                         4/18/2020                    92.56%              93.59%                    86.73%
Southern                         4/25/2020                    91.99%              91.68%                    83.97%
Southern                          5/2/2020                    91.40%              91.60%                    80.60%
Southern                          5/9/2020                    90.61%              90.07%                    71.47%
Southern                         5/16/2020                    92.05%              91.16%                    79.32%
Southern                         5/23/2020                    93.01%              89.87%                    80.48%
Southern                         5/30/2020                    91.22%              91.55%                    81.97%
Southern                          6/6/2020                    90.94%              90.28%                    79.37%
Southern                         6/13/2020                    92.00%              90.90%                    80.87%


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Commission (PRC) at the end of the quarter.                         6
                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 7 of 69
                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                            Area ‐ By Week

        Area                   Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Southern                         6/20/2020                    90.63%              90.60%                    81.47%
Southern                         6/27/2020                    90.45%              91.90%                    79.90%
Southern                          7/1/2020                    92.37%              90.16%                    82.94%
Southern                          7/4/2020                    90.68%              87.43%                    77.49%
Southern                         7/11/2020                    84.76%              79.47%                    74.99%
Southern                         7/18/2020                    81.60%              76.82%                    69.06%
Southern                         7/25/2020                    84.82%              80.34%                    71.90%
Southern                          8/1/2020                    84.42%              81.51%                    70.25%
Southern                          8/8/2020                    82.51%              84.94%                    67.60%
Southern                         8/15/2020                    86.42%              86.98%                    71.62%
Southern                         8/22/2020                    88.25%              89.95%                    75.23%
Southern                         8/29/2020                    87.98%              90.47%                    83.86%
Southern                          9/5/2020                    89.50%              87.49%                    79.54%
Southern                         9/12/2020                    87.10%              87.40%                    79.28%
Southern                         9/19/2020                    85.15%              88.82%                    80.46%
Southern                         9/26/2020                    86.61%              90.12%                    80.10%
Southern                         10/3/2020                    86.16%              89.51%                    79.05%
Southern                        10/10/2020                    85.99%              86.23%                    77.57%
Southern                        10/17/2020                    81.89%              87.86%                    76.49%
Southern                        10/24/2020                    82.82%              87.12%                    79.48%
Southern                        10/31/2020                    86.27%              86.95%                    79.79%
Southern                         11/7/2020                    86.52%              88.40%                    77.62%
Southern                        11/14/2020                    88.18%              90.82%                    79.62%
Southern                        11/21/2020                    85.40%              90.68%                    76.20%
Southern                        11/28/2020                    80.23%              87.52%                    70.67%
Southern                         12/5/2020                    76.11%              84.59%                    59.47%
Southern                        12/12/2020                    73.96%              82.21%                    56.44%
Western                           1/4/2020                    91.85%              91.52%                    87.68%
Western                          1/11/2020                    90.75%              90.60%                    88.44%
Western                          1/18/2020                    92.92%              91.35%                    87.56%
Western                          1/25/2020                    90.67%              93.22%                    89.11%
Western                           2/1/2020                    90.42%              91.63%                    89.21%
Western                           2/8/2020                    91.82%              93.23%                    91.20%
Western                          2/15/2020                    94.19%              92.59%                    91.04%
Western                          2/22/2020                    93.32%              94.21%                    90.29%
Western                          2/29/2020                    93.54%              94.12%                    88.10%
Western                           3/7/2020                    92.14%              93.33%                    88.26%
Western                          3/14/2020                    92.37%              93.23%                    88.94%
Western                          3/21/2020                    92.56%              94.25%                    88.05%
Western                          3/28/2020                    92.66%              94.77%                    87.13%
Western                           4/1/2020                    93.11%              93.38%                    87.83%
Western                           4/4/2020                    92.16%              94.18%                    85.19%
Western                          4/11/2020                    90.85%              93.38%                    85.44%
Western                          4/18/2020                    92.59%              94.15%                    85.72%
Western                          4/25/2020                    91.33%              93.95%                    81.55%
Western                           5/2/2020                    91.29%              93.19%                    83.64%
Western                           5/9/2020                    90.69%              92.87%                    81.15%
Western                          5/16/2020                    92.65%              94.29%                    83.71%
Western                          5/23/2020                    93.25%              92.86%                    84.07%
Western                          5/30/2020                    90.87%              93.97%                    83.69%
Western                           6/6/2020                    91.43%              92.32%                    83.19%
Western                          6/13/2020                    92.54%              93.64%                    85.51%
Western                          6/20/2020                    92.13%              92.75%                    83.29%
Western                          6/27/2020                    90.95%              93.64%                    87.16%
Western                           7/1/2020                    91.94%              91.87%                    85.42%
Western                           7/4/2020                    91.37%              89.49%                    82.28%
Western                          7/11/2020                    86.80%              88.39%                    81.39%


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Commission (PRC) at the end of the quarter.                         7
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 8 of 69
                           USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                            Area ‐ By Week

          Area                 Week               First‐Class Mail   USPS Marketing Mail           Periodicals
Western                          7/18/2020                    84.66%              86.94%                    82.10%
Western                          7/25/2020                    87.04%              90.19%                    79.07%
Western                           8/1/2020                    86.05%              88.72%                    79.39%
Western                           8/8/2020                    84.67%              89.79%                    76.24%
Western                          8/15/2020                    86.23%              91.11%                    80.10%
Western                          8/22/2020                    87.48%              93.13%                    81.52%
Western                          8/29/2020                    87.23%              92.48%                    82.57%
Western                           9/5/2020                    88.86%              90.35%                    84.37%
Western                          9/12/2020                    87.12%              90.00%                    83.06%
Western                          9/19/2020                    87.66%              92.59%                    83.96%
Western                          9/26/2020                    87.70%              91.99%                    82.64%
Western                          10/3/2020                    88.38%              93.29%                    82.07%
Western                         10/10/2020                    87.48%              87.39%                    84.12%
Western                         10/17/2020                    82.88%              88.93%                    80.21%
Western                         10/24/2020                    84.50%              90.19%                    82.67%
Western                         10/31/2020                    87.23%              88.24%                    80.60%
Western                          11/7/2020                    86.87%              87.28%                    83.40%
Western                         11/14/2020                    89.34%              90.53%                    82.49%
Western                         11/21/2020                    84.62%              88.34%                    79.55%
Western                         11/28/2020                    80.21%              86.29%                    73.82%
Western                          12/5/2020                    79.39%              82.94%                    70.39%
Western                         12/12/2020                    77.48%              77.41%                    62.90%




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Commission (PRC) at the end of the quarter.                         8
                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 9 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

         Area                  District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Capital Metro          Atlanta                             1/4/2020                   92.83%              84.53%                     81.66%
Capital Metro          Atlanta                            1/11/2020                   91.52%              82.35%                     81.44%
Capital Metro          Atlanta                            1/18/2020                   93.84%              79.42%                     87.63%
Capital Metro          Atlanta                            1/25/2020                   91.34%              85.59%                     85.13%
Capital Metro          Atlanta                             2/1/2020                   91.16%              77.71%                     80.65%
Capital Metro          Atlanta                             2/8/2020                   92.55%              86.78%                     87.46%
Capital Metro          Atlanta                            2/15/2020                   94.07%              84.00%                     90.70%
Capital Metro          Atlanta                            2/22/2020                   92.05%              87.86%                     87.92%
Capital Metro          Atlanta                            2/29/2020                   93.18%              83.15%                     78.75%
Capital Metro          Atlanta                             3/7/2020                   92.32%              88.33%                     79.72%
Capital Metro          Atlanta                            3/14/2020                   93.07%              89.46%                     80.15%
Capital Metro          Atlanta                            3/21/2020                   93.61%              89.59%                     84.71%
Capital Metro          Atlanta                            3/28/2020                   93.10%              92.59%                     83.72%
Capital Metro          Atlanta                             4/1/2020                   94.40%              82.00%                     85.27%
Capital Metro          Atlanta                             4/4/2020                   93.18%              83.56%                     83.21%
Capital Metro          Atlanta                            4/11/2020                   92.63%              90.21%                     84.09%
Capital Metro          Atlanta                            4/18/2020                   92.78%              91.55%                     80.77%
Capital Metro          Atlanta                            4/25/2020                   91.58%              87.90%                     78.32%
Capital Metro          Atlanta                             5/2/2020                   92.12%              79.79%                     69.62%
Capital Metro          Atlanta                             5/9/2020                   90.84%              80.79%                     55.69%
Capital Metro          Atlanta                            5/16/2020                   92.63%              82.94%                     59.76%
Capital Metro          Atlanta                            5/23/2020                   92.94%              86.30%                     77.07%
Capital Metro          Atlanta                            5/30/2020                   91.40%              86.04%                     72.59%
Capital Metro          Atlanta                             6/6/2020                   91.02%              76.43%                     72.63%
Capital Metro          Atlanta                            6/13/2020                   91.69%              81.79%                     76.83%
Capital Metro          Atlanta                            6/20/2020                   91.61%              83.74%                     85.04%
Capital Metro          Atlanta                            6/27/2020                   91.49%              88.79%                     83.37%
Capital Metro          Atlanta                             7/1/2020                   91.77%              77.58%                     65.41%
Capital Metro          Atlanta                             7/4/2020                   90.71%              80.35%                     70.00%
Capital Metro          Atlanta                            7/11/2020                   87.14%              76.45%                     65.86%
Capital Metro          Atlanta                            7/18/2020                   85.51%              72.51%                     55.21%
Capital Metro          Atlanta                            7/25/2020                   87.14%              79.36%                     73.20%
Capital Metro          Atlanta                             8/1/2020                   86.59%              72.52%                     71.29%
Capital Metro          Atlanta                             8/8/2020                   83.99%              77.99%                     68.78%
Capital Metro          Atlanta                            8/15/2020                   84.97%              72.34%                     66.85%
Capital Metro          Atlanta                            8/22/2020                   89.79%              80.90%                     79.80%
Capital Metro          Atlanta                            8/29/2020                   90.08%              83.23%                     81.18%
Capital Metro          Atlanta                             9/5/2020                   88.75%              75.27%                     73.21%
Capital Metro          Atlanta                            9/12/2020                   85.36%              76.04%                     76.73%
Capital Metro          Atlanta                            9/19/2020                   82.06%              72.50%                     69.70%
Capital Metro          Atlanta                            9/26/2020                   83.50%              73.58%                     65.74%
Capital Metro          Atlanta                            10/3/2020                   83.78%              72.87%                     62.69%
Capital Metro          Atlanta                           10/10/2020                   82.22%              59.55%                     55.46%
Capital Metro          Atlanta                           10/17/2020                   79.46%              56.97%                     59.14%
Capital Metro          Atlanta                           10/24/2020                   80.83%              63.45%                     71.98%
Capital Metro          Atlanta                           10/31/2020                   82.62%              66.40%                     62.31%
Capital Metro          Atlanta                            11/7/2020                   85.07%              77.60%                     68.36%
Capital Metro          Atlanta                           11/14/2020                   87.63%              82.97%                     72.48%
Capital Metro          Atlanta                           11/21/2020                   84.24%              75.53%                     75.89%
Capital Metro          Atlanta                           11/28/2020                   75.25%              67.50%                     59.95%
Capital Metro          Atlanta                            12/5/2020                   67.22%              65.15%                     34.27%
Capital Metro          Atlanta                           12/12/2020                   60.34%              61.90%                     40.03%
Capital Metro          Baltimore                           1/4/2020                   86.86%              83.71%                     82.29%
Capital Metro          Baltimore                          1/11/2020                   86.82%              76.29%                     89.55%
Capital Metro          Baltimore                          1/18/2020                   86.79%              82.91%                     87.64%
Capital Metro          Baltimore                          1/25/2020                   87.34%              88.07%                     83.09%
Capital Metro          Baltimore                           2/1/2020                   89.92%              89.30%                     80.31%
Capital Metro          Baltimore                           2/8/2020                   91.36%              89.82%                     87.77%

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                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 10 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

         Area                  District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Capital Metro          Baltimore                          2/15/2020                   91.56%              88.99%                     86.43%
Capital Metro          Baltimore                          2/22/2020                   91.43%              91.17%                     87.84%
Capital Metro          Baltimore                          2/29/2020                   91.48%              84.23%                     80.89%
Capital Metro          Baltimore                           3/7/2020                   89.48%              90.54%                     88.67%
Capital Metro          Baltimore                          3/14/2020                   91.31%              90.94%                     88.24%
Capital Metro          Baltimore                          3/21/2020                   91.29%              89.01%                     82.65%
Capital Metro          Baltimore                          3/28/2020                   91.85%              93.12%                     87.14%
Capital Metro          Baltimore                           4/1/2020                   91.83%              90.54%                     82.92%
Capital Metro          Baltimore                           4/4/2020                   88.77%              87.17%                     84.37%
Capital Metro          Baltimore                          4/11/2020                   86.75%              85.31%                     76.68%
Capital Metro          Baltimore                          4/18/2020                   90.02%              89.80%                     80.94%
Capital Metro          Baltimore                          4/25/2020                   89.10%              85.93%                     70.37%
Capital Metro          Baltimore                           5/2/2020                   85.36%              77.15%                     53.59%
Capital Metro          Baltimore                           5/9/2020                   78.86%              67.20%                     36.73%
Capital Metro          Baltimore                          5/16/2020                   80.89%              66.21%                     27.03%
Capital Metro          Baltimore                          5/23/2020                   88.91%              83.67%                     61.07%
Capital Metro          Baltimore                          5/30/2020                   80.20%              76.24%                     67.31%
Capital Metro          Baltimore                           6/6/2020                   80.99%              73.22%                     67.37%
Capital Metro          Baltimore                          6/13/2020                   86.03%              86.68%                     71.02%
Capital Metro          Baltimore                          6/20/2020                   85.04%              86.87%                     76.76%
Capital Metro          Baltimore                          6/27/2020                   88.46%              93.82%                     79.25%
Capital Metro          Baltimore                           7/1/2020                   89.70%              89.77%                     79.17%
Capital Metro          Baltimore                           7/4/2020                   87.97%              88.03%                     75.78%
Capital Metro          Baltimore                          7/11/2020                   81.36%              84.02%                     67.07%
Capital Metro          Baltimore                          7/18/2020                   77.06%              80.03%                     71.79%
Capital Metro          Baltimore                          7/25/2020                   75.14%              76.00%                     47.70%
Capital Metro          Baltimore                           8/1/2020                   64.05%              65.44%                     53.58%
Capital Metro          Baltimore                           8/8/2020                   59.63%              58.54%                     41.84%
Capital Metro          Baltimore                          8/15/2020                   64.75%              59.57%                     34.88%
Capital Metro          Baltimore                          8/22/2020                   72.59%              73.85%                     34.55%
Capital Metro          Baltimore                          8/29/2020                   59.74%              58.10%                     29.15%
Capital Metro          Baltimore                           9/5/2020                   61.13%              56.11%                     48.36%
Capital Metro          Baltimore                          9/12/2020                   61.24%              59.53%                     61.61%
Capital Metro          Baltimore                          9/19/2020                   60.67%              74.89%                     65.65%
Capital Metro          Baltimore                          9/26/2020                   73.67%              86.97%                     64.91%
Capital Metro          Baltimore                          10/3/2020                   74.49%              82.33%                     67.08%
Capital Metro          Baltimore                         10/10/2020                   65.50%              74.83%                     70.46%
Capital Metro          Baltimore                         10/17/2020                   53.48%              76.38%                     55.16%
Capital Metro          Baltimore                         10/24/2020                   57.17%              74.39%                     47.99%
Capital Metro          Baltimore                         10/31/2020                   69.01%              76.93%                     60.50%
Capital Metro          Baltimore                          11/7/2020                   74.70%              83.76%                     64.56%
Capital Metro          Baltimore                         11/14/2020                   79.40%              85.66%                     62.33%
Capital Metro          Baltimore                         11/21/2020                   72.42%              78.63%                     56.09%
Capital Metro          Baltimore                         11/28/2020                   65.17%              78.37%                     40.81%
Capital Metro          Baltimore                          12/5/2020                   58.78%              64.88%                     43.65%
Capital Metro          Baltimore                         12/12/2020                   39.54%              48.74%                     29.00%
Capital Metro          Capital                             1/4/2020                   85.55%              90.55%                     75.82%
Capital Metro          Capital                            1/11/2020                   87.08%              84.24%                     78.84%
Capital Metro          Capital                            1/18/2020                   89.89%              87.11%                     85.30%
Capital Metro          Capital                            1/25/2020                   88.29%              91.06%                     79.31%
Capital Metro          Capital                             2/1/2020                   87.82%              90.08%                     85.54%
Capital Metro          Capital                             2/8/2020                   88.71%              91.03%                     85.00%
Capital Metro          Capital                            2/15/2020                   91.57%              90.28%                     85.44%
Capital Metro          Capital                            2/22/2020                   90.82%              92.49%                     85.60%
Capital Metro          Capital                            2/29/2020                   90.38%              85.57%                     84.59%
Capital Metro          Capital                             3/7/2020                   90.39%              90.03%                     84.79%
Capital Metro          Capital                            3/14/2020                   90.45%              92.77%                     87.14%
Capital Metro          Capital                            3/21/2020                   91.93%              93.43%                     87.92%

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                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 11 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

         Area                  District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Capital Metro          Capital                            3/28/2020                   91.09%              94.16%                     85.12%
Capital Metro          Capital                             4/1/2020                   91.46%              91.93%                     86.95%
Capital Metro          Capital                             4/4/2020                   90.34%              93.96%                     83.32%
Capital Metro          Capital                            4/11/2020                   88.73%              93.43%                     77.77%
Capital Metro          Capital                            4/18/2020                   89.55%              93.38%                     85.53%
Capital Metro          Capital                            4/25/2020                   89.45%              92.36%                     84.13%
Capital Metro          Capital                             5/2/2020                   85.84%              92.01%                     79.30%
Capital Metro          Capital                             5/9/2020                   87.81%              91.47%                     74.73%
Capital Metro          Capital                            5/16/2020                   88.09%              92.30%                     82.03%
Capital Metro          Capital                            5/23/2020                   90.05%              90.62%                     85.17%
Capital Metro          Capital                            5/30/2020                   85.94%              92.11%                     78.82%
Capital Metro          Capital                             6/6/2020                   87.53%              91.45%                     73.32%
Capital Metro          Capital                            6/13/2020                   86.78%              92.44%                     79.71%
Capital Metro          Capital                            6/20/2020                   87.91%              93.63%                     84.40%
Capital Metro          Capital                            6/27/2020                   87.88%              94.34%                     83.01%
Capital Metro          Capital                             7/1/2020                   89.73%              90.81%                     76.96%
Capital Metro          Capital                             7/4/2020                   86.45%              89.80%                     77.58%
Capital Metro          Capital                            7/11/2020                   85.59%              89.31%                     66.78%
Capital Metro          Capital                            7/18/2020                   82.48%              86.07%                     74.13%
Capital Metro          Capital                            7/25/2020                   78.11%              82.38%                     70.60%
Capital Metro          Capital                             8/1/2020                   77.27%              82.63%                     63.12%
Capital Metro          Capital                             8/8/2020                   76.75%              84.26%                     69.75%
Capital Metro          Capital                            8/15/2020                   78.24%              84.85%                     66.65%
Capital Metro          Capital                            8/22/2020                   82.07%              88.32%                     60.86%
Capital Metro          Capital                            8/29/2020                   78.37%              87.51%                     65.87%
Capital Metro          Capital                             9/5/2020                   76.34%              81.41%                     68.94%
Capital Metro          Capital                            9/12/2020                   77.28%              82.91%                     64.22%
Capital Metro          Capital                            9/19/2020                   70.97%              86.31%                     75.05%
Capital Metro          Capital                            9/26/2020                   74.13%              86.19%                     64.27%
Capital Metro          Capital                            10/3/2020                   74.44%              82.00%                     60.33%
Capital Metro          Capital                           10/10/2020                   78.09%              87.35%                     64.91%
Capital Metro          Capital                           10/17/2020                   67.43%              92.17%                     76.55%
Capital Metro          Capital                           10/24/2020                   75.96%              89.23%                     72.88%
Capital Metro          Capital                           10/31/2020                   75.53%              87.53%                     62.66%
Capital Metro          Capital                            11/7/2020                   74.86%              84.47%                     72.72%
Capital Metro          Capital                           11/14/2020                   78.35%              87.35%                     63.16%
Capital Metro          Capital                           11/21/2020                   75.86%              89.00%                     62.13%
Capital Metro          Capital                           11/28/2020                   71.15%              88.25%                     62.06%
Capital Metro          Capital                            12/5/2020                   64.27%              83.60%                     73.58%
Capital Metro          Capital                           12/12/2020                   56.14%              84.56%                     74.05%
Capital Metro          Greater S Carolina                  1/4/2020                   93.36%              86.18%                     93.05%
Capital Metro          Greater S Carolina                 1/11/2020                   93.03%              90.56%                     91.15%
Capital Metro          Greater S Carolina                 1/18/2020                   93.06%              85.45%                     90.20%
Capital Metro          Greater S Carolina                 1/25/2020                   93.00%              91.53%                     94.22%
Capital Metro          Greater S Carolina                  2/1/2020                   92.25%              86.52%                     94.86%
Capital Metro          Greater S Carolina                  2/8/2020                   93.48%              93.26%                     93.50%
Capital Metro          Greater S Carolina                 2/15/2020                   94.83%              88.36%                     91.00%
Capital Metro          Greater S Carolina                 2/22/2020                   93.89%              94.29%                     92.48%
Capital Metro          Greater S Carolina                 2/29/2020                   93.88%              86.51%                     94.68%
Capital Metro          Greater S Carolina                  3/7/2020                   92.90%              93.02%                     94.09%
Capital Metro          Greater S Carolina                 3/14/2020                   93.97%              86.79%                     94.75%
Capital Metro          Greater S Carolina                 3/21/2020                   93.70%              94.01%                     94.36%
Capital Metro          Greater S Carolina                 3/28/2020                   95.17%              94.65%                     88.72%
Capital Metro          Greater S Carolina                  4/1/2020                   95.16%              92.85%                     92.29%
Capital Metro          Greater S Carolina                  4/4/2020                   94.24%              95.56%                     94.94%
Capital Metro          Greater S Carolina                 4/11/2020                   93.68%              95.21%                     92.25%
Capital Metro          Greater S Carolina                 4/18/2020                   94.90%              96.28%                     93.93%
Capital Metro          Greater S Carolina                 4/25/2020                   93.76%              93.90%                     82.81%

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Commission (PRC) at the end of the quarter.                          11
                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 12 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

         Area                  District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Capital Metro          Greater S Carolina                  5/2/2020                   93.09%              85.33%                     92.13%
Capital Metro          Greater S Carolina                  5/9/2020                   91.43%              90.39%                     88.82%
Capital Metro          Greater S Carolina                 5/16/2020                   93.83%              91.47%                     87.22%
Capital Metro          Greater S Carolina                 5/23/2020                   93.91%              90.98%                     85.76%
Capital Metro          Greater S Carolina                 5/30/2020                   92.31%              93.87%                     85.87%
Capital Metro          Greater S Carolina                  6/6/2020                   92.09%              90.79%                     90.27%
Capital Metro          Greater S Carolina                 6/13/2020                   92.58%              92.58%                     85.42%
Capital Metro          Greater S Carolina                 6/20/2020                   92.76%              91.95%                     84.24%
Capital Metro          Greater S Carolina                 6/27/2020                   93.24%              94.46%                     88.81%
Capital Metro          Greater S Carolina                  7/1/2020                   93.94%              92.72%                     87.19%
Capital Metro          Greater S Carolina                  7/4/2020                   93.31%              90.64%                     74.70%
Capital Metro          Greater S Carolina                 7/11/2020                   90.37%              75.69%                     75.37%
Capital Metro          Greater S Carolina                 7/18/2020                   86.99%              78.71%                     63.96%
Capital Metro          Greater S Carolina                 7/25/2020                   85.29%              76.82%                     76.12%
Capital Metro          Greater S Carolina                  8/1/2020                   85.08%              75.02%                     72.63%
Capital Metro          Greater S Carolina                  8/8/2020                   78.41%              73.38%                     76.82%
Capital Metro          Greater S Carolina                 8/15/2020                   85.93%              86.42%                     77.36%
Capital Metro          Greater S Carolina                 8/22/2020                   89.70%              85.23%                     82.46%
Capital Metro          Greater S Carolina                 8/29/2020                   89.29%              93.00%                     90.28%
Capital Metro          Greater S Carolina                  9/5/2020                   87.99%              81.99%                     92.00%
Capital Metro          Greater S Carolina                 9/12/2020                   84.53%              84.41%                     84.77%
Capital Metro          Greater S Carolina                 9/19/2020                   79.53%              85.88%                     85.87%
Capital Metro          Greater S Carolina                 9/26/2020                   84.88%              91.10%                     80.72%
Capital Metro          Greater S Carolina                 10/3/2020                   83.48%              90.31%                     91.51%
Capital Metro          Greater S Carolina                10/10/2020                   81.16%              83.37%                     85.37%
Capital Metro          Greater S Carolina                10/17/2020                   72.69%              85.62%                     80.98%
Capital Metro          Greater S Carolina                10/24/2020                   67.85%              77.86%                     73.77%
Capital Metro          Greater S Carolina                10/31/2020                   71.43%              73.14%                     84.71%
Capital Metro          Greater S Carolina                 11/7/2020                   72.64%              83.37%                     91.31%
Capital Metro          Greater S Carolina                11/14/2020                   81.90%              86.33%                     81.63%
Capital Metro          Greater S Carolina                11/21/2020                   79.99%              85.69%                     79.40%
Capital Metro          Greater S Carolina                11/28/2020                   76.84%              86.59%                     77.49%
Capital Metro          Greater S Carolina                 12/5/2020                   76.60%              78.14%                     70.10%
Capital Metro          Greater S Carolina                12/12/2020                   68.57%              70.96%                     59.51%
Capital Metro          Greensboro                          1/4/2020                   90.72%              84.28%                     85.86%
Capital Metro          Greensboro                         1/11/2020                   90.85%              87.38%                     84.62%
Capital Metro          Greensboro                         1/18/2020                   93.16%              90.81%                     84.58%
Capital Metro          Greensboro                         1/25/2020                   91.29%              89.88%                     90.79%
Capital Metro          Greensboro                          2/1/2020                   91.50%              86.19%                     86.97%
Capital Metro          Greensboro                          2/8/2020                   92.51%              91.24%                     90.05%
Capital Metro          Greensboro                         2/15/2020                   94.48%              87.11%                     90.22%
Capital Metro          Greensboro                         2/22/2020                   93.31%              93.03%                     80.02%
Capital Metro          Greensboro                         2/29/2020                   93.21%              86.67%                     86.39%
Capital Metro          Greensboro                          3/7/2020                   93.15%              92.61%                     84.90%
Capital Metro          Greensboro                         3/14/2020                   93.51%              86.68%                     87.56%
Capital Metro          Greensboro                         3/21/2020                   94.42%              94.12%                     88.10%
Capital Metro          Greensboro                         3/28/2020                   94.84%              94.19%                     86.98%
Capital Metro          Greensboro                          4/1/2020                   94.30%              93.60%                     87.15%
Capital Metro          Greensboro                          4/4/2020                   94.45%              95.39%                     85.63%
Capital Metro          Greensboro                         4/11/2020                   93.31%              88.97%                     82.58%
Capital Metro          Greensboro                         4/18/2020                   94.16%              94.40%                     85.19%
Capital Metro          Greensboro                         4/25/2020                   93.45%              92.60%                     80.68%
Capital Metro          Greensboro                          5/2/2020                   92.78%              84.61%                     76.57%
Capital Metro          Greensboro                          5/9/2020                   91.76%              92.17%                     66.91%
Capital Metro          Greensboro                         5/16/2020                   92.97%              89.93%                     78.76%
Capital Metro          Greensboro                         5/23/2020                   93.53%              90.57%                     83.77%
Capital Metro          Greensboro                         5/30/2020                   90.60%              84.87%                     73.63%
Capital Metro          Greensboro                          6/6/2020                   92.05%              92.87%                     73.93%

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Commission (PRC) at the end of the quarter.                          12
                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 13 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

         Area                 District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Capital Metro          Greensboro                         6/13/2020                   90.47%              92.83%                     86.87%
Capital Metro          Greensboro                         6/20/2020                   92.25%              87.07%                     80.89%
Capital Metro          Greensboro                         6/27/2020                   92.34%              94.42%                     80.18%
Capital Metro          Greensboro                          7/1/2020                   93.50%              91.92%                     75.40%
Capital Metro          Greensboro                          7/4/2020                   92.49%              89.41%                     76.51%
Capital Metro          Greensboro                         7/11/2020                   90.23%              83.44%                     70.95%
Capital Metro          Greensboro                         7/18/2020                   86.67%              89.08%                     72.40%
Capital Metro          Greensboro                         7/25/2020                   87.78%              84.40%                     58.31%
Capital Metro          Greensboro                          8/1/2020                   86.42%              78.34%                     67.77%
Capital Metro          Greensboro                          8/8/2020                   83.97%              76.59%                     74.90%
Capital Metro          Greensboro                         8/15/2020                   86.52%              79.80%                     74.81%
Capital Metro          Greensboro                         8/22/2020                   87.31%              91.94%                     72.59%
Capital Metro          Greensboro                         8/29/2020                   88.72%              93.14%                     82.20%
Capital Metro          Greensboro                          9/5/2020                   88.43%              86.42%                     74.63%
Capital Metro          Greensboro                         9/12/2020                   82.42%              76.98%                     68.63%
Capital Metro          Greensboro                         9/19/2020                   78.49%              77.70%                     70.66%
Capital Metro          Greensboro                         9/26/2020                   82.05%              86.47%                     68.52%
Capital Metro          Greensboro                         10/3/2020                   80.64%              83.48%                     77.01%
Capital Metro          Greensboro                        10/10/2020                   79.35%              76.02%                     67.51%
Capital Metro          Greensboro                        10/17/2020                   62.27%              56.37%                     56.59%
Capital Metro          Greensboro                        10/24/2020                   67.84%              48.30%                     36.37%
Capital Metro          Greensboro                        10/31/2020                   71.43%              49.38%                     37.55%
Capital Metro          Greensboro                         11/7/2020                   75.58%              53.68%                     42.31%
Capital Metro          Greensboro                        11/14/2020                   77.46%              65.61%                     55.14%
Capital Metro          Greensboro                        11/21/2020                   79.89%              67.41%                     63.64%
Capital Metro          Greensboro                        11/28/2020                   67.64%              66.61%                     38.93%
Capital Metro          Greensboro                         12/5/2020                   60.14%              60.15%                     41.18%
Capital Metro          Greensboro                        12/12/2020                   51.78%              47.52%                     29.40%
Capital Metro          Mid‐Carolinas                       1/4/2020                   91.62%              89.59%                     79.38%
Capital Metro          Mid‐Carolinas                      1/11/2020                   90.67%              72.16%                     72.51%
Capital Metro          Mid‐Carolinas                      1/18/2020                   92.16%              85.40%                     84.42%
Capital Metro          Mid‐Carolinas                      1/25/2020                   90.43%              86.19%                     87.40%
Capital Metro          Mid‐Carolinas                       2/1/2020                   89.41%              84.70%                     86.68%
Capital Metro          Mid‐Carolinas                       2/8/2020                   91.59%              87.19%                     84.92%
Capital Metro          Mid‐Carolinas                      2/15/2020                   93.98%              90.37%                     84.96%
Capital Metro          Mid‐Carolinas                      2/22/2020                   92.83%              92.25%                     84.46%
Capital Metro          Mid‐Carolinas                      2/29/2020                   94.44%              85.10%                     84.12%
Capital Metro          Mid‐Carolinas                       3/7/2020                   93.40%              89.88%                     84.43%
Capital Metro          Mid‐Carolinas                      3/14/2020                   94.08%              88.88%                     85.89%
Capital Metro          Mid‐Carolinas                      3/21/2020                   94.75%              93.46%                     87.55%
Capital Metro          Mid‐Carolinas                      3/28/2020                   92.91%              95.08%                     87.16%
Capital Metro          Mid‐Carolinas                       4/1/2020                   94.89%              93.95%                     86.36%
Capital Metro          Mid‐Carolinas                       4/4/2020                   94.67%              95.23%                     90.35%
Capital Metro          Mid‐Carolinas                      4/11/2020                   92.86%              95.41%                     83.59%
Capital Metro          Mid‐Carolinas                      4/18/2020                   94.09%              94.51%                     84.84%
Capital Metro          Mid‐Carolinas                      4/25/2020                   92.65%              93.86%                     80.90%
Capital Metro          Mid‐Carolinas                       5/2/2020                   91.54%              89.35%                     77.25%
Capital Metro          Mid‐Carolinas                       5/9/2020                   91.60%              89.85%                     63.52%
Capital Metro          Mid‐Carolinas                      5/16/2020                   93.61%              91.29%                     71.18%
Capital Metro          Mid‐Carolinas                      5/23/2020                   93.01%              89.90%                     79.69%
Capital Metro          Mid‐Carolinas                      5/30/2020                   91.03%              90.35%                     74.81%
Capital Metro          Mid‐Carolinas                       6/6/2020                   92.44%              86.55%                     80.73%
Capital Metro          Mid‐Carolinas                      6/13/2020                   92.65%              91.59%                     78.59%
Capital Metro          Mid‐Carolinas                      6/20/2020                   92.22%              90.89%                     80.35%
Capital Metro          Mid‐Carolinas                      6/27/2020                   92.78%              95.72%                     80.90%
Capital Metro          Mid‐Carolinas                       7/1/2020                   92.83%              93.24%                     84.26%
Capital Metro          Mid‐Carolinas                       7/4/2020                   92.56%              92.91%                     73.52%
Capital Metro          Mid‐Carolinas                      7/11/2020                   88.38%              82.29%                     72.88%

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Commission (PRC) at the end of the quarter.                          13
                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 14 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

         Area                 District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Capital Metro          Mid‐Carolinas                      7/18/2020                   84.26%              71.86%                     64.26%
Capital Metro          Mid‐Carolinas                      7/25/2020                   86.63%              78.98%                     63.00%
Capital Metro          Mid‐Carolinas                       8/1/2020                   87.62%              83.98%                     67.65%
Capital Metro          Mid‐Carolinas                       8/8/2020                   85.35%              81.20%                     68.92%
Capital Metro          Mid‐Carolinas                      8/15/2020                   84.98%              84.22%                     70.66%
Capital Metro          Mid‐Carolinas                      8/22/2020                   88.77%              90.59%                     75.02%
Capital Metro          Mid‐Carolinas                      8/29/2020                   89.77%              93.40%                     68.74%
Capital Metro          Mid‐Carolinas                       9/5/2020                   89.28%              89.33%                     86.80%
Capital Metro          Mid‐Carolinas                      9/12/2020                   89.46%              91.55%                     83.82%
Capital Metro          Mid‐Carolinas                      9/19/2020                   83.41%              93.33%                     81.56%
Capital Metro          Mid‐Carolinas                      9/26/2020                   88.57%              91.26%                     80.83%
Capital Metro          Mid‐Carolinas                      10/3/2020                   86.15%              88.84%                     78.16%
Capital Metro          Mid‐Carolinas                     10/10/2020                   84.66%              88.46%                     79.50%
Capital Metro          Mid‐Carolinas                     10/17/2020                   81.07%              85.35%                     77.54%
Capital Metro          Mid‐Carolinas                     10/24/2020                   77.97%              67.92%                     67.37%
Capital Metro          Mid‐Carolinas                     10/31/2020                   83.06%              57.70%                     68.64%
Capital Metro          Mid‐Carolinas                      11/7/2020                   85.07%              86.48%                     76.73%
Capital Metro          Mid‐Carolinas                     11/14/2020                   87.24%              91.28%                     71.62%
Capital Metro          Mid‐Carolinas                     11/21/2020                   87.51%              90.21%                     82.98%
Capital Metro          Mid‐Carolinas                     11/28/2020                   79.68%              91.23%                     67.64%
Capital Metro          Mid‐Carolinas                      12/5/2020                   73.76%              88.27%                     70.38%
Capital Metro          Mid‐Carolinas                     12/12/2020                   68.67%              84.21%                     71.74%
Capital Metro          Northern Virginia                   1/4/2020                   89.00%              89.21%                     89.35%
Capital Metro          Northern Virginia                  1/11/2020                   89.88%              88.63%                     90.69%
Capital Metro          Northern Virginia                  1/18/2020                   92.92%              89.56%                     88.25%
Capital Metro          Northern Virginia                  1/25/2020                   92.26%              92.43%                     84.07%
Capital Metro          Northern Virginia                   2/1/2020                   90.63%              92.65%                     86.63%
Capital Metro          Northern Virginia                   2/8/2020                   92.61%              91.33%                     86.93%
Capital Metro          Northern Virginia                  2/15/2020                   93.04%              91.20%                     87.16%
Capital Metro          Northern Virginia                  2/22/2020                   92.19%              93.29%                     88.98%
Capital Metro          Northern Virginia                  2/29/2020                   92.72%              85.83%                     78.08%
Capital Metro          Northern Virginia                   3/7/2020                   91.34%              93.15%                     87.75%
Capital Metro          Northern Virginia                  3/14/2020                   92.65%              93.37%                     89.63%
Capital Metro          Northern Virginia                  3/21/2020                   91.19%              92.39%                     87.76%
Capital Metro          Northern Virginia                  3/28/2020                   93.38%              92.90%                     91.70%
Capital Metro          Northern Virginia                   4/1/2020                   93.67%              90.96%                     89.51%
Capital Metro          Northern Virginia                   4/4/2020                   91.45%              93.31%                     88.61%
Capital Metro          Northern Virginia                  4/11/2020                   90.99%              93.43%                     79.45%
Capital Metro          Northern Virginia                  4/18/2020                   91.84%              94.21%                     87.89%
Capital Metro          Northern Virginia                  4/25/2020                   92.05%              93.77%                     86.79%
Capital Metro          Northern Virginia                   5/2/2020                   90.81%              92.62%                     86.13%
Capital Metro          Northern Virginia                   5/9/2020                   89.04%              92.34%                     81.23%
Capital Metro          Northern Virginia                  5/16/2020                   90.63%              93.43%                     85.67%
Capital Metro          Northern Virginia                  5/23/2020                   92.45%              90.83%                     83.93%
Capital Metro          Northern Virginia                  5/30/2020                   88.14%              92.72%                     86.95%
Capital Metro          Northern Virginia                   6/6/2020                   88.86%              91.10%                     79.65%
Capital Metro          Northern Virginia                  6/13/2020                   90.88%              91.85%                     88.12%
Capital Metro          Northern Virginia                  6/20/2020                   89.85%              92.18%                     85.76%
Capital Metro          Northern Virginia                  6/27/2020                   90.21%              92.82%                     91.37%
Capital Metro          Northern Virginia                   7/1/2020                   90.34%              91.73%                     90.94%
Capital Metro          Northern Virginia                   7/4/2020                   88.03%              90.36%                     86.28%
Capital Metro          Northern Virginia                  7/11/2020                   87.15%              91.38%                     84.32%
Capital Metro          Northern Virginia                  7/18/2020                   83.07%              90.13%                     86.50%
Capital Metro          Northern Virginia                  7/25/2020                   80.98%              87.79%                     88.85%
Capital Metro          Northern Virginia                   8/1/2020                   83.51%              82.41%                     87.18%
Capital Metro          Northern Virginia                   8/8/2020                   80.60%              91.01%                     84.93%
Capital Metro          Northern Virginia                  8/15/2020                   85.44%              90.39%                     84.83%
Capital Metro          Northern Virginia                  8/22/2020                   85.73%              91.96%                     86.94%

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Commission (PRC) at the end of the quarter.                          14
                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 15 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

         Area                 District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Capital Metro          Northern Virginia                  8/29/2020                   85.58%              90.19%                     69.31%
Capital Metro          Northern Virginia                   9/5/2020                   88.43%              84.77%                     87.93%
Capital Metro          Northern Virginia                  9/12/2020                   83.12%              91.20%                     86.56%
Capital Metro          Northern Virginia                  9/19/2020                   75.97%              92.85%                     86.26%
Capital Metro          Northern Virginia                  9/26/2020                   81.42%              92.33%                     86.55%
Capital Metro          Northern Virginia                  10/3/2020                   82.92%              87.53%                     85.56%
Capital Metro          Northern Virginia                 10/10/2020                   84.77%              91.51%                     71.53%
Capital Metro          Northern Virginia                 10/17/2020                   78.04%              93.20%                     82.09%
Capital Metro          Northern Virginia                 10/24/2020                   78.40%              92.85%                     87.32%
Capital Metro          Northern Virginia                 10/31/2020                   84.17%              92.96%                     85.60%
Capital Metro          Northern Virginia                  11/7/2020                   82.69%              85.54%                     85.82%
Capital Metro          Northern Virginia                 11/14/2020                   84.82%              89.96%                     82.94%
Capital Metro          Northern Virginia                 11/21/2020                   86.03%              89.33%                     86.26%
Capital Metro          Northern Virginia                 11/28/2020                   78.19%              90.86%                     80.97%
Capital Metro          Northern Virginia                  12/5/2020                   65.86%              82.87%                     87.47%
Capital Metro          Northern Virginia                 12/12/2020                   56.31%              87.89%                     69.96%
Capital Metro          Richmond                            1/4/2020                   90.17%              83.72%                     79.95%
Capital Metro          Richmond                           1/11/2020                   88.80%              77.33%                     77.12%
Capital Metro          Richmond                           1/18/2020                   90.70%              82.46%                     83.01%
Capital Metro          Richmond                           1/25/2020                   88.51%              85.74%                     83.94%
Capital Metro          Richmond                            2/1/2020                   86.32%              84.89%                     80.23%
Capital Metro          Richmond                            2/8/2020                   89.01%              85.68%                     83.19%
Capital Metro          Richmond                           2/15/2020                   92.44%              85.85%                     83.65%
Capital Metro          Richmond                           2/22/2020                   90.21%              84.22%                     81.78%
Capital Metro          Richmond                           2/29/2020                   89.67%              81.38%                     82.02%
Capital Metro          Richmond                            3/7/2020                   90.56%              85.06%                     78.02%
Capital Metro          Richmond                           3/14/2020                   90.69%              81.83%                     70.54%
Capital Metro          Richmond                           3/21/2020                   92.77%              88.55%                     78.77%
Capital Metro          Richmond                           3/28/2020                   92.55%              90.56%                     83.19%
Capital Metro          Richmond                            4/1/2020                   92.86%              90.44%                     81.83%
Capital Metro          Richmond                            4/4/2020                   92.03%              89.81%                     81.91%
Capital Metro          Richmond                           4/11/2020                   88.73%              86.94%                     70.90%
Capital Metro          Richmond                           4/18/2020                   91.55%              90.87%                     78.43%
Capital Metro          Richmond                           4/25/2020                   91.91%              89.86%                     71.17%
Capital Metro          Richmond                            5/2/2020                   90.85%              88.42%                     77.14%
Capital Metro          Richmond                            5/9/2020                   89.62%              86.95%                     63.37%
Capital Metro          Richmond                           5/16/2020                   89.87%              89.42%                     80.30%
Capital Metro          Richmond                           5/23/2020                   91.03%              86.95%                     73.66%
Capital Metro          Richmond                           5/30/2020                   88.37%              87.77%                     63.80%
Capital Metro          Richmond                            6/6/2020                   89.36%              84.41%                     70.26%
Capital Metro          Richmond                           6/13/2020                   90.13%              84.86%                     63.99%
Capital Metro          Richmond                           6/20/2020                   88.14%              86.64%                     64.28%
Capital Metro          Richmond                           6/27/2020                   87.28%              88.29%                     66.41%
Capital Metro          Richmond                            7/1/2020                   90.73%              83.21%                     77.07%
Capital Metro          Richmond                            7/4/2020                   88.05%              80.24%                     58.94%
Capital Metro          Richmond                           7/11/2020                   83.23%              75.45%                     54.80%
Capital Metro          Richmond                           7/18/2020                   75.87%              64.94%                     50.32%
Capital Metro          Richmond                           7/25/2020                   78.84%              73.92%                     47.91%
Capital Metro          Richmond                            8/1/2020                   81.64%              81.39%                     53.04%
Capital Metro          Richmond                            8/8/2020                   81.17%              78.19%                     46.69%
Capital Metro          Richmond                           8/15/2020                   85.27%              84.11%                     63.19%
Capital Metro          Richmond                           8/22/2020                   86.18%              87.42%                     69.15%
Capital Metro          Richmond                           8/29/2020                   85.30%              88.54%                     66.81%
Capital Metro          Richmond                            9/5/2020                   84.14%              86.18%                     76.42%
Capital Metro          Richmond                           9/12/2020                   84.44%              85.18%                     65.41%
Capital Metro          Richmond                           9/19/2020                   78.46%              87.48%                     68.39%
Capital Metro          Richmond                           9/26/2020                   79.09%              85.63%                     60.34%
Capital Metro          Richmond                           10/3/2020                   83.65%              87.03%                     60.38%

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Commission (PRC) at the end of the quarter.                          15
                Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 16 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

         Area                 District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Capital Metro          Richmond                          10/10/2020                   83.95%              82.66%                     53.73%
Capital Metro          Richmond                          10/17/2020                   79.70%              86.42%                     61.51%
Capital Metro          Richmond                          10/24/2020                   80.60%              84.07%                     45.59%
Capital Metro          Richmond                          10/31/2020                   84.31%              76.36%                     53.29%
Capital Metro          Richmond                           11/7/2020                   83.17%              79.68%                     55.05%
Capital Metro          Richmond                          11/14/2020                   83.69%              79.24%                     49.20%
Capital Metro          Richmond                          11/21/2020                   82.33%              77.73%                     48.35%
Capital Metro          Richmond                          11/28/2020                   73.58%              78.76%                     42.07%
Capital Metro          Richmond                           12/5/2020                   69.63%              72.17%                     43.75%
Capital Metro          Richmond                          12/12/2020                   60.59%              68.06%                     30.66%
Eastern                Appalachian                         1/4/2020                   93.09%              94.10%                     87.17%
Eastern                Appalachian                        1/11/2020                   94.48%              92.04%                     85.39%
Eastern                Appalachian                        1/18/2020                   94.90%              90.18%                     93.26%
Eastern                Appalachian                        1/25/2020                   93.14%              94.56%                     85.48%
Eastern                Appalachian                         2/1/2020                   93.08%              88.65%                     92.36%
Eastern                Appalachian                         2/8/2020                   92.62%              93.19%                     88.58%
Eastern                Appalachian                        2/15/2020                   95.12%              95.46%                     90.88%
Eastern                Appalachian                        2/22/2020                   94.22%              95.26%                     92.02%
Eastern                Appalachian                        2/29/2020                   93.70%              89.24%                     91.57%
Eastern                Appalachian                         3/7/2020                   93.94%              90.69%                     92.06%
Eastern                Appalachian                        3/14/2020                   93.20%              94.13%                     81.04%
Eastern                Appalachian                        3/21/2020                   94.60%              95.30%                     90.53%
Eastern                Appalachian                        3/28/2020                   93.61%              96.79%                     92.04%
Eastern                Appalachian                         4/1/2020                   94.86%              95.09%                     92.56%
Eastern                Appalachian                         4/4/2020                   94.73%              93.47%                     87.76%
Eastern                Appalachian                        4/11/2020                   94.28%              95.46%                     85.36%
Eastern                Appalachian                        4/18/2020                   94.06%              95.63%                     90.22%
Eastern                Appalachian                        4/25/2020                   94.34%              93.72%                     86.43%
Eastern                Appalachian                         5/2/2020                   94.38%              86.91%                     82.54%
Eastern                Appalachian                         5/9/2020                   92.59%              92.40%                     83.56%
Eastern                Appalachian                        5/16/2020                   93.37%              89.03%                     83.03%
Eastern                Appalachian                        5/23/2020                   94.47%              92.47%                     86.52%
Eastern                Appalachian                        5/30/2020                   92.89%              95.96%                     86.01%
Eastern                Appalachian                         6/6/2020                   93.23%              88.44%                     86.65%
Eastern                Appalachian                        6/13/2020                   93.75%              94.57%                     83.39%
Eastern                Appalachian                        6/20/2020                   93.04%              94.78%                     82.92%
Eastern                Appalachian                        6/27/2020                   93.09%              95.32%                     87.66%
Eastern                Appalachian                         7/1/2020                   94.35%              94.70%                     89.91%
Eastern                Appalachian                         7/4/2020                   93.34%              92.88%                     82.54%
Eastern                Appalachian                        7/11/2020                   89.80%              92.18%                     79.81%
Eastern                Appalachian                        7/18/2020                   86.32%              91.39%                     83.84%
Eastern                Appalachian                        7/25/2020                   84.59%              91.52%                     69.04%
Eastern                Appalachian                         8/1/2020                   88.41%              86.38%                     81.92%
Eastern                Appalachian                         8/8/2020                   85.65%              88.53%                     78.98%
Eastern                Appalachian                        8/15/2020                   88.23%              93.03%                     75.47%
Eastern                Appalachian                        8/22/2020                   90.28%              92.85%                     78.80%
Eastern                Appalachian                        8/29/2020                   88.40%              91.42%                     84.78%
Eastern                Appalachian                         9/5/2020                   90.75%              83.66%                     84.91%
Eastern                Appalachian                        9/12/2020                   84.41%              87.31%                     77.51%
Eastern                Appalachian                        9/19/2020                   82.51%              88.13%                     80.19%
Eastern                Appalachian                        9/26/2020                   82.70%              92.87%                     77.01%
Eastern                Appalachian                        10/3/2020                   80.37%              88.56%                     84.36%
Eastern                Appalachian                       10/10/2020                   85.41%              91.68%                     83.28%
Eastern                Appalachian                       10/17/2020                   81.94%              92.20%                     82.19%
Eastern                Appalachian                       10/24/2020                   81.73%              90.91%                     83.94%
Eastern                Appalachian                       10/31/2020                   85.83%              85.15%                     81.50%
Eastern                Appalachian                        11/7/2020                   84.68%              93.44%                     86.38%
Eastern                Appalachian                       11/14/2020                   84.64%              92.92%                     81.76%

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Commission (PRC) at the end of the quarter.                          16
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 17 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Eastern                Appalachian                       11/21/2020                   85.70%              87.58%                     79.76%
Eastern                Appalachian                       11/28/2020                   78.16%              85.20%                     71.87%
Eastern                Appalachian                        12/5/2020                   72.98%              85.54%                     69.42%
Eastern                Appalachian                       12/12/2020                   69.62%              81.57%                     69.11%
Eastern                Central Pennsylvania                1/4/2020                   92.66%              90.72%                     82.45%
Eastern                Central Pennsylvania               1/11/2020                   92.32%              88.10%                     87.96%
Eastern                Central Pennsylvania               1/18/2020                   93.43%              91.57%                     90.51%
Eastern                Central Pennsylvania               1/25/2020                   92.88%              93.32%                     86.26%
Eastern                Central Pennsylvania                2/1/2020                   92.83%              93.23%                     91.05%
Eastern                Central Pennsylvania                2/8/2020                   93.78%              93.03%                     86.80%
Eastern                Central Pennsylvania               2/15/2020                   94.98%              94.31%                     91.70%
Eastern                Central Pennsylvania               2/22/2020                   93.12%              94.48%                     88.13%
Eastern                Central Pennsylvania               2/29/2020                   93.28%              94.11%                     90.13%
Eastern                Central Pennsylvania                3/7/2020                   92.79%              93.62%                     89.89%
Eastern                Central Pennsylvania               3/14/2020                   92.71%              94.40%                     88.56%
Eastern                Central Pennsylvania               3/21/2020                   93.82%              93.85%                     87.07%
Eastern                Central Pennsylvania               3/28/2020                   94.33%              93.15%                     88.97%
Eastern                Central Pennsylvania                4/1/2020                   92.96%              95.00%                     89.49%
Eastern                Central Pennsylvania                4/4/2020                   92.56%              90.00%                     89.04%
Eastern                Central Pennsylvania               4/11/2020                   92.08%              86.40%                     78.01%
Eastern                Central Pennsylvania               4/18/2020                   91.28%              88.29%                     79.59%
Eastern                Central Pennsylvania               4/25/2020                   90.82%              83.97%                     70.93%
Eastern                Central Pennsylvania                5/2/2020                   91.50%              90.03%                     79.75%
Eastern                Central Pennsylvania                5/9/2020                   91.58%              92.56%                     77.05%
Eastern                Central Pennsylvania               5/16/2020                   92.36%              93.80%                     80.68%
Eastern                Central Pennsylvania               5/23/2020                   92.87%              88.67%                     85.48%
Eastern                Central Pennsylvania               5/30/2020                   92.40%              90.75%                     83.87%
Eastern                Central Pennsylvania                6/6/2020                   93.12%              88.95%                     85.56%
Eastern                Central Pennsylvania               6/13/2020                   93.14%              89.37%                     82.75%
Eastern                Central Pennsylvania               6/20/2020                   92.71%              89.82%                     80.54%
Eastern                Central Pennsylvania               6/27/2020                   91.61%              90.34%                     85.52%
Eastern                Central Pennsylvania                7/1/2020                   91.69%              93.53%                     80.28%
Eastern                Central Pennsylvania                7/4/2020                   91.50%              88.56%                     83.52%
Eastern                Central Pennsylvania               7/11/2020                   83.82%              77.15%                     72.53%
Eastern                Central Pennsylvania               7/18/2020                   67.52%              61.63%                     70.74%
Eastern                Central Pennsylvania               7/25/2020                   71.59%              73.81%                     70.44%
Eastern                Central Pennsylvania                8/1/2020                   76.04%              76.12%                     70.51%
Eastern                Central Pennsylvania                8/8/2020                   73.60%              74.05%                     69.52%
Eastern                Central Pennsylvania               8/15/2020                   80.62%              83.16%                     72.59%
Eastern                Central Pennsylvania               8/22/2020                   85.06%              90.96%                     76.14%
Eastern                Central Pennsylvania               8/29/2020                   87.59%              89.14%                     81.41%
Eastern                Central Pennsylvania                9/5/2020                   88.06%              88.21%                     83.76%
Eastern                Central Pennsylvania               9/12/2020                   86.00%              88.25%                     79.53%
Eastern                Central Pennsylvania               9/19/2020                   84.04%              80.48%                     78.66%
Eastern                Central Pennsylvania               9/26/2020                   85.22%              88.70%                     74.86%
Eastern                Central Pennsylvania               10/3/2020                   83.23%              88.70%                     78.57%
Eastern                Central Pennsylvania              10/10/2020                   79.63%              87.97%                     80.83%
Eastern                Central Pennsylvania              10/17/2020                   65.96%              69.34%                     73.65%
Eastern                Central Pennsylvania              10/24/2020                   58.14%              55.44%                     49.73%
Eastern                Central Pennsylvania              10/31/2020                   58.57%              40.71%                     55.32%
Eastern                Central Pennsylvania               11/7/2020                   62.49%              66.08%                     70.97%
Eastern                Central Pennsylvania              11/14/2020                   78.26%              81.47%                     68.27%
Eastern                Central Pennsylvania              11/21/2020                   71.54%              67.44%                     50.52%
Eastern                Central Pennsylvania              11/28/2020                   68.17%              66.70%                     54.62%
Eastern                Central Pennsylvania               12/5/2020                   59.18%              57.64%                     46.96%
Eastern                Central Pennsylvania              12/12/2020                   42.96%              28.16%                     32.35%
Eastern                Kentuckiana                         1/4/2020                   92.04%              95.43%                     90.03%
Eastern                Kentuckiana                        1/11/2020                   93.00%              93.87%                     89.77%

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Commission (PRC) at the end of the quarter.                          17
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 18 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Eastern                Kentuckiana                        1/18/2020                   93.79%              93.20%                     91.07%
Eastern                Kentuckiana                        1/25/2020                   91.97%              94.86%                     87.05%
Eastern                Kentuckiana                         2/1/2020                   92.42%              94.10%                     92.16%
Eastern                Kentuckiana                         2/8/2020                   93.33%              94.37%                     90.67%
Eastern                Kentuckiana                        2/15/2020                   94.28%              93.89%                     89.02%
Eastern                Kentuckiana                        2/22/2020                   93.32%              95.74%                     91.55%
Eastern                Kentuckiana                        2/29/2020                   93.01%              95.34%                     90.04%
Eastern                Kentuckiana                         3/7/2020                   92.77%              94.85%                     91.18%
Eastern                Kentuckiana                        3/14/2020                   92.94%              94.32%                     90.14%
Eastern                Kentuckiana                        3/21/2020                   93.65%              94.84%                     91.72%
Eastern                Kentuckiana                        3/28/2020                   94.05%              95.42%                     88.17%
Eastern                Kentuckiana                         4/1/2020                   94.41%              95.69%                     88.24%
Eastern                Kentuckiana                         4/4/2020                   93.92%              95.94%                     87.16%
Eastern                Kentuckiana                        4/11/2020                   93.27%              95.91%                     77.88%
Eastern                Kentuckiana                        4/18/2020                   93.19%              95.13%                     84.88%
Eastern                Kentuckiana                        4/25/2020                   91.33%              95.17%                     74.85%
Eastern                Kentuckiana                         5/2/2020                   90.60%              95.25%                     79.77%
Eastern                Kentuckiana                         5/9/2020                   90.48%              93.48%                     74.72%
Eastern                Kentuckiana                        5/16/2020                   90.68%              93.51%                     77.45%
Eastern                Kentuckiana                        5/23/2020                   92.20%              91.68%                     84.76%
Eastern                Kentuckiana                        5/30/2020                   91.41%              94.06%                     84.89%
Eastern                Kentuckiana                         6/6/2020                   91.23%              94.37%                     83.79%
Eastern                Kentuckiana                        6/13/2020                   92.25%              94.52%                     85.00%
Eastern                Kentuckiana                        6/20/2020                   92.05%              94.54%                     87.28%
Eastern                Kentuckiana                        6/27/2020                   92.04%              93.03%                     89.48%
Eastern                Kentuckiana                         7/1/2020                   93.11%              91.81%                     79.42%
Eastern                Kentuckiana                         7/4/2020                   90.74%              89.78%                     81.21%
Eastern                Kentuckiana                        7/11/2020                   87.65%              84.98%                     75.91%
Eastern                Kentuckiana                        7/18/2020                   81.86%              82.89%                     77.02%
Eastern                Kentuckiana                        7/25/2020                   84.19%              84.55%                     77.24%
Eastern                Kentuckiana                         8/1/2020                   84.28%              82.74%                     65.06%
Eastern                Kentuckiana                         8/8/2020                   79.31%              76.60%                     63.63%
Eastern                Kentuckiana                        8/15/2020                   85.96%              81.65%                     76.82%
Eastern                Kentuckiana                        8/22/2020                   90.15%              92.52%                     78.39%
Eastern                Kentuckiana                        8/29/2020                   89.92%              92.31%                     84.06%
Eastern                Kentuckiana                         9/5/2020                   89.44%              94.00%                     82.74%
Eastern                Kentuckiana                        9/12/2020                   87.53%              91.98%                     87.18%
Eastern                Kentuckiana                        9/19/2020                   83.87%              92.40%                     84.64%
Eastern                Kentuckiana                        9/26/2020                   86.06%              94.12%                     82.30%
Eastern                Kentuckiana                        10/3/2020                   84.15%              94.29%                     79.12%
Eastern                Kentuckiana                       10/10/2020                   86.60%              93.91%                     85.30%
Eastern                Kentuckiana                       10/17/2020                   81.53%              93.73%                     79.98%
Eastern                Kentuckiana                       10/24/2020                   86.23%              93.85%                     84.76%
Eastern                Kentuckiana                       10/31/2020                   87.14%              92.72%                     83.34%
Eastern                Kentuckiana                        11/7/2020                   87.14%              90.16%                     82.03%
Eastern                Kentuckiana                       11/14/2020                   88.21%              94.62%                     79.34%
Eastern                Kentuckiana                       11/21/2020                   82.32%              87.51%                     70.86%
Eastern                Kentuckiana                       11/28/2020                   72.92%              86.67%                     68.18%
Eastern                Kentuckiana                        12/5/2020                   62.11%              78.54%                     37.96%
Eastern                Kentuckiana                       12/12/2020                   55.94%              57.22%                     37.90%
Eastern                Northern Ohio                       1/4/2020                   93.18%              95.79%                     93.99%
Eastern                Northern Ohio                      1/11/2020                   93.53%              94.99%                     91.16%
Eastern                Northern Ohio                      1/18/2020                   94.49%              93.81%                     93.10%
Eastern                Northern Ohio                      1/25/2020                   92.83%              95.39%                     90.46%
Eastern                Northern Ohio                       2/1/2020                   93.02%              95.18%                     95.22%
Eastern                Northern Ohio                       2/8/2020                   94.00%              95.74%                     93.11%
Eastern                Northern Ohio                      2/15/2020                   94.94%              94.81%                     91.66%
Eastern                Northern Ohio                      2/22/2020                   93.64%              95.44%                     91.66%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          18
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Eastern                Northern Ohio                      2/29/2020                   93.99%              95.17%                     91.81%
Eastern                Northern Ohio                       3/7/2020                   93.94%              96.16%                     92.30%
Eastern                Northern Ohio                      3/14/2020                   94.00%              96.43%                     89.03%
Eastern                Northern Ohio                      3/21/2020                   94.42%              95.07%                     91.24%
Eastern                Northern Ohio                      3/28/2020                   93.09%              94.55%                     89.02%
Eastern                Northern Ohio                       4/1/2020                   91.85%              91.11%                     90.54%
Eastern                Northern Ohio                       4/4/2020                   90.65%              89.05%                     86.37%
Eastern                Northern Ohio                      4/11/2020                   87.36%              87.68%                     83.77%
Eastern                Northern Ohio                      4/18/2020                   89.41%              89.36%                     76.24%
Eastern                Northern Ohio                      4/25/2020                   87.34%              88.12%                     78.89%
Eastern                Northern Ohio                       5/2/2020                   89.54%              87.65%                     84.22%
Eastern                Northern Ohio                       5/9/2020                   89.91%              87.72%                     73.74%
Eastern                Northern Ohio                      5/16/2020                   92.11%              92.34%                     82.36%
Eastern                Northern Ohio                      5/23/2020                   94.20%              90.86%                     81.76%
Eastern                Northern Ohio                      5/30/2020                   92.75%              94.06%                     86.49%
Eastern                Northern Ohio                       6/6/2020                   92.65%              94.61%                     83.77%
Eastern                Northern Ohio                      6/13/2020                   93.41%              93.58%                     86.30%
Eastern                Northern Ohio                      6/20/2020                   91.46%              91.91%                     78.76%
Eastern                Northern Ohio                      6/27/2020                   91.54%              93.20%                     80.81%
Eastern                Northern Ohio                       7/1/2020                   92.66%              89.42%                     74.07%
Eastern                Northern Ohio                       7/4/2020                   91.44%              90.12%                     74.18%
Eastern                Northern Ohio                      7/11/2020                   82.86%              72.29%                     77.11%
Eastern                Northern Ohio                      7/18/2020                   75.74%              58.74%                     76.11%
Eastern                Northern Ohio                      7/25/2020                   66.92%              66.28%                     69.18%
Eastern                Northern Ohio                       8/1/2020                   64.69%              72.86%                     78.83%
Eastern                Northern Ohio                       8/8/2020                   63.60%              63.10%                     75.70%
Eastern                Northern Ohio                      8/15/2020                   72.28%              76.85%                     79.06%
Eastern                Northern Ohio                      8/22/2020                   85.29%              90.99%                     79.65%
Eastern                Northern Ohio                      8/29/2020                   88.05%              92.54%                     83.12%
Eastern                Northern Ohio                       9/5/2020                   88.62%              90.09%                     84.74%
Eastern                Northern Ohio                      9/12/2020                   85.40%              85.30%                     81.60%
Eastern                Northern Ohio                      9/19/2020                   82.72%              83.29%                     85.43%
Eastern                Northern Ohio                      9/26/2020                   85.12%              86.55%                     82.08%
Eastern                Northern Ohio                      10/3/2020                   84.32%              88.68%                     88.16%
Eastern                Northern Ohio                     10/10/2020                   78.67%              73.96%                     79.84%
Eastern                Northern Ohio                     10/17/2020                   76.04%              70.62%                     80.49%
Eastern                Northern Ohio                     10/24/2020                   73.18%              73.00%                     77.82%
Eastern                Northern Ohio                     10/31/2020                   75.57%              65.21%                     85.90%
Eastern                Northern Ohio                      11/7/2020                   77.26%              59.94%                     85.30%
Eastern                Northern Ohio                     11/14/2020                   80.46%              56.86%                     80.57%
Eastern                Northern Ohio                     11/21/2020                   73.92%              42.79%                     74.49%
Eastern                Northern Ohio                     11/28/2020                   56.66%              36.86%                     58.77%
Eastern                Northern Ohio                      12/5/2020                   49.62%              26.76%                     26.24%
Eastern                Northern Ohio                     12/12/2020                   39.73%              24.73%                     19.43%
Eastern                Ohio Valley                         1/4/2020                   91.27%              91.61%                     86.04%
Eastern                Ohio Valley                        1/11/2020                   91.76%              90.02%                     86.16%
Eastern                Ohio Valley                        1/18/2020                   93.90%              91.27%                     90.55%
Eastern                Ohio Valley                        1/25/2020                   91.57%              92.55%                     83.11%
Eastern                Ohio Valley                         2/1/2020                   90.55%              91.25%                     87.40%
Eastern                Ohio Valley                         2/8/2020                   92.06%              89.87%                     88.72%
Eastern                Ohio Valley                        2/15/2020                   93.44%              91.70%                     89.86%
Eastern                Ohio Valley                        2/22/2020                   91.21%              92.96%                     88.16%
Eastern                Ohio Valley                        2/29/2020                   91.82%              93.19%                     82.35%
Eastern                Ohio Valley                         3/7/2020                   91.49%              92.80%                     86.32%
Eastern                Ohio Valley                        3/14/2020                   91.82%              92.80%                     87.21%
Eastern                Ohio Valley                        3/21/2020                   92.79%              92.67%                     88.74%
Eastern                Ohio Valley                        3/28/2020                   91.36%              94.78%                     86.81%
Eastern                Ohio Valley                         4/1/2020                   93.78%              92.36%                     86.86%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          19
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 20 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Eastern                Ohio Valley                         4/4/2020                   92.48%              94.23%                     88.10%
Eastern                Ohio Valley                        4/11/2020                   90.37%              95.14%                     87.88%
Eastern                Ohio Valley                        4/18/2020                   91.77%              94.88%                     86.97%
Eastern                Ohio Valley                        4/25/2020                   90.78%              94.27%                     81.99%
Eastern                Ohio Valley                         5/2/2020                   91.58%              93.12%                     80.78%
Eastern                Ohio Valley                         5/9/2020                   91.93%              92.82%                     80.20%
Eastern                Ohio Valley                        5/16/2020                   92.01%              94.15%                     77.91%
Eastern                Ohio Valley                        5/23/2020                   92.88%              90.09%                     83.54%
Eastern                Ohio Valley                        5/30/2020                   90.20%              88.75%                     79.36%
Eastern                Ohio Valley                         6/6/2020                   90.59%              91.34%                     83.44%
Eastern                Ohio Valley                        6/13/2020                   91.44%              91.49%                     84.21%
Eastern                Ohio Valley                        6/20/2020                   92.06%              89.51%                     79.64%
Eastern                Ohio Valley                        6/27/2020                   91.77%              93.03%                     81.89%
Eastern                Ohio Valley                         7/1/2020                   93.31%              90.31%                     87.56%
Eastern                Ohio Valley                         7/4/2020                   89.88%              83.39%                     65.16%
Eastern                Ohio Valley                        7/11/2020                   81.55%              76.38%                     80.62%
Eastern                Ohio Valley                        7/18/2020                   75.38%              69.50%                     80.51%
Eastern                Ohio Valley                        7/25/2020                   69.71%              70.10%                     73.02%
Eastern                Ohio Valley                         8/1/2020                   75.76%              75.55%                     77.58%
Eastern                Ohio Valley                         8/8/2020                   80.64%              82.44%                     76.33%
Eastern                Ohio Valley                        8/15/2020                   83.26%              87.70%                     87.02%
Eastern                Ohio Valley                        8/22/2020                   87.92%              90.68%                     76.26%
Eastern                Ohio Valley                        8/29/2020                   85.26%              88.63%                     80.59%
Eastern                Ohio Valley                         9/5/2020                   85.51%              85.88%                     83.61%
Eastern                Ohio Valley                        9/12/2020                   83.13%              84.23%                     78.54%
Eastern                Ohio Valley                        9/19/2020                   78.72%              88.19%                     87.53%
Eastern                Ohio Valley                        9/26/2020                   82.10%              87.52%                     77.07%
Eastern                Ohio Valley                        10/3/2020                   82.07%              83.90%                     83.02%
Eastern                Ohio Valley                       10/10/2020                   82.25%              84.87%                     81.13%
Eastern                Ohio Valley                       10/17/2020                   76.15%              82.59%                     83.22%
Eastern                Ohio Valley                       10/24/2020                   78.95%              83.53%                     82.03%
Eastern                Ohio Valley                       10/31/2020                   83.29%              89.70%                     85.25%
Eastern                Ohio Valley                        11/7/2020                   83.38%              86.93%                     83.79%
Eastern                Ohio Valley                       11/14/2020                   85.28%              88.14%                     80.34%
Eastern                Ohio Valley                       11/21/2020                   81.97%              85.78%                     81.80%
Eastern                Ohio Valley                       11/28/2020                   71.91%              83.21%                     59.83%
Eastern                Ohio Valley                        12/5/2020                   63.97%              70.56%                     34.13%
Eastern                Ohio Valley                       12/12/2020                   55.29%              61.14%                     25.89%
Eastern                Philadelphia Metropo                1/4/2020                   87.22%              87.17%                     80.73%
Eastern                Philadelphia Metropo               1/11/2020                   92.29%              81.51%                     86.47%
Eastern                Philadelphia Metropo               1/18/2020                   93.23%              92.18%                     91.57%
Eastern                Philadelphia Metropo               1/25/2020                   90.54%              93.84%                     88.24%
Eastern                Philadelphia Metropo                2/1/2020                   92.32%              94.48%                     88.08%
Eastern                Philadelphia Metropo                2/8/2020                   93.65%              95.31%                     88.77%
Eastern                Philadelphia Metropo               2/15/2020                   95.40%              95.51%                     91.20%
Eastern                Philadelphia Metropo               2/22/2020                   94.36%              96.28%                     90.11%
Eastern                Philadelphia Metropo               2/29/2020                   94.52%              95.16%                     91.09%
Eastern                Philadelphia Metropo                3/7/2020                   93.17%              94.74%                     89.85%
Eastern                Philadelphia Metropo               3/14/2020                   93.44%              93.80%                     81.98%
Eastern                Philadelphia Metropo               3/21/2020                   93.79%              94.66%                     87.46%
Eastern                Philadelphia Metropo               3/28/2020                   93.46%              90.56%                     91.58%
Eastern                Philadelphia Metropo                4/1/2020                   94.26%              94.64%                     90.47%
Eastern                Philadelphia Metropo                4/4/2020                   92.71%              92.47%                     81.46%
Eastern                Philadelphia Metropo               4/11/2020                   92.35%              88.18%                     66.86%
Eastern                Philadelphia Metropo               4/18/2020                   92.38%              87.10%                     71.69%
Eastern                Philadelphia Metropo               4/25/2020                   91.54%              81.81%                     74.81%
Eastern                Philadelphia Metropo                5/2/2020                   91.30%              89.32%                     79.34%
Eastern                Philadelphia Metropo                5/9/2020                   92.01%              92.25%                     68.98%

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Commission (PRC) at the end of the quarter.                          20
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 21 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Eastern                Philadelphia Metropo               5/16/2020                   90.11%              91.89%                     75.65%
Eastern                Philadelphia Metropo               5/23/2020                   92.07%              87.60%                     78.97%
Eastern                Philadelphia Metropo               5/30/2020                   90.29%              89.52%                     76.47%
Eastern                Philadelphia Metropo                6/6/2020                   91.12%              87.09%                     76.55%
Eastern                Philadelphia Metropo               6/13/2020                   92.54%              88.93%                     81.85%
Eastern                Philadelphia Metropo               6/20/2020                   92.28%              90.39%                     80.52%
Eastern                Philadelphia Metropo               6/27/2020                   91.56%              85.49%                     83.58%
Eastern                Philadelphia Metropo                7/1/2020                   91.69%              93.36%                     81.86%
Eastern                Philadelphia Metropo                7/4/2020                   87.05%              89.25%                     78.64%
Eastern                Philadelphia Metropo               7/11/2020                   87.91%              76.13%                     60.15%
Eastern                Philadelphia Metropo               7/18/2020                   83.30%              78.19%                     68.90%
Eastern                Philadelphia Metropo               7/25/2020                   84.55%              84.38%                     69.56%
Eastern                Philadelphia Metropo                8/1/2020                   83.69%              78.84%                     62.23%
Eastern                Philadelphia Metropo                8/8/2020                   79.10%              78.50%                     69.52%
Eastern                Philadelphia Metropo               8/15/2020                   85.86%              82.83%                     72.37%
Eastern                Philadelphia Metropo               8/22/2020                   88.71%              90.08%                     73.74%
Eastern                Philadelphia Metropo               8/29/2020                   88.06%              89.93%                     65.77%
Eastern                Philadelphia Metropo                9/5/2020                   88.65%              87.10%                     67.76%
Eastern                Philadelphia Metropo               9/12/2020                   87.99%              86.04%                     60.20%
Eastern                Philadelphia Metropo               9/19/2020                   78.76%              82.88%                     57.88%
Eastern                Philadelphia Metropo               9/26/2020                   83.04%              82.11%                     63.06%
Eastern                Philadelphia Metropo               10/3/2020                   79.67%              74.19%                     59.33%
Eastern                Philadelphia Metropo              10/10/2020                   76.92%              68.98%                     51.47%
Eastern                Philadelphia Metropo              10/17/2020                   58.85%              62.21%                     46.24%
Eastern                Philadelphia Metropo              10/24/2020                   48.54%              62.41%                     62.42%
Eastern                Philadelphia Metropo              10/31/2020                   59.36%              53.75%                     55.71%
Eastern                Philadelphia Metropo               11/7/2020                   76.10%              75.73%                     64.85%
Eastern                Philadelphia Metropo              11/14/2020                   83.84%              82.92%                     43.87%
Eastern                Philadelphia Metropo              11/21/2020                   80.87%              77.07%                     56.39%
Eastern                Philadelphia Metropo              11/28/2020                   65.40%              83.10%                     54.00%
Eastern                Philadelphia Metropo               12/5/2020                   60.11%              74.35%                     45.37%
Eastern                Philadelphia Metropo              12/12/2020                   43.73%              59.99%                     26.17%
Eastern                South Jersey                        1/4/2020                   91.57%              91.69%                     91.43%
Eastern                South Jersey                       1/11/2020                   92.42%              91.24%                     90.54%
Eastern                South Jersey                       1/18/2020                   93.60%              93.65%                     90.51%
Eastern                South Jersey                       1/25/2020                   91.86%              94.54%                     92.65%
Eastern                South Jersey                        2/1/2020                   92.29%              94.27%                     91.64%
Eastern                South Jersey                        2/8/2020                   93.17%              95.63%                     93.66%
Eastern                South Jersey                       2/15/2020                   94.25%              95.87%                     92.93%
Eastern                South Jersey                       2/22/2020                   93.27%              96.15%                     92.23%
Eastern                South Jersey                       2/29/2020                   93.89%              95.78%                     91.65%
Eastern                South Jersey                        3/7/2020                   92.34%              95.74%                     87.52%
Eastern                South Jersey                       3/14/2020                   92.62%              94.09%                     90.01%
Eastern                South Jersey                       3/21/2020                   93.66%              92.47%                     85.58%
Eastern                South Jersey                       3/28/2020                   92.01%              89.19%                     85.66%
Eastern                South Jersey                        4/1/2020                   94.40%              92.15%                     73.88%
Eastern                South Jersey                        4/4/2020                   92.96%              94.15%                     90.39%
Eastern                South Jersey                       4/11/2020                   91.23%              92.32%                     86.34%
Eastern                South Jersey                       4/18/2020                   92.29%              87.61%                     89.21%
Eastern                South Jersey                       4/25/2020                   91.27%              85.78%                     86.80%
Eastern                South Jersey                        5/2/2020                   89.35%              80.26%                     80.76%
Eastern                South Jersey                        5/9/2020                   89.80%              85.90%                     72.08%
Eastern                South Jersey                       5/16/2020                   90.86%              92.11%                     79.03%
Eastern                South Jersey                       5/23/2020                   92.97%              90.72%                     86.88%
Eastern                South Jersey                       5/30/2020                   90.14%              92.84%                     78.19%
Eastern                South Jersey                        6/6/2020                   91.99%              91.11%                     81.20%
Eastern                South Jersey                       6/13/2020                   91.94%              91.54%                     80.11%
Eastern                South Jersey                       6/20/2020                   91.81%              92.74%                     84.50%

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Commission (PRC) at the end of the quarter.                          21
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Eastern                South Jersey                       6/27/2020                   92.61%              89.68%                     89.19%
Eastern                South Jersey                        7/1/2020                   93.10%              93.57%                     74.95%
Eastern                South Jersey                        7/4/2020                   91.67%              92.63%                     86.74%
Eastern                South Jersey                       7/11/2020                   87.08%              89.80%                     75.99%
Eastern                South Jersey                       7/18/2020                   83.25%              86.25%                     68.92%
Eastern                South Jersey                       7/25/2020                   85.45%              87.03%                     75.63%
Eastern                South Jersey                        8/1/2020                   77.54%              77.12%                     71.80%
Eastern                South Jersey                        8/8/2020                   81.18%              83.11%                     73.77%
Eastern                South Jersey                       8/15/2020                   84.56%              88.50%                     77.54%
Eastern                South Jersey                       8/22/2020                   88.65%              90.64%                     84.98%
Eastern                South Jersey                       8/29/2020                   89.90%              92.00%                     78.12%
Eastern                South Jersey                        9/5/2020                   89.28%              92.55%                     88.15%
Eastern                South Jersey                       9/12/2020                   87.09%              87.13%                     81.41%
Eastern                South Jersey                       9/19/2020                   80.69%              90.86%                     79.00%
Eastern                South Jersey                       9/26/2020                   82.61%              91.97%                     83.18%
Eastern                South Jersey                       10/3/2020                   80.52%              87.66%                     82.21%
Eastern                South Jersey                      10/10/2020                   83.90%              85.12%                     80.74%
Eastern                South Jersey                      10/17/2020                   74.20%              89.15%                     76.14%
Eastern                South Jersey                      10/24/2020                   75.37%              90.27%                     81.05%
Eastern                South Jersey                      10/31/2020                   83.29%              91.74%                     82.04%
Eastern                South Jersey                       11/7/2020                   79.80%              90.74%                     83.32%
Eastern                South Jersey                      11/14/2020                   81.90%              88.78%                     86.15%
Eastern                South Jersey                      11/21/2020                   81.89%              81.33%                     82.19%
Eastern                South Jersey                      11/28/2020                   75.12%              85.89%                     83.58%
Eastern                South Jersey                       12/5/2020                   70.97%              85.64%                     80.40%
Eastern                South Jersey                      12/12/2020                   65.85%              77.60%                     70.88%
Eastern                Tennessee                           1/4/2020                   91.55%              90.33%                     85.26%
Eastern                Tennessee                          1/11/2020                   90.94%              89.55%                     85.66%
Eastern                Tennessee                          1/18/2020                   93.67%              90.52%                     91.89%
Eastern                Tennessee                          1/25/2020                   92.26%              92.03%                     85.26%
Eastern                Tennessee                           2/1/2020                   91.73%              91.39%                     81.45%
Eastern                Tennessee                           2/8/2020                   92.46%              92.89%                     87.56%
Eastern                Tennessee                          2/15/2020                   94.67%              92.64%                     85.22%
Eastern                Tennessee                          2/22/2020                   93.22%              94.72%                     92.25%
Eastern                Tennessee                          2/29/2020                   92.79%              93.34%                     90.14%
Eastern                Tennessee                           3/7/2020                   92.19%              92.15%                     91.73%
Eastern                Tennessee                          3/14/2020                   91.84%              92.51%                     90.48%
Eastern                Tennessee                          3/21/2020                   92.61%              92.74%                     87.85%
Eastern                Tennessee                          3/28/2020                   94.54%              95.32%                     87.56%
Eastern                Tennessee                           4/1/2020                   94.11%              90.96%                     83.07%
Eastern                Tennessee                           4/4/2020                   93.79%              92.08%                     83.95%
Eastern                Tennessee                          4/11/2020                   91.00%              92.52%                     76.83%
Eastern                Tennessee                          4/18/2020                   92.63%              93.17%                     78.33%
Eastern                Tennessee                          4/25/2020                   91.19%              92.12%                     75.71%
Eastern                Tennessee                           5/2/2020                   89.13%              90.83%                     73.39%
Eastern                Tennessee                           5/9/2020                   90.85%              88.39%                     58.63%
Eastern                Tennessee                          5/16/2020                   92.00%              87.74%                     63.07%
Eastern                Tennessee                          5/23/2020                   92.92%              83.75%                     65.98%
Eastern                Tennessee                          5/30/2020                   91.61%              87.01%                     74.38%
Eastern                Tennessee                           6/6/2020                   92.08%              87.51%                     70.52%
Eastern                Tennessee                          6/13/2020                   92.10%              90.71%                     72.66%
Eastern                Tennessee                          6/20/2020                   91.82%              89.49%                     77.30%
Eastern                Tennessee                          6/27/2020                   92.75%              92.28%                     74.48%
Eastern                Tennessee                           7/1/2020                   92.85%              87.07%                     72.46%
Eastern                Tennessee                           7/4/2020                   91.17%              84.32%                     70.51%
Eastern                Tennessee                          7/11/2020                   85.25%              82.98%                     75.01%
Eastern                Tennessee                          7/18/2020                   80.29%              74.93%                     66.23%
Eastern                Tennessee                          7/25/2020                   81.21%              79.85%                     76.85%

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Commission (PRC) at the end of the quarter.                          22
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Eastern                Tennessee                           8/1/2020                   86.02%              84.62%                     49.79%
Eastern                Tennessee                           8/8/2020                   86.31%              86.80%                     73.94%
Eastern                Tennessee                          8/15/2020                   88.70%              85.62%                     68.94%
Eastern                Tennessee                          8/22/2020                   88.93%              86.45%                     76.18%
Eastern                Tennessee                          8/29/2020                   88.96%              86.01%                     71.29%
Eastern                Tennessee                           9/5/2020                   90.21%              83.53%                     71.89%
Eastern                Tennessee                          9/12/2020                   84.43%              81.22%                     74.13%
Eastern                Tennessee                          9/19/2020                   84.93%              82.60%                     78.35%
Eastern                Tennessee                          9/26/2020                   85.67%              85.93%                     81.61%
Eastern                Tennessee                          10/3/2020                   85.81%              88.14%                     79.98%
Eastern                Tennessee                         10/10/2020                   86.77%              86.90%                     76.60%
Eastern                Tennessee                         10/17/2020                   81.76%              86.85%                     66.32%
Eastern                Tennessee                         10/24/2020                   83.61%              85.84%                     76.28%
Eastern                Tennessee                         10/31/2020                   86.70%              86.06%                     81.97%
Eastern                Tennessee                          11/7/2020                   85.02%              85.48%                     70.71%
Eastern                Tennessee                         11/14/2020                   86.84%              86.74%                     78.97%
Eastern                Tennessee                         11/21/2020                   82.99%              82.20%                     71.52%
Eastern                Tennessee                         11/28/2020                   78.75%              81.73%                     69.59%
Eastern                Tennessee                          12/5/2020                   71.20%              75.67%                     53.68%
Eastern                Tennessee                         12/12/2020                   67.32%              53.90%                     50.17%
Eastern                Western New York                    1/4/2020                   92.45%              94.53%                     89.38%
Eastern                Western New York                   1/11/2020                   94.03%              94.42%                     87.80%
Eastern                Western New York                   1/18/2020                   94.89%              94.53%                     90.58%
Eastern                Western New York                   1/25/2020                   93.29%              94.64%                     83.68%
Eastern                Western New York                    2/1/2020                   92.99%              94.87%                     92.80%
Eastern                Western New York                    2/8/2020                   93.70%              94.21%                     87.02%
Eastern                Western New York                   2/15/2020                   94.67%              94.93%                     87.53%
Eastern                Western New York                   2/22/2020                   93.69%              94.09%                     90.25%
Eastern                Western New York                   2/29/2020                   93.53%              95.65%                     87.42%
Eastern                Western New York                    3/7/2020                   94.39%              94.14%                     86.69%
Eastern                Western New York                   3/14/2020                   94.24%              94.65%                     87.09%
Eastern                Western New York                   3/21/2020                   94.77%              93.26%                     77.15%
Eastern                Western New York                   3/28/2020                   94.57%              95.57%                     90.47%
Eastern                Western New York                    4/1/2020                   94.68%              93.10%                     91.83%
Eastern                Western New York                    4/4/2020                   93.62%              94.50%                     86.75%
Eastern                Western New York                   4/11/2020                   91.35%              93.56%                     76.00%
Eastern                Western New York                   4/18/2020                   93.99%              93.76%                     66.34%
Eastern                Western New York                   4/25/2020                   92.43%              88.97%                     68.52%
Eastern                Western New York                    5/2/2020                   92.44%              90.42%                     55.55%
Eastern                Western New York                    5/9/2020                   92.21%              92.91%                     57.43%
Eastern                Western New York                   5/16/2020                   92.63%              94.94%                     71.71%
Eastern                Western New York                   5/23/2020                   94.17%              94.15%                     83.15%
Eastern                Western New York                   5/30/2020                   92.67%              94.15%                     64.90%
Eastern                Western New York                    6/6/2020                   92.58%              94.50%                     71.29%
Eastern                Western New York                   6/13/2020                   94.46%              95.99%                     78.64%
Eastern                Western New York                   6/20/2020                   94.04%              94.69%                     82.44%
Eastern                Western New York                   6/27/2020                   94.13%              96.13%                     74.19%
Eastern                Western New York                    7/1/2020                   94.91%              95.00%                     90.61%
Eastern                Western New York                    7/4/2020                   93.73%              89.90%                     74.01%
Eastern                Western New York                   7/11/2020                   86.55%              75.84%                     55.92%
Eastern                Western New York                   7/18/2020                   84.85%              58.06%                     49.20%
Eastern                Western New York                   7/25/2020                   85.45%              81.78%                     40.55%
Eastern                Western New York                    8/1/2020                   86.95%              86.36%                     44.43%
Eastern                Western New York                    8/8/2020                   86.35%              80.33%                     50.43%
Eastern                Western New York                   8/15/2020                   88.77%              85.45%                     49.71%
Eastern                Western New York                   8/22/2020                   91.81%              91.38%                     68.78%
Eastern                Western New York                   8/29/2020                   92.13%              90.01%                     76.99%
Eastern                Western New York                    9/5/2020                   92.65%              90.45%                     77.31%

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Commission (PRC) at the end of the quarter.                          23
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 24 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Eastern                Western New York                   9/12/2020                   88.04%              77.13%                     67.46%
Eastern                Western New York                   9/19/2020                   87.06%              90.13%                     73.69%
Eastern                Western New York                   9/26/2020                   90.41%              92.13%                     75.71%
Eastern                Western New York                   10/3/2020                   90.24%              93.97%                     78.70%
Eastern                Western New York                  10/10/2020                   90.85%              92.51%                     73.15%
Eastern                Western New York                  10/17/2020                   86.08%              90.81%                     67.42%
Eastern                Western New York                  10/24/2020                   86.63%              94.19%                     76.78%
Eastern                Western New York                  10/31/2020                   89.93%              95.31%                     88.49%
Eastern                Western New York                   11/7/2020                   91.37%              95.79%                     86.85%
Eastern                Western New York                  11/14/2020                   91.15%              95.12%                     86.64%
Eastern                Western New York                  11/21/2020                   90.87%              92.36%                     83.86%
Eastern                Western New York                  11/28/2020                   85.48%              91.54%                     68.27%
Eastern                Western New York                   12/5/2020                   82.73%              81.69%                     17.96%
Eastern                Western New York                  12/12/2020                   76.55%              72.51%                     17.35%
Eastern                Western Pennsylvania                1/4/2020                   95.09%              96.45%                     91.81%
Eastern                Western Pennsylvania               1/11/2020                   94.00%              95.62%                     95.19%
Eastern                Western Pennsylvania               1/18/2020                   95.00%              95.81%                     96.60%
Eastern                Western Pennsylvania               1/25/2020                   93.80%              97.40%                     93.79%
Eastern                Western Pennsylvania                2/1/2020                   93.84%              96.97%                     95.23%
Eastern                Western Pennsylvania                2/8/2020                   93.46%              97.21%                     93.89%
Eastern                Western Pennsylvania               2/15/2020                   95.29%              96.58%                     96.35%
Eastern                Western Pennsylvania               2/22/2020                   94.69%              97.67%                     94.58%
Eastern                Western Pennsylvania               2/29/2020                   95.23%              97.71%                     94.79%
Eastern                Western Pennsylvania                3/7/2020                   94.39%              97.51%                     95.11%
Eastern                Western Pennsylvania               3/14/2020                   94.13%              97.33%                     93.33%
Eastern                Western Pennsylvania               3/21/2020                   94.21%              97.20%                     89.69%
Eastern                Western Pennsylvania               3/28/2020                   94.53%              97.54%                     94.05%
Eastern                Western Pennsylvania                4/1/2020                   95.51%              95.35%                     96.17%
Eastern                Western Pennsylvania                4/4/2020                   94.59%              97.51%                     93.40%
Eastern                Western Pennsylvania               4/11/2020                   94.07%              91.78%                     92.33%
Eastern                Western Pennsylvania               4/18/2020                   93.70%              96.55%                     94.80%
Eastern                Western Pennsylvania               4/25/2020                   94.26%              96.43%                     92.19%
Eastern                Western Pennsylvania                5/2/2020                   94.51%              96.68%                     94.44%
Eastern                Western Pennsylvania                5/9/2020                   92.75%              96.65%                     88.97%
Eastern                Western Pennsylvania               5/16/2020                   94.59%              96.62%                     91.31%
Eastern                Western Pennsylvania               5/23/2020                   94.80%              95.13%                     89.97%
Eastern                Western Pennsylvania               5/30/2020                   93.63%              97.03%                     95.06%
Eastern                Western Pennsylvania                6/6/2020                   93.97%              96.47%                     93.45%
Eastern                Western Pennsylvania               6/13/2020                   93.95%              96.28%                     93.90%
Eastern                Western Pennsylvania               6/20/2020                   93.66%              96.33%                     91.69%
Eastern                Western Pennsylvania               6/27/2020                   93.59%              97.24%                     93.22%
Eastern                Western Pennsylvania                7/1/2020                   94.86%              94.56%                     86.84%
Eastern                Western Pennsylvania                7/4/2020                   93.11%              95.01%                     92.38%
Eastern                Western Pennsylvania               7/11/2020                   88.87%              94.49%                     89.60%
Eastern                Western Pennsylvania               7/18/2020                   88.40%              92.90%                     90.96%
Eastern                Western Pennsylvania               7/25/2020                   89.91%              93.37%                     86.99%
Eastern                Western Pennsylvania                8/1/2020                   88.71%              93.26%                     92.53%
Eastern                Western Pennsylvania                8/8/2020                   88.82%              89.76%                     88.95%
Eastern                Western Pennsylvania               8/15/2020                   90.42%              93.92%                     90.35%
Eastern                Western Pennsylvania               8/22/2020                   91.85%              94.85%                     91.23%
Eastern                Western Pennsylvania               8/29/2020                   91.55%              95.47%                     90.37%
Eastern                Western Pennsylvania                9/5/2020                   92.52%              94.00%                     93.05%
Eastern                Western Pennsylvania               9/12/2020                   90.54%              95.71%                     88.04%
Eastern                Western Pennsylvania               9/19/2020                   89.63%              95.76%                     89.98%
Eastern                Western Pennsylvania               9/26/2020                   88.49%              94.28%                     86.91%
Eastern                Western Pennsylvania               10/3/2020                   89.40%              95.88%                     95.42%
Eastern                Western Pennsylvania              10/10/2020                   87.32%              93.00%                     87.76%
Eastern                Western Pennsylvania              10/17/2020                   83.22%              94.48%                     85.71%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          24
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 25 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                    District                Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Eastern                Western Pennsylvania              10/24/2020                   85.51%              95.68%                     86.20%
Eastern                Western Pennsylvania              10/31/2020                   88.53%              94.63%                     90.99%
Eastern                Western Pennsylvania               11/7/2020                   89.52%              96.07%                     93.24%
Eastern                Western Pennsylvania              11/14/2020                   89.83%              95.46%                     91.48%
Eastern                Western Pennsylvania              11/21/2020                   90.36%              94.39%                     92.77%
Eastern                Western Pennsylvania              11/28/2020                   81.07%              92.41%                     90.61%
Eastern                Western Pennsylvania               12/5/2020                   75.95%              83.69%                     57.56%
Eastern                Western Pennsylvania              12/12/2020                   72.55%              85.97%                     77.20%
Great Lakes            Central Illinois                    1/4/2020                   90.16%              90.17%                     81.02%
Great Lakes            Central Illinois                   1/11/2020                   89.13%              85.49%                     82.41%
Great Lakes            Central Illinois                   1/18/2020                   90.85%              87.28%                     82.39%
Great Lakes            Central Illinois                   1/25/2020                   86.75%              89.07%                     79.08%
Great Lakes            Central Illinois                    2/1/2020                   80.22%              83.70%                     80.93%
Great Lakes            Central Illinois                    2/8/2020                   88.80%              86.05%                     80.43%
Great Lakes            Central Illinois                   2/15/2020                   89.71%              89.08%                     75.61%
Great Lakes            Central Illinois                   2/22/2020                   90.12%              89.75%                     72.73%
Great Lakes            Central Illinois                   2/29/2020                   90.31%              88.06%                     76.95%
Great Lakes            Central Illinois                    3/7/2020                   89.83%              87.83%                     80.39%
Great Lakes            Central Illinois                   3/14/2020                   88.86%              86.50%                     81.73%
Great Lakes            Central Illinois                   3/21/2020                   90.34%              85.98%                     73.67%
Great Lakes            Central Illinois                   3/28/2020                   88.87%              84.49%                     78.53%
Great Lakes            Central Illinois                    4/1/2020                   90.38%              76.56%                     64.64%
Great Lakes            Central Illinois                    4/4/2020                   89.01%              85.69%                     66.84%
Great Lakes            Central Illinois                   4/11/2020                   88.59%              86.11%                     73.29%
Great Lakes            Central Illinois                   4/18/2020                   90.10%              87.74%                     67.76%
Great Lakes            Central Illinois                   4/25/2020                   88.06%              88.01%                     70.61%
Great Lakes            Central Illinois                    5/2/2020                   86.86%              83.74%                     70.09%
Great Lakes            Central Illinois                    5/9/2020                   88.00%              83.73%                     61.47%
Great Lakes            Central Illinois                   5/16/2020                   88.56%              88.21%                     55.02%
Great Lakes            Central Illinois                   5/23/2020                   88.39%              86.93%                     70.04%
Great Lakes            Central Illinois                   5/30/2020                   87.33%              87.88%                     74.49%
Great Lakes            Central Illinois                    6/6/2020                   89.10%              85.30%                     69.65%
Great Lakes            Central Illinois                   6/13/2020                   89.39%              90.09%                     79.51%
Great Lakes            Central Illinois                   6/20/2020                   88.86%              91.44%                     69.56%
Great Lakes            Central Illinois                   6/27/2020                   87.63%              90.95%                     77.12%
Great Lakes            Central Illinois                    7/1/2020                   86.92%              87.85%                     77.02%
Great Lakes            Central Illinois                    7/4/2020                   89.13%              87.70%                     75.01%
Great Lakes            Central Illinois                   7/11/2020                   82.95%              86.57%                     65.36%
Great Lakes            Central Illinois                   7/18/2020                   80.53%              86.63%                     65.82%
Great Lakes            Central Illinois                   7/25/2020                   81.49%              82.14%                     60.13%
Great Lakes            Central Illinois                    8/1/2020                   80.83%              79.78%                     46.82%
Great Lakes            Central Illinois                    8/8/2020                   79.56%              80.97%                     58.16%
Great Lakes            Central Illinois                   8/15/2020                   81.77%              80.78%                     55.24%
Great Lakes            Central Illinois                   8/22/2020                   84.18%              78.87%                     49.98%
Great Lakes            Central Illinois                   8/29/2020                   84.48%              81.95%                     46.81%
Great Lakes            Central Illinois                    9/5/2020                   84.38%              75.91%                     64.06%
Great Lakes            Central Illinois                   9/12/2020                   80.23%              82.23%                     68.08%
Great Lakes            Central Illinois                   9/19/2020                   70.32%              82.44%                     50.15%
Great Lakes            Central Illinois                   9/26/2020                   73.90%              81.45%                     55.46%
Great Lakes            Central Illinois                   10/3/2020                   81.20%              73.85%                     49.45%
Great Lakes            Central Illinois                  10/10/2020                   80.10%              82.43%                     51.09%
Great Lakes            Central Illinois                  10/17/2020                   77.83%              83.26%                     51.79%
Great Lakes            Central Illinois                  10/24/2020                   79.14%              85.86%                     36.99%
Great Lakes            Central Illinois                  10/31/2020                   82.98%              87.37%                     55.57%
Great Lakes            Central Illinois                   11/7/2020                   81.33%              88.62%                     72.30%
Great Lakes            Central Illinois                  11/14/2020                   84.35%              90.11%                     65.14%
Great Lakes            Central Illinois                  11/21/2020                   81.91%              81.72%                     63.99%
Great Lakes            Central Illinois                  11/28/2020                   75.75%              88.14%                     58.38%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          25
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 26 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                    District                Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Great Lakes            Central Illinois                   12/5/2020                   73.74%              82.83%                     58.68%
Great Lakes            Central Illinois                  12/12/2020                   71.84%              81.94%                     69.33%
Great Lakes            Chicago                             1/4/2020                   90.45%              90.64%                     71.34%
Great Lakes            Chicago                            1/11/2020                   89.04%              87.80%                     80.99%
Great Lakes            Chicago                            1/18/2020                   90.13%              85.46%                     77.53%
Great Lakes            Chicago                            1/25/2020                   88.18%              89.59%                     73.44%
Great Lakes            Chicago                             2/1/2020                   86.86%              88.35%                     78.07%
Great Lakes            Chicago                             2/8/2020                   89.48%              89.53%                     79.20%
Great Lakes            Chicago                            2/15/2020                   89.68%              89.40%                     78.34%
Great Lakes            Chicago                            2/22/2020                   88.14%              93.72%                     76.08%
Great Lakes            Chicago                            2/29/2020                   90.17%              90.98%                     75.29%
Great Lakes            Chicago                             3/7/2020                   89.14%              89.90%                     76.80%
Great Lakes            Chicago                            3/14/2020                   88.07%              85.16%                     77.56%
Great Lakes            Chicago                            3/21/2020                   89.55%              84.63%                     70.21%
Great Lakes            Chicago                            3/28/2020                   89.71%              83.12%                     72.80%
Great Lakes            Chicago                             4/1/2020                   90.60%              84.03%                     73.24%
Great Lakes            Chicago                             4/4/2020                   89.19%              83.66%                     64.04%
Great Lakes            Chicago                            4/11/2020                   84.75%              79.72%                     67.58%
Great Lakes            Chicago                            4/18/2020                   89.36%              81.37%                     40.14%
Great Lakes            Chicago                            4/25/2020                   92.37%              79.40%                     42.65%
Great Lakes            Chicago                             5/2/2020                   86.07%              83.20%                     60.77%
Great Lakes            Chicago                             5/9/2020                   86.83%              82.93%                     72.61%
Great Lakes            Chicago                            5/16/2020                   87.20%              80.22%                     56.72%
Great Lakes            Chicago                            5/23/2020                   84.29%              83.40%                     64.85%
Great Lakes            Chicago                            5/30/2020                   71.25%              73.40%                     47.63%
Great Lakes            Chicago                             6/6/2020                   85.85%              83.43%                     59.40%
Great Lakes            Chicago                            6/13/2020                   88.85%              86.46%                     66.77%
Great Lakes            Chicago                            6/20/2020                   85.94%              83.08%                     67.32%
Great Lakes            Chicago                            6/27/2020                   87.19%              86.33%                     71.80%
Great Lakes            Chicago                             7/1/2020                   87.13%              84.26%                     63.37%
Great Lakes            Chicago                             7/4/2020                   84.73%              81.39%                     71.36%
Great Lakes            Chicago                            7/11/2020                   79.26%              79.11%                     61.34%
Great Lakes            Chicago                            7/18/2020                   79.42%              77.63%                     49.82%
Great Lakes            Chicago                            7/25/2020                   71.19%              58.38%                     42.95%
Great Lakes            Chicago                             8/1/2020                   74.60%              73.63%                     47.04%
Great Lakes            Chicago                             8/8/2020                   75.38%              77.78%                     50.42%
Great Lakes            Chicago                            8/15/2020                   78.39%              73.02%                     53.71%
Great Lakes            Chicago                            8/22/2020                   81.78%              83.33%                     61.35%
Great Lakes            Chicago                            8/29/2020                   81.52%              82.78%                     62.50%
Great Lakes            Chicago                             9/5/2020                   81.96%              81.26%                     64.24%
Great Lakes            Chicago                            9/12/2020                   72.30%              79.06%                     61.26%
Great Lakes            Chicago                            9/19/2020                   70.66%              81.66%                     57.22%
Great Lakes            Chicago                            9/26/2020                   69.91%              81.98%                     49.49%
Great Lakes            Chicago                            10/3/2020                   82.33%              87.34%                     66.24%
Great Lakes            Chicago                           10/10/2020                   84.25%              86.97%                     70.90%
Great Lakes            Chicago                           10/17/2020                   79.23%              85.56%                     60.36%
Great Lakes            Chicago                           10/24/2020                   80.62%              84.08%                     51.78%
Great Lakes            Chicago                           10/31/2020                   76.28%              73.12%                     54.08%
Great Lakes            Chicago                            11/7/2020                   69.25%              64.13%                     68.12%
Great Lakes            Chicago                           11/14/2020                   75.93%              72.60%                     44.00%
Great Lakes            Chicago                           11/21/2020                   74.00%              76.70%                     45.22%
Great Lakes            Chicago                           11/28/2020                   70.84%              78.93%                     30.91%
Great Lakes            Chicago                            12/5/2020                   71.59%              79.69%                     43.68%
Great Lakes            Chicago                           12/12/2020                   70.09%              79.77%                     49.55%
Great Lakes            Detroit                             1/4/2020                   92.22%              93.64%                     88.38%
Great Lakes            Detroit                            1/11/2020                   91.63%              90.66%                     85.10%
Great Lakes            Detroit                            1/18/2020                   92.97%              90.04%                     88.06%
Great Lakes            Detroit                            1/25/2020                   91.28%              90.63%                     91.26%

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Commission (PRC) at the end of the quarter.                          26
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 27 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Great Lakes            Detroit                             2/1/2020                   91.43%              91.20%                     89.96%
Great Lakes            Detroit                             2/8/2020                   91.68%              92.12%                     91.34%
Great Lakes            Detroit                            2/15/2020                   93.73%              92.28%                     91.97%
Great Lakes            Detroit                            2/22/2020                   92.33%              92.98%                     91.12%
Great Lakes            Detroit                            2/29/2020                   91.71%              83.99%                     87.72%
Great Lakes            Detroit                             3/7/2020                   92.05%              90.75%                     91.02%
Great Lakes            Detroit                            3/14/2020                   91.65%              89.92%                     88.83%
Great Lakes            Detroit                            3/21/2020                   91.17%              86.86%                     89.44%
Great Lakes            Detroit                            3/28/2020                   83.07%              77.57%                     77.39%
Great Lakes            Detroit                             4/1/2020                   73.04%              37.14%                     45.35%
Great Lakes            Detroit                             4/4/2020                   67.94%              26.09%                     38.38%
Great Lakes            Detroit                            4/11/2020                   58.80%              27.00%                     38.36%
Great Lakes            Detroit                            4/18/2020                   70.98%              23.65%                     29.72%
Great Lakes            Detroit                            4/25/2020                   67.70%              38.99%                     24.99%
Great Lakes            Detroit                             5/2/2020                   69.79%              44.16%                     18.56%
Great Lakes            Detroit                             5/9/2020                   69.61%              49.14%                     45.26%
Great Lakes            Detroit                            5/16/2020                   77.64%              77.32%                     28.62%
Great Lakes            Detroit                            5/23/2020                   87.33%              80.48%                     53.20%
Great Lakes            Detroit                            5/30/2020                   88.20%              88.55%                     61.03%
Great Lakes            Detroit                             6/6/2020                   86.12%              88.19%                     73.45%
Great Lakes            Detroit                            6/13/2020                   86.00%              85.23%                     63.60%
Great Lakes            Detroit                            6/20/2020                   85.49%              85.76%                     64.03%
Great Lakes            Detroit                            6/27/2020                   84.11%              85.98%                     66.96%
Great Lakes            Detroit                             7/1/2020                   86.81%              76.33%                     36.04%
Great Lakes            Detroit                             7/4/2020                   81.17%              75.79%                     51.19%
Great Lakes            Detroit                            7/11/2020                   70.87%              70.80%                     55.22%
Great Lakes            Detroit                            7/18/2020                   67.97%              65.41%                     41.09%
Great Lakes            Detroit                            7/25/2020                   63.14%              56.96%                     33.38%
Great Lakes            Detroit                             8/1/2020                   61.01%              50.85%                     47.43%
Great Lakes            Detroit                             8/8/2020                   63.16%              52.44%                     55.72%
Great Lakes            Detroit                            8/15/2020                   72.31%              62.94%                     65.56%
Great Lakes            Detroit                            8/22/2020                   76.51%              72.90%                     69.58%
Great Lakes            Detroit                            8/29/2020                   81.22%              74.97%                     75.35%
Great Lakes            Detroit                             9/5/2020                   83.13%              84.16%                     75.89%
Great Lakes            Detroit                            9/12/2020                   82.94%              83.67%                     72.57%
Great Lakes            Detroit                            9/19/2020                   79.27%              83.57%                     66.38%
Great Lakes            Detroit                            9/26/2020                   72.20%              69.85%                     64.99%
Great Lakes            Detroit                            10/3/2020                   70.94%              67.73%                     65.04%
Great Lakes            Detroit                           10/10/2020                   71.55%              64.18%                     70.19%
Great Lakes            Detroit                           10/17/2020                   63.48%              72.64%                     71.99%
Great Lakes            Detroit                           10/24/2020                   64.77%              71.80%                     65.00%
Great Lakes            Detroit                           10/31/2020                   72.07%              62.03%                     58.28%
Great Lakes            Detroit                            11/7/2020                   78.26%              82.46%                     64.94%
Great Lakes            Detroit                           11/14/2020                   80.55%              82.43%                     66.59%
Great Lakes            Detroit                           11/21/2020                   77.53%              71.58%                     61.46%
Great Lakes            Detroit                           11/28/2020                   71.52%              74.20%                     51.29%
Great Lakes            Detroit                            12/5/2020                   60.61%              66.37%                     37.36%
Great Lakes            Detroit                           12/12/2020                   51.75%              53.38%                     31.65%
Great Lakes            Gateway                             1/4/2020                   91.97%              82.01%                     81.16%
Great Lakes            Gateway                            1/11/2020                   91.12%              88.55%                     85.85%
Great Lakes            Gateway                            1/18/2020                   92.37%              91.27%                     85.33%
Great Lakes            Gateway                            1/25/2020                   90.78%              90.81%                     84.72%
Great Lakes            Gateway                             2/1/2020                   91.04%              84.02%                     80.12%
Great Lakes            Gateway                             2/8/2020                   92.36%              92.22%                     85.16%
Great Lakes            Gateway                            2/15/2020                   94.15%              93.69%                     89.84%
Great Lakes            Gateway                            2/22/2020                   92.43%              92.78%                     81.77%
Great Lakes            Gateway                            2/29/2020                   93.32%              92.72%                     79.17%
Great Lakes            Gateway                             3/7/2020                   92.03%              90.79%                     86.71%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          27
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 28 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Great Lakes            Gateway                            3/14/2020                   92.61%              91.88%                     84.68%
Great Lakes            Gateway                            3/21/2020                   91.55%              92.93%                     84.33%
Great Lakes            Gateway                            3/28/2020                   92.53%              86.27%                     84.33%
Great Lakes            Gateway                             4/1/2020                   93.77%              90.85%                     74.84%
Great Lakes            Gateway                             4/4/2020                   92.85%              93.91%                     83.34%
Great Lakes            Gateway                            4/11/2020                   92.65%              94.47%                     82.11%
Great Lakes            Gateway                            4/18/2020                   92.87%              90.44%                     81.81%
Great Lakes            Gateway                            4/25/2020                   92.14%              89.18%                     80.23%
Great Lakes            Gateway                             5/2/2020                   92.45%              90.17%                     76.24%
Great Lakes            Gateway                             5/9/2020                   92.49%              91.72%                     83.46%
Great Lakes            Gateway                            5/16/2020                   93.54%              93.26%                     79.99%
Great Lakes            Gateway                            5/23/2020                   93.25%              90.44%                     80.23%
Great Lakes            Gateway                            5/30/2020                   91.75%              85.16%                     77.33%
Great Lakes            Gateway                             6/6/2020                   92.26%              91.75%                     78.93%
Great Lakes            Gateway                            6/13/2020                   92.99%              91.59%                     77.79%
Great Lakes            Gateway                            6/20/2020                   92.13%              93.44%                     81.52%
Great Lakes            Gateway                            6/27/2020                   92.03%              94.53%                     80.75%
Great Lakes            Gateway                             7/1/2020                   93.03%              85.32%                     60.79%
Great Lakes            Gateway                             7/4/2020                   90.01%              86.45%                     78.07%
Great Lakes            Gateway                            7/11/2020                   83.75%              74.66%                     80.78%
Great Lakes            Gateway                            7/18/2020                   83.30%              65.85%                     79.14%
Great Lakes            Gateway                            7/25/2020                   84.03%              63.90%                     64.49%
Great Lakes            Gateway                             8/1/2020                   84.89%              65.85%                     62.47%
Great Lakes            Gateway                             8/8/2020                   85.83%              80.95%                     70.95%
Great Lakes            Gateway                            8/15/2020                   88.35%              87.20%                     71.82%
Great Lakes            Gateway                            8/22/2020                   91.09%              90.00%                     74.25%
Great Lakes            Gateway                            8/29/2020                   90.22%              89.94%                     82.56%
Great Lakes            Gateway                             9/5/2020                   91.14%              90.18%                     76.51%
Great Lakes            Gateway                            9/12/2020                   87.79%              82.60%                     76.54%
Great Lakes            Gateway                            9/19/2020                   77.13%              87.27%                     74.98%
Great Lakes            Gateway                            9/26/2020                   84.96%              88.05%                     74.86%
Great Lakes            Gateway                            10/3/2020                   87.19%              87.85%                     69.13%
Great Lakes            Gateway                           10/10/2020                   87.88%              89.85%                     72.51%
Great Lakes            Gateway                           10/17/2020                   83.04%              90.45%                     67.82%
Great Lakes            Gateway                           10/24/2020                   84.40%              89.61%                     75.93%
Great Lakes            Gateway                           10/31/2020                   85.34%              80.66%                     59.85%
Great Lakes            Gateway                            11/7/2020                   86.51%              85.80%                     78.83%
Great Lakes            Gateway                           11/14/2020                   87.32%              84.89%                     49.29%
Great Lakes            Gateway                           11/21/2020                   83.00%              78.31%                     50.40%
Great Lakes            Gateway                           11/28/2020                   79.86%              80.37%                     49.16%
Great Lakes            Gateway                            12/5/2020                   78.19%              79.11%                     26.95%
Great Lakes            Gateway                           12/12/2020                   73.47%              70.98%                     24.67%
Great Lakes            Greater Indiana                     1/4/2020                   89.78%              91.85%                     83.74%
Great Lakes            Greater Indiana                    1/11/2020                   91.39%              88.85%                     82.66%
Great Lakes            Greater Indiana                    1/18/2020                   93.26%              89.06%                     84.02%
Great Lakes            Greater Indiana                    1/25/2020                   91.35%              89.91%                     83.23%
Great Lakes            Greater Indiana                     2/1/2020                   91.91%              90.16%                     86.42%
Great Lakes            Greater Indiana                     2/8/2020                   93.41%              88.63%                     85.20%
Great Lakes            Greater Indiana                    2/15/2020                   94.74%              89.06%                     87.86%
Great Lakes            Greater Indiana                    2/22/2020                   92.95%              89.89%                     87.44%
Great Lakes            Greater Indiana                    2/29/2020                   93.29%              87.27%                     75.82%
Great Lakes            Greater Indiana                     3/7/2020                   93.53%              88.65%                     81.29%
Great Lakes            Greater Indiana                    3/14/2020                   93.34%              88.80%                     73.04%
Great Lakes            Greater Indiana                    3/21/2020                   93.86%              88.92%                     72.94%
Great Lakes            Greater Indiana                    3/28/2020                   93.78%              93.16%                     80.75%
Great Lakes            Greater Indiana                     4/1/2020                   94.11%              88.90%                     83.33%
Great Lakes            Greater Indiana                     4/4/2020                   94.03%              88.57%                     85.24%
Great Lakes            Greater Indiana                    4/11/2020                   92.03%              90.00%                     80.27%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          28
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 29 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Great Lakes            Greater Indiana                    4/18/2020                   93.57%              90.38%                     80.08%
Great Lakes            Greater Indiana                    4/25/2020                   93.64%              90.33%                     73.06%
Great Lakes            Greater Indiana                     5/2/2020                   93.53%              86.15%                     73.87%
Great Lakes            Greater Indiana                     5/9/2020                   92.74%              88.16%                     77.32%
Great Lakes            Greater Indiana                    5/16/2020                   93.02%              89.90%                     78.44%
Great Lakes            Greater Indiana                    5/23/2020                   93.05%              87.94%                     73.36%
Great Lakes            Greater Indiana                    5/30/2020                   93.01%              89.90%                     76.26%
Great Lakes            Greater Indiana                     6/6/2020                   93.03%              84.24%                     70.10%
Great Lakes            Greater Indiana                    6/13/2020                   93.73%              86.36%                     43.90%
Great Lakes            Greater Indiana                    6/20/2020                   92.94%              86.70%                     68.64%
Great Lakes            Greater Indiana                    6/27/2020                   92.64%              91.82%                     78.97%
Great Lakes            Greater Indiana                     7/1/2020                   91.45%              87.97%                     79.56%
Great Lakes            Greater Indiana                     7/4/2020                   90.32%              87.85%                     53.63%
Great Lakes            Greater Indiana                    7/11/2020                   88.04%              83.13%                     66.64%
Great Lakes            Greater Indiana                    7/18/2020                   86.41%              81.00%                     51.21%
Great Lakes            Greater Indiana                    7/25/2020                   86.59%              83.19%                     57.47%
Great Lakes            Greater Indiana                     8/1/2020                   86.31%              81.34%                     58.62%
Great Lakes            Greater Indiana                     8/8/2020                   87.23%              79.09%                     63.12%
Great Lakes            Greater Indiana                    8/15/2020                   88.85%              85.46%                     68.77%
Great Lakes            Greater Indiana                    8/22/2020                   91.41%              88.92%                     76.46%
Great Lakes            Greater Indiana                    8/29/2020                   90.50%              89.33%                     76.98%
Great Lakes            Greater Indiana                     9/5/2020                   89.86%              88.11%                     80.39%
Great Lakes            Greater Indiana                    9/12/2020                   89.51%              86.89%                     77.48%
Great Lakes            Greater Indiana                    9/19/2020                   86.10%              89.54%                     76.31%
Great Lakes            Greater Indiana                    9/26/2020                   88.26%              88.16%                     67.41%
Great Lakes            Greater Indiana                    10/3/2020                   89.42%              90.29%                     76.01%
Great Lakes            Greater Indiana                   10/10/2020                   88.88%              89.79%                     83.18%
Great Lakes            Greater Indiana                   10/17/2020                   88.32%              90.13%                     62.90%
Great Lakes            Greater Indiana                   10/24/2020                   88.91%              90.83%                     74.68%
Great Lakes            Greater Indiana                   10/31/2020                   89.93%              91.06%                     80.89%
Great Lakes            Greater Indiana                    11/7/2020                   89.54%              87.70%                     78.46%
Great Lakes            Greater Indiana                   11/14/2020                   89.65%              83.62%                     67.39%
Great Lakes            Greater Indiana                   11/21/2020                   84.28%              74.95%                     72.40%
Great Lakes            Greater Indiana                   11/28/2020                   77.45%              76.54%                     60.49%
Great Lakes            Greater Indiana                    12/5/2020                   78.11%              71.97%                     59.38%
Great Lakes            Greater Indiana                   12/12/2020                   72.05%              60.36%                     47.59%
Great Lakes            Greater Michigan                    1/4/2020                   93.11%              94.88%                     90.63%
Great Lakes            Greater Michigan                   1/11/2020                   93.09%              93.65%                     92.67%
Great Lakes            Greater Michigan                   1/18/2020                   93.19%              92.50%                     89.59%
Great Lakes            Greater Michigan                   1/25/2020                   93.34%              93.34%                     89.56%
Great Lakes            Greater Michigan                    2/1/2020                   93.24%              93.86%                     90.01%
Great Lakes            Greater Michigan                    2/8/2020                   93.18%              94.67%                     91.88%
Great Lakes            Greater Michigan                   2/15/2020                   94.40%              94.85%                     92.51%
Great Lakes            Greater Michigan                   2/22/2020                   93.85%              94.55%                     91.91%
Great Lakes            Greater Michigan                   2/29/2020                   93.65%              93.30%                     92.66%
Great Lakes            Greater Michigan                    3/7/2020                   93.99%              94.42%                     90.25%
Great Lakes            Greater Michigan                   3/14/2020                   93.34%              94.46%                     90.65%
Great Lakes            Greater Michigan                   3/21/2020                   93.74%              94.09%                     91.79%
Great Lakes            Greater Michigan                   3/28/2020                   93.38%              95.77%                     91.08%
Great Lakes            Greater Michigan                    4/1/2020                   92.79%              87.65%                     86.55%
Great Lakes            Greater Michigan                    4/4/2020                   88.95%              86.36%                     87.99%
Great Lakes            Greater Michigan                   4/11/2020                   85.04%              85.89%                     87.43%
Great Lakes            Greater Michigan                   4/18/2020                   90.59%              79.65%                     80.95%
Great Lakes            Greater Michigan                   4/25/2020                   90.49%              82.09%                     74.62%
Great Lakes            Greater Michigan                    5/2/2020                   89.04%              82.73%                     62.29%
Great Lakes            Greater Michigan                    5/9/2020                   88.89%              84.39%                     73.13%
Great Lakes            Greater Michigan                   5/16/2020                   90.69%              91.35%                     71.29%
Great Lakes            Greater Michigan                   5/23/2020                   92.60%              91.45%                     75.56%

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Commission (PRC) at the end of the quarter.                          29
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 30 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Great Lakes            Greater Michigan                   5/30/2020                   91.77%              95.30%                     86.57%
Great Lakes            Greater Michigan                    6/6/2020                   91.62%              90.20%                     84.27%
Great Lakes            Greater Michigan                   6/13/2020                   92.45%              89.69%                     80.98%
Great Lakes            Greater Michigan                   6/20/2020                   91.81%              92.04%                     85.13%
Great Lakes            Greater Michigan                   6/27/2020                   91.11%              93.11%                     85.39%
Great Lakes            Greater Michigan                    7/1/2020                   91.73%              90.99%                     86.98%
Great Lakes            Greater Michigan                    7/4/2020                   90.96%              90.19%                     79.16%
Great Lakes            Greater Michigan                   7/11/2020                   86.85%              83.32%                     86.98%
Great Lakes            Greater Michigan                   7/18/2020                   83.19%              80.54%                     71.59%
Great Lakes            Greater Michigan                   7/25/2020                   83.58%              82.40%                     60.84%
Great Lakes            Greater Michigan                    8/1/2020                   81.44%              60.27%                     71.27%
Great Lakes            Greater Michigan                    8/8/2020                   80.28%              58.00%                     68.48%
Great Lakes            Greater Michigan                   8/15/2020                   86.94%              77.89%                     69.41%
Great Lakes            Greater Michigan                   8/22/2020                   89.28%              86.46%                     79.76%
Great Lakes            Greater Michigan                   8/29/2020                   90.08%              89.27%                     87.02%
Great Lakes            Greater Michigan                    9/5/2020                   89.26%              86.88%                     80.56%
Great Lakes            Greater Michigan                   9/12/2020                   89.00%              92.00%                     82.82%
Great Lakes            Greater Michigan                   9/19/2020                   86.12%              91.72%                     83.15%
Great Lakes            Greater Michigan                   9/26/2020                   86.56%              88.99%                     85.35%
Great Lakes            Greater Michigan                   10/3/2020                   86.08%              90.00%                     80.17%
Great Lakes            Greater Michigan                  10/10/2020                   84.52%              87.58%                     85.15%
Great Lakes            Greater Michigan                  10/17/2020                   82.39%              90.43%                     80.51%
Great Lakes            Greater Michigan                  10/24/2020                   78.87%              87.62%                     84.07%
Great Lakes            Greater Michigan                  10/31/2020                   84.03%              87.95%                     81.38%
Great Lakes            Greater Michigan                   11/7/2020                   88.42%              91.49%                     80.80%
Great Lakes            Greater Michigan                  11/14/2020                   87.77%              91.18%                     78.04%
Great Lakes            Greater Michigan                  11/21/2020                   86.57%              87.31%                     76.85%
Great Lakes            Greater Michigan                  11/28/2020                   81.41%              77.84%                     65.50%
Great Lakes            Greater Michigan                   12/5/2020                   78.20%              83.41%                     34.28%
Great Lakes            Greater Michigan                  12/12/2020                   73.18%              75.81%                     65.59%
Great Lakes            Lakeland                            1/4/2020                   90.65%              92.10%                     88.96%
Great Lakes            Lakeland                           1/11/2020                   91.13%              90.36%                     92.20%
Great Lakes            Lakeland                           1/18/2020                   92.20%              89.84%                     89.48%
Great Lakes            Lakeland                           1/25/2020                   90.11%              90.47%                     88.12%
Great Lakes            Lakeland                            2/1/2020                   89.93%              91.40%                     91.02%
Great Lakes            Lakeland                            2/8/2020                   91.95%              92.52%                     88.08%
Great Lakes            Lakeland                           2/15/2020                   92.84%              90.91%                     91.23%
Great Lakes            Lakeland                           2/22/2020                   92.75%              93.70%                     87.96%
Great Lakes            Lakeland                           2/29/2020                   92.89%              93.34%                     89.89%
Great Lakes            Lakeland                            3/7/2020                   92.39%              93.27%                     90.48%
Great Lakes            Lakeland                           3/14/2020                   91.17%              93.62%                     85.81%
Great Lakes            Lakeland                           3/21/2020                   91.13%              90.37%                     89.03%
Great Lakes            Lakeland                           3/28/2020                   90.40%              88.76%                     86.37%
Great Lakes            Lakeland                            4/1/2020                   89.46%              87.49%                     85.51%
Great Lakes            Lakeland                            4/4/2020                   90.78%              87.71%                     82.15%
Great Lakes            Lakeland                           4/11/2020                   88.66%              81.46%                     70.88%
Great Lakes            Lakeland                           4/18/2020                   90.21%              89.28%                     73.94%
Great Lakes            Lakeland                           4/25/2020                   90.47%              88.40%                     77.70%
Great Lakes            Lakeland                            5/2/2020                   89.82%              85.99%                     72.80%
Great Lakes            Lakeland                            5/9/2020                   90.49%              84.51%                     73.22%
Great Lakes            Lakeland                           5/16/2020                   91.00%              88.48%                     70.82%
Great Lakes            Lakeland                           5/23/2020                   92.59%              88.84%                     80.51%
Great Lakes            Lakeland                           5/30/2020                   90.54%              89.71%                     82.66%
Great Lakes            Lakeland                            6/6/2020                   90.34%              85.79%                     75.46%
Great Lakes            Lakeland                           6/13/2020                   90.97%              90.49%                     85.96%
Great Lakes            Lakeland                           6/20/2020                   88.22%              92.35%                     81.67%
Great Lakes            Lakeland                           6/27/2020                   89.91%              92.48%                     75.52%
Great Lakes            Lakeland                            7/1/2020                   91.20%              89.60%                     85.33%

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Commission (PRC) at the end of the quarter.                          30
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 31 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Great Lakes            Lakeland                            7/4/2020                   88.86%              84.67%                     82.78%
Great Lakes            Lakeland                           7/11/2020                   82.92%              81.59%                     75.71%
Great Lakes            Lakeland                           7/18/2020                   83.70%              85.09%                     69.81%
Great Lakes            Lakeland                           7/25/2020                   83.88%              82.24%                     61.69%
Great Lakes            Lakeland                            8/1/2020                   80.00%              77.42%                     67.14%
Great Lakes            Lakeland                            8/8/2020                   78.90%              77.12%                     70.35%
Great Lakes            Lakeland                           8/15/2020                   84.52%              85.94%                     80.00%
Great Lakes            Lakeland                           8/22/2020                   84.95%              89.06%                     78.40%
Great Lakes            Lakeland                           8/29/2020                   88.23%              87.64%                     81.10%
Great Lakes            Lakeland                            9/5/2020                   88.03%              85.99%                     76.19%
Great Lakes            Lakeland                           9/12/2020                   84.76%              86.89%                     70.43%
Great Lakes            Lakeland                           9/19/2020                   77.11%              88.84%                     77.08%
Great Lakes            Lakeland                           9/26/2020                   83.52%              87.89%                     79.44%
Great Lakes            Lakeland                           10/3/2020                   84.25%              89.13%                     76.77%
Great Lakes            Lakeland                          10/10/2020                   84.61%              88.33%                     80.20%
Great Lakes            Lakeland                          10/17/2020                   81.98%              92.56%                     77.79%
Great Lakes            Lakeland                          10/24/2020                   80.88%              91.31%                     73.84%
Great Lakes            Lakeland                          10/31/2020                   85.87%              92.93%                     84.22%
Great Lakes            Lakeland                           11/7/2020                   83.96%              91.39%                     87.50%
Great Lakes            Lakeland                          11/14/2020                   85.93%              92.61%                     78.50%
Great Lakes            Lakeland                          11/21/2020                   84.46%              87.21%                     69.81%
Great Lakes            Lakeland                          11/28/2020                   81.42%              84.19%                     63.20%
Great Lakes            Lakeland                           12/5/2020                   75.09%              81.92%                     63.25%
Great Lakes            Lakeland                          12/12/2020                   72.69%              80.77%                     66.66%
Northeast              Albany                              1/4/2020                   93.41%              92.95%                     87.74%
Northeast              Albany                             1/11/2020                   93.71%              91.81%                     87.83%
Northeast              Albany                             1/18/2020                   94.42%              90.85%                     89.56%
Northeast              Albany                             1/25/2020                   93.72%              93.75%                     89.48%
Northeast              Albany                              2/1/2020                   92.07%              86.12%                     88.36%
Northeast              Albany                              2/8/2020                   93.64%              93.18%                     89.73%
Northeast              Albany                             2/15/2020                   95.17%              93.03%                     90.71%
Northeast              Albany                             2/22/2020                   94.37%              92.94%                     85.35%
Northeast              Albany                             2/29/2020                   94.87%              87.95%                     87.24%
Northeast              Albany                              3/7/2020                   93.57%              93.81%                     88.25%
Northeast              Albany                             3/14/2020                   93.36%              93.40%                     88.68%
Northeast              Albany                             3/21/2020                   93.47%              92.42%                     84.56%
Northeast              Albany                             3/28/2020                   93.85%              95.52%                     86.54%
Northeast              Albany                              4/1/2020                   93.59%              94.53%                     88.93%
Northeast              Albany                              4/4/2020                   93.93%              87.78%                     87.48%
Northeast              Albany                             4/11/2020                   92.20%              94.60%                     91.59%
Northeast              Albany                             4/18/2020                   91.80%              94.41%                     83.08%
Northeast              Albany                             4/25/2020                   91.33%              91.27%                     75.97%
Northeast              Albany                              5/2/2020                   90.98%              84.57%                     89.02%
Northeast              Albany                              5/9/2020                   91.09%              91.86%                     65.16%
Northeast              Albany                             5/16/2020                   92.47%              92.64%                     75.13%
Northeast              Albany                             5/23/2020                   93.52%              90.14%                     83.08%
Northeast              Albany                             5/30/2020                   91.19%              93.91%                     81.10%
Northeast              Albany                              6/6/2020                   91.31%              84.67%                     80.63%
Northeast              Albany                             6/13/2020                   93.65%              93.01%                     84.23%
Northeast              Albany                             6/20/2020                   93.14%              93.83%                     80.13%
Northeast              Albany                             6/27/2020                   92.44%              93.38%                     84.83%
Northeast              Albany                              7/1/2020                   94.07%              91.96%                     86.97%
Northeast              Albany                              7/4/2020                   91.97%              89.01%                     84.76%
Northeast              Albany                             7/11/2020                   88.38%              74.46%                     77.75%
Northeast              Albany                             7/18/2020                   87.54%              76.75%                     65.78%
Northeast              Albany                             7/25/2020                   89.71%              86.74%                     74.49%
Northeast              Albany                              8/1/2020                   86.63%              82.27%                     82.94%
Northeast              Albany                              8/8/2020                   86.53%              90.50%                     75.74%

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Commission (PRC) at the end of the quarter.                          31
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

       Area                   District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Northeast              Albany                             8/15/2020                   88.22%              92.20%                     80.31%
Northeast              Albany                             8/22/2020                   91.31%              91.94%                     81.68%
Northeast              Albany                             8/29/2020                   91.23%              91.60%                     81.32%
Northeast              Albany                              9/5/2020                   92.38%              84.74%                     82.95%
Northeast              Albany                             9/12/2020                   87.63%              83.00%                     70.52%
Northeast              Albany                             9/19/2020                   88.32%              85.90%                     76.91%
Northeast              Albany                             9/26/2020                   89.55%              93.51%                     80.12%
Northeast              Albany                             10/3/2020                   89.80%              82.96%                     81.44%
Northeast              Albany                            10/10/2020                   88.07%              88.59%                     81.97%
Northeast              Albany                            10/17/2020                   87.28%              95.38%                     78.68%
Northeast              Albany                            10/24/2020                   88.38%              92.79%                     76.51%
Northeast              Albany                            10/31/2020                   90.56%              88.35%                     79.00%
Northeast              Albany                             11/7/2020                   91.22%              93.84%                     84.30%
Northeast              Albany                            11/14/2020                   91.22%              93.95%                     80.37%
Northeast              Albany                            11/21/2020                   87.77%              88.04%                     74.64%
Northeast              Albany                            11/28/2020                   85.29%              85.56%                     73.48%
Northeast              Albany                             12/5/2020                   83.47%              72.47%                     63.85%
Northeast              Albany                            12/12/2020                   73.99%              55.62%                     54.98%
Northeast              Caribbean                           1/4/2020                   87.65%              97.63%                     82.40%
Northeast              Caribbean                          1/11/2020                   90.93%              90.31%                     62.87%
Northeast              Caribbean                          1/18/2020                   89.66%              65.36%                     79.52%
Northeast              Caribbean                          1/25/2020                   71.71%              93.86%                     75.50%
Northeast              Caribbean                           2/1/2020                   93.19%              88.61%                     85.71%
Northeast              Caribbean                           2/8/2020                   93.53%              92.77%                     91.81%
Northeast              Caribbean                          2/15/2020                   94.93%              67.91%                     59.00%
Northeast              Caribbean                          2/22/2020                   94.16%              81.92%                     69.95%
Northeast              Caribbean                          2/29/2020                   94.13%              82.09%                     90.11%
Northeast              Caribbean                           3/7/2020                   91.91%              93.88%                     91.43%
Northeast              Caribbean                          3/14/2020                   93.97%              94.27%                     86.23%
Northeast              Caribbean                          3/21/2020                   91.02%              88.54%                     82.54%
Northeast              Caribbean                          3/28/2020                   91.42%              82.04%                     90.49%
Northeast              Caribbean                           4/1/2020                   92.55%              82.42%                     97.58%
Northeast              Caribbean                           4/4/2020                   93.18%              97.65%                     79.81%
Northeast              Caribbean                          4/11/2020                   87.11%              93.60%                     88.17%
Northeast              Caribbean                          4/18/2020                   92.78%              96.11%                     85.08%
Northeast              Caribbean                          4/25/2020                   91.45%              83.70%                     87.55%
Northeast              Caribbean                           5/2/2020                   91.92%              91.57%                     70.52%
Northeast              Caribbean                           5/9/2020                   91.85%              92.99%                     51.76%
Northeast              Caribbean                          5/16/2020                   93.81%              90.31%                     58.41%
Northeast              Caribbean                          5/23/2020                   92.10%              87.63%                     72.33%
Northeast              Caribbean                          5/30/2020                   86.25%              58.14%                     94.63%
Northeast              Caribbean                           6/6/2020                   89.96%              90.62%                     81.93%
Northeast              Caribbean                          6/13/2020                   90.29%              75.63%                     84.19%
Northeast              Caribbean                          6/20/2020                   91.66%              76.03%                     18.83%
Northeast              Caribbean                          6/27/2020                   88.36%              71.64%                     76.96%
Northeast              Caribbean                           7/1/2020                   91.54%              81.98%                     77.16%
Northeast              Caribbean                           7/4/2020                   90.27%              84.13%                     95.61%
Northeast              Caribbean                          7/11/2020                   88.11%              84.86%                     89.12%
Northeast              Caribbean                          7/18/2020                   81.58%              89.79%                     79.22%
Northeast              Caribbean                          7/25/2020                   75.51%              91.68%                     55.01%
Northeast              Caribbean                           8/1/2020                   79.66%              75.86%                     86.39%
Northeast              Caribbean                           8/8/2020                   85.13%              84.99%                     86.73%
Northeast              Caribbean                          8/15/2020                   86.00%              83.63%                     72.81%
Northeast              Caribbean                          8/22/2020                   89.24%              87.91%                     75.85%
Northeast              Caribbean                          8/29/2020                   93.32%              87.24%                     70.77%
Northeast              Caribbean                           9/5/2020                   89.82%              88.17%                     73.44%
Northeast              Caribbean                          9/12/2020                   87.06%              94.83%                     95.21%
Northeast              Caribbean                          9/19/2020                   90.92%              91.47%                     96.70%

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Commission (PRC) at the end of the quarter.                          32
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 33 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

       Area                   District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Northeast              Caribbean                          9/26/2020                   92.15%              88.17%                     93.61%
Northeast              Caribbean                          10/3/2020                   93.61%              88.43%                     94.88%
Northeast              Caribbean                         10/10/2020                   94.70%              76.66%                     98.88%
Northeast              Caribbean                         10/17/2020                   91.38%              91.43%                     91.37%
Northeast              Caribbean                         10/24/2020                   91.84%              76.75%                     88.40%
Northeast              Caribbean                         10/31/2020                   90.32%              92.70%                     52.29%
Northeast              Caribbean                          11/7/2020                   92.39%              91.92%                     97.80%
Northeast              Caribbean                         11/14/2020                   93.31%              82.58%                     93.46%
Northeast              Caribbean                         11/21/2020                   89.94%              84.05%                     91.80%
Northeast              Caribbean                         11/28/2020                   87.64%              96.97%                     94.33%
Northeast              Caribbean                          12/5/2020                   91.43%              94.67%                     82.95%
Northeast              Caribbean                         12/12/2020                   91.22%              92.63%                     79.30%
Northeast              Connecticut Valley                  1/4/2020                   92.46%              91.18%                     84.36%
Northeast              Connecticut Valley                 1/11/2020                   92.44%              87.71%                     79.78%
Northeast              Connecticut Valley                 1/18/2020                   93.74%              90.23%                     81.22%
Northeast              Connecticut Valley                 1/25/2020                   92.77%              91.39%                     81.60%
Northeast              Connecticut Valley                  2/1/2020                   92.55%              90.52%                     84.07%
Northeast              Connecticut Valley                  2/8/2020                   93.22%              92.44%                     83.54%
Northeast              Connecticut Valley                 2/15/2020                   94.39%              92.42%                     85.21%
Northeast              Connecticut Valley                 2/22/2020                   93.69%              91.38%                     75.28%
Northeast              Connecticut Valley                 2/29/2020                   93.05%              93.00%                     80.46%
Northeast              Connecticut Valley                  3/7/2020                   92.84%              91.18%                     79.39%
Northeast              Connecticut Valley                 3/14/2020                   91.80%              88.08%                     72.54%
Northeast              Connecticut Valley                 3/21/2020                   93.10%              91.94%                     76.63%
Northeast              Connecticut Valley                 3/28/2020                   91.85%              92.28%                     77.38%
Northeast              Connecticut Valley                  4/1/2020                   91.16%              89.72%                     75.20%
Northeast              Connecticut Valley                  4/4/2020                   91.53%              87.06%                     64.29%
Northeast              Connecticut Valley                 4/11/2020                   86.67%              76.93%                     45.70%
Northeast              Connecticut Valley                 4/18/2020                   89.55%              84.38%                     32.11%
Northeast              Connecticut Valley                 4/25/2020                   89.32%              82.61%                     37.14%
Northeast              Connecticut Valley                  5/2/2020                   89.61%              77.66%                     32.75%
Northeast              Connecticut Valley                  5/9/2020                   88.49%              81.58%                     28.04%
Northeast              Connecticut Valley                 5/16/2020                   90.49%              86.70%                     51.21%
Northeast              Connecticut Valley                 5/23/2020                   91.55%              87.42%                     54.02%
Northeast              Connecticut Valley                 5/30/2020                   89.85%              89.28%                     60.10%
Northeast              Connecticut Valley                  6/6/2020                   90.48%              85.55%                     43.43%
Northeast              Connecticut Valley                 6/13/2020                   91.74%              88.89%                     64.63%
Northeast              Connecticut Valley                 6/20/2020                   90.72%              88.19%                     68.96%
Northeast              Connecticut Valley                 6/27/2020                   91.18%              84.50%                     74.46%
Northeast              Connecticut Valley                  7/1/2020                   91.01%              91.72%                     74.05%
Northeast              Connecticut Valley                  7/4/2020                   91.77%              90.17%                     70.87%
Northeast              Connecticut Valley                 7/11/2020                   87.46%              87.90%                     68.07%
Northeast              Connecticut Valley                 7/18/2020                   85.52%              85.40%                     59.72%
Northeast              Connecticut Valley                 7/25/2020                   86.73%              88.14%                     62.89%
Northeast              Connecticut Valley                  8/1/2020                   82.33%              74.75%                     65.70%
Northeast              Connecticut Valley                  8/8/2020                   76.70%              55.77%                     61.48%
Northeast              Connecticut Valley                 8/15/2020                   87.69%              85.77%                     67.18%
Northeast              Connecticut Valley                 8/22/2020                   89.78%              89.80%                     76.07%
Northeast              Connecticut Valley                 8/29/2020                   90.81%              92.01%                     79.41%
Northeast              Connecticut Valley                  9/5/2020                   90.89%              92.09%                     80.60%
Northeast              Connecticut Valley                 9/12/2020                   88.34%              87.25%                     76.78%
Northeast              Connecticut Valley                 9/19/2020                   85.82%              91.94%                     81.11%
Northeast              Connecticut Valley                 9/26/2020                   88.28%              93.63%                     80.90%
Northeast              Connecticut Valley                 10/3/2020                   88.69%              91.86%                     79.99%
Northeast              Connecticut Valley                10/10/2020                   87.43%              90.12%                     77.64%
Northeast              Connecticut Valley                10/17/2020                   86.43%              93.33%                     82.42%
Northeast              Connecticut Valley                10/24/2020                   87.03%              90.39%                     78.73%
Northeast              Connecticut Valley                10/31/2020                   88.19%              91.29%                     72.30%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          33
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 34 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

       Area                    District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Northeast              Connecticut Valley                 11/7/2020                   90.03%              91.63%                     76.55%
Northeast              Connecticut Valley                11/14/2020                   90.01%              89.15%                     69.56%
Northeast              Connecticut Valley                11/21/2020                   86.20%              88.92%                     64.15%
Northeast              Connecticut Valley                11/28/2020                   82.91%              86.43%                     46.71%
Northeast              Connecticut Valley                 12/5/2020                   82.28%              79.37%                     36.78%
Northeast              Connecticut Valley                12/12/2020                   74.05%              64.15%                     21.88%
Northeast              Greater Boston                      1/4/2020                   92.23%              89.30%                     89.80%
Northeast              Greater Boston                     1/11/2020                   92.36%              86.77%                     83.92%
Northeast              Greater Boston                     1/18/2020                   92.69%              88.65%                     85.56%
Northeast              Greater Boston                     1/25/2020                   91.09%              90.82%                     88.01%
Northeast              Greater Boston                      2/1/2020                   91.34%              89.21%                     86.52%
Northeast              Greater Boston                      2/8/2020                   90.65%              87.45%                     87.16%
Northeast              Greater Boston                     2/15/2020                   93.65%              91.25%                     89.26%
Northeast              Greater Boston                     2/22/2020                   92.55%              90.32%                     83.45%
Northeast              Greater Boston                     2/29/2020                   92.54%              91.93%                     85.56%
Northeast              Greater Boston                      3/7/2020                   92.42%              90.56%                     88.71%
Northeast              Greater Boston                     3/14/2020                   92.74%              90.93%                     84.17%
Northeast              Greater Boston                     3/21/2020                   92.86%              91.68%                     81.79%
Northeast              Greater Boston                     3/28/2020                   91.96%              92.16%                     80.52%
Northeast              Greater Boston                      4/1/2020                   92.67%              87.35%                     83.77%
Northeast              Greater Boston                      4/4/2020                   90.33%              72.79%                     67.33%
Northeast              Greater Boston                     4/11/2020                   87.24%              80.63%                     49.33%
Northeast              Greater Boston                     4/18/2020                   90.34%              82.29%                     47.42%
Northeast              Greater Boston                     4/25/2020                   90.34%              82.58%                     44.47%
Northeast              Greater Boston                      5/2/2020                   90.03%              85.45%                     52.37%
Northeast              Greater Boston                      5/9/2020                   89.87%              82.43%                     48.47%
Northeast              Greater Boston                     5/16/2020                   90.46%              81.64%                     62.75%
Northeast              Greater Boston                     5/23/2020                   89.95%              82.73%                     47.09%
Northeast              Greater Boston                     5/30/2020                   89.33%              83.56%                     64.93%
Northeast              Greater Boston                      6/6/2020                   89.52%              78.90%                     35.56%
Northeast              Greater Boston                     6/13/2020                   91.50%              80.47%                     46.99%
Northeast              Greater Boston                     6/20/2020                   90.56%              84.94%                     57.13%
Northeast              Greater Boston                     6/27/2020                   90.02%              87.88%                     65.87%
Northeast              Greater Boston                      7/1/2020                   90.45%              91.12%                     74.48%
Northeast              Greater Boston                      7/4/2020                   90.64%              85.73%                     75.91%
Northeast              Greater Boston                     7/11/2020                   85.60%              81.61%                     53.64%
Northeast              Greater Boston                     7/18/2020                   84.16%              84.18%                     71.67%
Northeast              Greater Boston                     7/25/2020                   86.45%              86.80%                     73.07%
Northeast              Greater Boston                      8/1/2020                   86.42%              82.65%                     69.11%
Northeast              Greater Boston                      8/8/2020                   84.98%              88.46%                     78.16%
Northeast              Greater Boston                     8/15/2020                   88.70%              91.12%                     71.35%
Northeast              Greater Boston                     8/22/2020                   89.40%              87.15%                     69.85%
Northeast              Greater Boston                     8/29/2020                   90.20%              88.64%                     71.98%
Northeast              Greater Boston                      9/5/2020                   90.66%              88.31%                     80.80%
Northeast              Greater Boston                     9/12/2020                   88.68%              82.97%                     74.15%
Northeast              Greater Boston                     9/19/2020                   83.58%              85.18%                     80.11%
Northeast              Greater Boston                     9/26/2020                   89.69%              91.78%                     78.72%
Northeast              Greater Boston                     10/3/2020                   89.53%              89.36%                     77.63%
Northeast              Greater Boston                    10/10/2020                   88.70%              86.99%                     72.33%
Northeast              Greater Boston                    10/17/2020                   86.58%              89.80%                     75.12%
Northeast              Greater Boston                    10/24/2020                   87.89%              86.29%                     62.23%
Northeast              Greater Boston                    10/31/2020                   90.12%              86.11%                     65.71%
Northeast              Greater Boston                     11/7/2020                   89.87%              90.94%                     75.41%
Northeast              Greater Boston                    11/14/2020                   89.72%              87.73%                     70.20%
Northeast              Greater Boston                    11/21/2020                   88.30%              81.04%                     50.73%
Northeast              Greater Boston                    11/28/2020                   83.04%              85.50%                     49.15%
Northeast              Greater Boston                     12/5/2020                   76.77%              79.79%                     47.35%
Northeast              Greater Boston                    12/12/2020                   70.99%              67.86%                     34.15%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          34
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 35 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

       Area                     District                Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Northeast              Long Island                         1/4/2020                   90.16%              91.16%                     88.65%
Northeast              Long Island                        1/11/2020                   88.56%              89.42%                     82.62%
Northeast              Long Island                        1/18/2020                   91.39%              90.35%                     86.97%
Northeast              Long Island                        1/25/2020                   88.25%              91.53%                     89.23%
Northeast              Long Island                         2/1/2020                   90.77%              90.13%                     88.64%
Northeast              Long Island                         2/8/2020                   90.11%              92.20%                     86.88%
Northeast              Long Island                        2/15/2020                   92.40%              93.49%                     90.05%
Northeast              Long Island                        2/22/2020                   91.31%              95.29%                     85.67%
Northeast              Long Island                        2/29/2020                   92.15%              92.72%                     88.70%
Northeast              Long Island                         3/7/2020                   89.86%              91.83%                     83.93%
Northeast              Long Island                        3/14/2020                   90.31%              92.14%                     90.71%
Northeast              Long Island                        3/21/2020                   89.04%              93.26%                     90.25%
Northeast              Long Island                        3/28/2020                   90.14%              93.69%                     82.01%
Northeast              Long Island                         4/1/2020                   90.84%              74.32%                     75.61%
Northeast              Long Island                         4/4/2020                   84.77%              62.40%                     39.98%
Northeast              Long Island                        4/11/2020                   79.18%              58.75%                     25.15%
Northeast              Long Island                        4/18/2020                   82.86%              49.05%                     38.40%
Northeast              Long Island                        4/25/2020                   82.33%              51.29%                     28.52%
Northeast              Long Island                         5/2/2020                   75.80%              65.70%                     30.96%
Northeast              Long Island                         5/9/2020                   79.72%              68.45%                     29.11%
Northeast              Long Island                        5/16/2020                   85.58%              76.42%                     33.62%
Northeast              Long Island                        5/23/2020                   86.62%              84.12%                     46.75%
Northeast              Long Island                        5/30/2020                   83.70%              85.64%                     59.77%
Northeast              Long Island                         6/6/2020                   83.59%              90.23%                     57.00%
Northeast              Long Island                        6/13/2020                   87.49%              90.80%                     78.55%
Northeast              Long Island                        6/20/2020                   87.34%              91.42%                     69.94%
Northeast              Long Island                        6/27/2020                   87.11%              89.77%                     81.57%
Northeast              Long Island                         7/1/2020                   88.84%              88.03%                     72.17%
Northeast              Long Island                         7/4/2020                   85.64%              85.28%                     74.22%
Northeast              Long Island                        7/11/2020                   76.25%              85.21%                     76.38%
Northeast              Long Island                        7/18/2020                   76.83%              86.89%                     75.35%
Northeast              Long Island                        7/25/2020                   82.98%              86.79%                     70.15%
Northeast              Long Island                         8/1/2020                   82.71%              83.38%                     57.31%
Northeast              Long Island                         8/8/2020                   75.89%              88.68%                     70.43%
Northeast              Long Island                        8/15/2020                   80.09%              89.12%                     75.62%
Northeast              Long Island                        8/22/2020                   84.19%              91.73%                     81.95%
Northeast              Long Island                        8/29/2020                   87.19%              90.98%                     79.12%
Northeast              Long Island                         9/5/2020                   88.21%              89.24%                     85.34%
Northeast              Long Island                        9/12/2020                   87.80%              91.47%                     78.77%
Northeast              Long Island                        9/19/2020                   85.03%              93.47%                     82.74%
Northeast              Long Island                        9/26/2020                   86.85%              94.23%                     84.15%
Northeast              Long Island                        10/3/2020                   84.85%              93.04%                     81.32%
Northeast              Long Island                       10/10/2020                   84.48%              92.44%                     73.29%
Northeast              Long Island                       10/17/2020                   82.67%              92.28%                     75.48%
Northeast              Long Island                       10/24/2020                   83.64%              92.73%                     76.19%
Northeast              Long Island                       10/31/2020                   85.20%              90.97%                     82.83%
Northeast              Long Island                        11/7/2020                   84.52%              94.42%                     87.36%
Northeast              Long Island                       11/14/2020                   89.27%              91.76%                     66.68%
Northeast              Long Island                       11/21/2020                   85.99%              93.19%                     84.89%
Northeast              Long Island                       11/28/2020                   83.83%              93.46%                     79.94%
Northeast              Long Island                        12/5/2020                   73.88%              88.30%                     81.94%
Northeast              Long Island                       12/12/2020                   60.04%              75.14%                     47.69%
Northeast              New York                            1/4/2020                   83.90%              89.38%                     80.38%
Northeast              New York                           1/11/2020                   87.42%              86.00%                     74.97%
Northeast              New York                           1/18/2020                   89.11%              82.78%                     74.34%
Northeast              New York                           1/25/2020                   88.11%              88.55%                     76.33%
Northeast              New York                            2/1/2020                   87.20%              88.68%                     79.91%
Northeast              New York                            2/8/2020                   87.11%              91.37%                     82.68%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          35
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 36 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

       Area                   District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Northeast              New York                           2/15/2020                   89.18%              89.58%                     83.14%
Northeast              New York                           2/22/2020                   88.10%              82.19%                     76.82%
Northeast              New York                           2/29/2020                   89.09%              86.73%                     79.71%
Northeast              New York                            3/7/2020                   87.05%              87.47%                     77.56%
Northeast              New York                           3/14/2020                   84.64%              77.75%                     81.21%
Northeast              New York                           3/21/2020                   77.13%              67.92%                     61.23%
Northeast              New York                           3/28/2020                   79.72%              80.61%                     46.85%
Northeast              New York                            4/1/2020                   75.78%              65.20%                     35.10%
Northeast              New York                            4/4/2020                   56.73%              16.30%                     38.08%
Northeast              New York                           4/11/2020                   42.99%              12.72%                     35.44%
Northeast              New York                           4/18/2020                   38.99%              14.52%                     30.25%
Northeast              New York                           4/25/2020                   38.06%              10.83%                     34.82%
Northeast              New York                            5/2/2020                   36.47%              18.43%                     35.56%
Northeast              New York                            5/9/2020                   55.06%              54.45%                     52.78%
Northeast              New York                           5/16/2020                   82.93%              84.68%                     66.38%
Northeast              New York                           5/23/2020                   83.57%              88.52%                     70.60%
Northeast              New York                           5/30/2020                   81.45%              89.08%                     57.08%
Northeast              New York                            6/6/2020                   81.53%              90.62%                     67.97%
Northeast              New York                           6/13/2020                   83.66%              92.38%                     70.30%
Northeast              New York                           6/20/2020                   82.57%              90.92%                     70.34%
Northeast              New York                           6/27/2020                   83.12%              91.34%                     71.67%
Northeast              New York                            7/1/2020                   85.63%              90.78%                     72.04%
Northeast              New York                            7/4/2020                   85.41%              85.82%                     75.34%
Northeast              New York                           7/11/2020                   80.05%              88.65%                     78.34%
Northeast              New York                           7/18/2020                   79.02%              88.09%                     78.15%
Northeast              New York                           7/25/2020                   82.94%              86.85%                     67.57%
Northeast              New York                            8/1/2020                   81.72%              87.17%                     69.98%
Northeast              New York                            8/8/2020                   78.04%              88.02%                     73.55%
Northeast              New York                           8/15/2020                   82.20%              89.65%                     75.33%
Northeast              New York                           8/22/2020                   83.84%              89.50%                     81.68%
Northeast              New York                           8/29/2020                   85.88%              91.35%                     82.20%
Northeast              New York                            9/5/2020                   87.75%              89.25%                     89.42%
Northeast              New York                           9/12/2020                   84.60%              92.69%                     84.78%
Northeast              New York                           9/19/2020                   85.49%              91.62%                     81.33%
Northeast              New York                           9/26/2020                   85.80%              94.32%                     85.26%
Northeast              New York                           10/3/2020                   85.06%              92.56%                     85.12%
Northeast              New York                          10/10/2020                   87.53%              90.31%                     84.01%
Northeast              New York                          10/17/2020                   83.03%              93.79%                     83.30%
Northeast              New York                          10/24/2020                   83.53%              93.42%                     83.46%
Northeast              New York                          10/31/2020                   84.89%              94.64%                     84.08%
Northeast              New York                           11/7/2020                   86.56%              93.80%                     84.73%
Northeast              New York                          11/14/2020                   86.90%              93.46%                     80.78%
Northeast              New York                          11/21/2020                   84.85%              93.59%                     72.63%
Northeast              New York                          11/28/2020                   82.68%              94.43%                     73.18%
Northeast              New York                           12/5/2020                   75.39%              92.46%                     80.75%
Northeast              New York                          12/12/2020                   69.56%              88.12%                     68.45%
Northeast              Northern New England                1/4/2020                   91.62%              91.09%                     80.42%
Northeast              Northern New England               1/11/2020                   91.28%              90.82%                     79.80%
Northeast              Northern New England               1/18/2020                   92.83%              91.02%                     83.79%
Northeast              Northern New England               1/25/2020                   91.18%              93.40%                     82.35%
Northeast              Northern New England                2/1/2020                   91.59%              92.68%                     84.06%
Northeast              Northern New England                2/8/2020                   91.34%              93.23%                     81.94%
Northeast              Northern New England               2/15/2020                   93.22%              92.36%                     86.73%
Northeast              Northern New England               2/22/2020                   92.15%              93.40%                     84.46%
Northeast              Northern New England               2/29/2020                   93.21%              94.46%                     80.84%
Northeast              Northern New England                3/7/2020                   90.11%              91.76%                     85.38%
Northeast              Northern New England               3/14/2020                   92.85%              92.40%                     82.29%
Northeast              Northern New England               3/21/2020                   92.38%              94.60%                     82.91%

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Commission (PRC) at the end of the quarter.                          36
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 37 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

       Area                   District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Northeast              Northern New England               3/28/2020                   92.04%              87.35%                     70.55%
Northeast              Northern New England                4/1/2020                   92.78%              93.82%                     85.10%
Northeast              Northern New England                4/4/2020                   91.09%              93.45%                     64.14%
Northeast              Northern New England               4/11/2020                   86.61%              89.45%                     60.55%
Northeast              Northern New England               4/18/2020                   91.44%              88.90%                     72.42%
Northeast              Northern New England               4/25/2020                   89.92%              84.16%                     44.47%
Northeast              Northern New England                5/2/2020                   87.37%              87.45%                     62.58%
Northeast              Northern New England                5/9/2020                   86.96%              89.86%                     65.10%
Northeast              Northern New England               5/16/2020                   89.10%              87.85%                     59.33%
Northeast              Northern New England               5/23/2020                   88.30%              88.51%                     66.15%
Northeast              Northern New England               5/30/2020                   87.50%              91.12%                     62.39%
Northeast              Northern New England                6/6/2020                   86.63%              88.96%                     61.33%
Northeast              Northern New England               6/13/2020                   90.16%              90.66%                     67.56%
Northeast              Northern New England               6/20/2020                   88.53%              90.37%                     56.49%
Northeast              Northern New England               6/27/2020                   89.21%              83.45%                     65.02%
Northeast              Northern New England                7/1/2020                   90.96%              94.25%                     37.16%
Northeast              Northern New England                7/4/2020                   90.85%              89.59%                     59.52%
Northeast              Northern New England               7/11/2020                   81.99%              87.48%                     58.20%
Northeast              Northern New England               7/18/2020                   85.04%              89.08%                     61.31%
Northeast              Northern New England               7/25/2020                   87.56%              90.90%                     48.73%
Northeast              Northern New England                8/1/2020                   85.34%              88.04%                     59.24%
Northeast              Northern New England                8/8/2020                   84.28%              91.16%                     49.25%
Northeast              Northern New England               8/15/2020                   86.38%              93.00%                     59.41%
Northeast              Northern New England               8/22/2020                   89.09%              94.70%                     56.88%
Northeast              Northern New England               8/29/2020                   90.24%              94.02%                     66.61%
Northeast              Northern New England                9/5/2020                   90.17%              87.31%                     74.26%
Northeast              Northern New England               9/12/2020                   87.92%              88.86%                     44.10%
Northeast              Northern New England               9/19/2020                   84.75%              93.03%                     64.91%
Northeast              Northern New England               9/26/2020                   87.44%              93.14%                     69.14%
Northeast              Northern New England               10/3/2020                   86.65%              88.30%                     68.64%
Northeast              Northern New England              10/10/2020                   87.72%              85.72%                     73.56%
Northeast              Northern New England              10/17/2020                   84.92%              93.15%                     61.64%
Northeast              Northern New England              10/24/2020                   85.79%              89.83%                     60.70%
Northeast              Northern New England              10/31/2020                   88.07%              89.02%                     63.97%
Northeast              Northern New England               11/7/2020                   87.82%              92.59%                     77.26%
Northeast              Northern New England              11/14/2020                   88.86%              90.27%                     62.46%
Northeast              Northern New England              11/21/2020                   86.94%              89.42%                     58.45%
Northeast              Northern New England              11/28/2020                   81.48%              88.61%                     47.46%
Northeast              Northern New England               12/5/2020                   77.00%              70.35%                     25.12%
Northeast              Northern New England              12/12/2020                   72.71%              55.62%                     46.52%
Northeast              Northern New Jersey                 1/4/2020                   92.49%              87.20%                     76.98%
Northeast              Northern New Jersey                1/11/2020                   92.44%              87.24%                     79.15%
Northeast              Northern New Jersey                1/18/2020                   93.33%              91.00%                     85.70%
Northeast              Northern New Jersey                1/25/2020                   93.34%              92.86%                     83.08%
Northeast              Northern New Jersey                 2/1/2020                   93.11%              92.00%                     86.10%
Northeast              Northern New Jersey                 2/8/2020                   93.50%              92.81%                     89.32%
Northeast              Northern New Jersey                2/15/2020                   94.50%              94.66%                     85.18%
Northeast              Northern New Jersey                2/22/2020                   93.56%              94.12%                     85.27%
Northeast              Northern New Jersey                2/29/2020                   93.99%              93.00%                     83.11%
Northeast              Northern New Jersey                 3/7/2020                   93.62%              92.75%                     81.41%
Northeast              Northern New Jersey                3/14/2020                   92.93%              91.79%                     81.27%
Northeast              Northern New Jersey                3/21/2020                   93.44%              91.84%                     78.27%
Northeast              Northern New Jersey                3/28/2020                   92.97%              86.34%                     79.29%
Northeast              Northern New Jersey                 4/1/2020                   92.16%              87.03%                     67.65%
Northeast              Northern New Jersey                 4/4/2020                   90.27%              82.98%                     81.44%
Northeast              Northern New Jersey                4/11/2020                   88.47%              78.18%                     56.85%
Northeast              Northern New Jersey                4/18/2020                   90.05%              72.94%                     30.67%
Northeast              Northern New Jersey                4/25/2020                   87.66%              68.38%                     16.80%

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Commission (PRC) at the end of the quarter.                          37
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 38 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

       Area                    District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Northeast              Northern New Jersey                 5/2/2020                   86.36%              59.71%                     11.24%
Northeast              Northern New Jersey                 5/9/2020                   87.25%              76.18%                     15.89%
Northeast              Northern New Jersey                5/16/2020                   88.68%              77.00%                     31.48%
Northeast              Northern New Jersey                5/23/2020                   90.86%              82.46%                     37.80%
Northeast              Northern New Jersey                5/30/2020                   88.22%              89.52%                     56.10%
Northeast              Northern New Jersey                 6/6/2020                   89.34%              90.66%                     62.52%
Northeast              Northern New Jersey                6/13/2020                   89.91%              90.39%                     67.18%
Northeast              Northern New Jersey                6/20/2020                   90.82%              89.32%                     71.39%
Northeast              Northern New Jersey                6/27/2020                   89.81%              83.17%                     75.95%
Northeast              Northern New Jersey                 7/1/2020                   91.98%              91.31%                     76.68%
Northeast              Northern New Jersey                 7/4/2020                   90.29%              86.65%                     67.75%
Northeast              Northern New Jersey                7/11/2020                   84.33%              87.64%                     70.58%
Northeast              Northern New Jersey                7/18/2020                   80.74%              84.01%                     64.18%
Northeast              Northern New Jersey                7/25/2020                   87.12%              85.07%                     70.92%
Northeast              Northern New Jersey                 8/1/2020                   86.09%              78.79%                     66.26%
Northeast              Northern New Jersey                 8/8/2020                   83.97%              83.10%                     61.77%
Northeast              Northern New Jersey                8/15/2020                   85.27%              86.61%                     69.68%
Northeast              Northern New Jersey                8/22/2020                   88.20%              89.16%                     72.55%
Northeast              Northern New Jersey                8/29/2020                   89.99%              89.08%                     69.43%
Northeast              Northern New Jersey                 9/5/2020                   91.00%              89.21%                     80.21%
Northeast              Northern New Jersey                9/12/2020                   88.72%              89.64%                     76.87%
Northeast              Northern New Jersey                9/19/2020                   84.48%              91.54%                     77.01%
Northeast              Northern New Jersey                9/26/2020                   88.98%              89.42%                     83.32%
Northeast              Northern New Jersey                10/3/2020                   89.24%              90.86%                     82.36%
Northeast              Northern New Jersey               10/10/2020                   89.27%              88.29%                     76.17%
Northeast              Northern New Jersey               10/17/2020                   84.93%              89.39%                     67.58%
Northeast              Northern New Jersey               10/24/2020                   85.82%              90.41%                     75.21%
Northeast              Northern New Jersey               10/31/2020                   87.87%              91.09%                     79.66%
Northeast              Northern New Jersey                11/7/2020                   88.27%              93.37%                     85.68%
Northeast              Northern New Jersey               11/14/2020                   90.78%              89.67%                     72.05%
Northeast              Northern New Jersey               11/21/2020                   86.55%              91.64%                     83.72%
Northeast              Northern New Jersey               11/28/2020                   83.51%              91.50%                     75.08%
Northeast              Northern New Jersey                12/5/2020                   79.08%              89.80%                     76.75%
Northeast              Northern New Jersey               12/12/2020                   72.64%              82.53%                     57.25%
Northeast              Triboro                             1/4/2020                   87.43%              88.87%                     81.86%
Northeast              Triboro                            1/11/2020                   86.14%              85.62%                     77.24%
Northeast              Triboro                            1/18/2020                   86.10%              83.78%                     70.99%
Northeast              Triboro                            1/25/2020                   82.22%              87.18%                     77.53%
Northeast              Triboro                             2/1/2020                   86.97%              87.49%                     79.92%
Northeast              Triboro                             2/8/2020                   88.39%              89.18%                     82.97%
Northeast              Triboro                            2/15/2020                   89.52%              89.03%                     75.78%
Northeast              Triboro                            2/22/2020                   88.50%              90.71%                     74.27%
Northeast              Triboro                            2/29/2020                   89.61%              87.98%                     78.95%
Northeast              Triboro                             3/7/2020                   89.49%              88.48%                     74.14%
Northeast              Triboro                            3/14/2020                   82.93%              81.36%                     79.07%
Northeast              Triboro                            3/21/2020                   85.66%              86.12%                     75.87%
Northeast              Triboro                            3/28/2020                   83.19%              82.97%                     50.98%
Northeast              Triboro                             4/1/2020                   84.22%              82.42%                     65.77%
Northeast              Triboro                             4/4/2020                   78.92%              76.28%                     58.38%
Northeast              Triboro                            4/11/2020                   69.95%              77.67%                     44.82%
Northeast              Triboro                            4/18/2020                   69.55%              73.43%                     53.99%
Northeast              Triboro                            4/25/2020                   75.00%              67.48%                     45.06%
Northeast              Triboro                             5/2/2020                   67.97%              67.40%                     39.92%
Northeast              Triboro                             5/9/2020                   74.43%              73.24%                     50.28%
Northeast              Triboro                            5/16/2020                   80.06%              81.51%                     52.74%
Northeast              Triboro                            5/23/2020                   80.13%              79.48%                     46.03%
Northeast              Triboro                            5/30/2020                   84.35%              85.31%                     53.33%
Northeast              Triboro                             6/6/2020                   83.58%              87.56%                     50.65%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          38
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 39 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

       Area                    District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Northeast              Triboro                            6/13/2020                   85.60%              85.80%                     61.99%
Northeast              Triboro                            6/20/2020                   84.18%              88.45%                     62.41%
Northeast              Triboro                            6/27/2020                   85.01%              89.20%                     69.06%
Northeast              Triboro                             7/1/2020                   88.64%              87.91%                     53.10%
Northeast              Triboro                             7/4/2020                   86.51%              84.99%                     53.23%
Northeast              Triboro                            7/11/2020                   83.35%              83.20%                     61.71%
Northeast              Triboro                            7/18/2020                   77.09%              79.51%                     57.12%
Northeast              Triboro                            7/25/2020                   80.82%              79.57%                     49.31%
Northeast              Triboro                             8/1/2020                   80.82%              79.92%                     52.49%
Northeast              Triboro                             8/8/2020                   81.16%              80.63%                     50.32%
Northeast              Triboro                            8/15/2020                   82.04%              83.24%                     60.43%
Northeast              Triboro                            8/22/2020                   85.29%              81.84%                     64.45%
Northeast              Triboro                            8/29/2020                   85.27%              85.94%                     52.45%
Northeast              Triboro                             9/5/2020                   87.00%              86.99%                     68.78%
Northeast              Triboro                            9/12/2020                   85.33%              83.72%                     69.03%
Northeast              Triboro                            9/19/2020                   85.18%              87.20%                     70.01%
Northeast              Triboro                            9/26/2020                   86.32%              87.53%                     61.15%
Northeast              Triboro                            10/3/2020                   86.82%              88.46%                     66.84%
Northeast              Triboro                           10/10/2020                   87.14%              84.79%                     65.73%
Northeast              Triboro                           10/17/2020                   82.81%              87.41%                     68.47%
Northeast              Triboro                           10/24/2020                   85.13%              88.67%                     69.56%
Northeast              Triboro                           10/31/2020                   86.85%              84.91%                     64.49%
Northeast              Triboro                            11/7/2020                   87.07%              90.33%                     75.75%
Northeast              Triboro                           11/14/2020                   88.37%              89.68%                     74.71%
Northeast              Triboro                           11/21/2020                   85.41%              85.41%                     70.32%
Northeast              Triboro                           11/28/2020                   82.48%              89.42%                     62.24%
Northeast              Triboro                            12/5/2020                   71.72%              87.29%                     64.99%
Northeast              Triboro                           12/12/2020                   61.85%              80.79%                     51.49%
Northeast              Westchester                         1/4/2020                   90.05%              89.06%                     75.26%
Northeast              Westchester                        1/11/2020                   90.55%              87.11%                     77.75%
Northeast              Westchester                        1/18/2020                   91.89%              89.96%                     80.35%
Northeast              Westchester                        1/25/2020                   91.48%              92.17%                     85.92%
Northeast              Westchester                         2/1/2020                   91.51%              92.20%                     87.24%
Northeast              Westchester                         2/8/2020                   92.43%              91.60%                     86.27%
Northeast              Westchester                        2/15/2020                   93.37%              92.61%                     87.99%
Northeast              Westchester                        2/22/2020                   93.23%              93.19%                     83.39%
Northeast              Westchester                        2/29/2020                   93.14%              92.61%                     77.88%
Northeast              Westchester                         3/7/2020                   91.88%              88.74%                     78.34%
Northeast              Westchester                        3/14/2020                   77.92%              60.49%                     61.81%
Northeast              Westchester                        3/21/2020                   89.60%              84.65%                     68.49%
Northeast              Westchester                        3/28/2020                   91.49%              78.88%                     65.56%
Northeast              Westchester                         4/1/2020                   90.72%              75.47%                     58.96%
Northeast              Westchester                         4/4/2020                   84.97%              42.80%                     44.35%
Northeast              Westchester                        4/11/2020                   79.26%              42.07%                     39.29%
Northeast              Westchester                        4/18/2020                   84.90%              73.71%                     52.28%
Northeast              Westchester                        4/25/2020                   84.12%              73.76%                     45.82%
Northeast              Westchester                         5/2/2020                   83.59%              72.09%                     42.58%
Northeast              Westchester                         5/9/2020                   86.60%              85.48%                     54.53%
Northeast              Westchester                        5/16/2020                   89.21%              86.99%                     61.23%
Northeast              Westchester                        5/23/2020                   90.54%              87.04%                     69.01%
Northeast              Westchester                        5/30/2020                   88.36%              85.86%                     68.91%
Northeast              Westchester                         6/6/2020                   87.32%              87.87%                     69.61%
Northeast              Westchester                        6/13/2020                   89.31%              89.08%                     72.94%
Northeast              Westchester                        6/20/2020                   90.16%              88.00%                     73.90%
Northeast              Westchester                        6/27/2020                   91.07%              82.32%                     80.26%
Northeast              Westchester                         7/1/2020                   92.68%              89.36%                     76.43%
Northeast              Westchester                         7/4/2020                   89.91%              87.88%                     75.07%
Northeast              Westchester                        7/11/2020                   83.80%              82.18%                     69.28%

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Commission (PRC) at the end of the quarter.                          39
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 40 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Northeast              Westchester                        7/18/2020                   81.79%              83.91%                     68.70%
Northeast              Westchester                        7/25/2020                   84.87%              82.04%                     64.74%
Northeast              Westchester                         8/1/2020                   84.60%              82.17%                     59.21%
Northeast              Westchester                         8/8/2020                   77.94%              81.94%                     53.34%
Northeast              Westchester                        8/15/2020                   84.42%              88.08%                     64.05%
Northeast              Westchester                        8/22/2020                   86.52%              88.31%                     59.89%
Northeast              Westchester                        8/29/2020                   89.26%              89.10%                     67.68%
Northeast              Westchester                         9/5/2020                   88.65%              89.21%                     62.51%
Northeast              Westchester                        9/12/2020                   82.96%              80.48%                     60.08%
Northeast              Westchester                        9/19/2020                   85.80%              84.31%                     66.05%
Northeast              Westchester                        9/26/2020                   86.75%              88.49%                     71.63%
Northeast              Westchester                        10/3/2020                   85.22%              89.25%                     67.10%
Northeast              Westchester                       10/10/2020                   85.09%              85.09%                     68.01%
Northeast              Westchester                       10/17/2020                   83.30%              87.21%                     69.85%
Northeast              Westchester                       10/24/2020                   84.37%              85.99%                     70.96%
Northeast              Westchester                       10/31/2020                   88.34%              85.61%                     53.05%
Northeast              Westchester                        11/7/2020                   87.89%              86.61%                     66.89%
Northeast              Westchester                       11/14/2020                   88.76%              81.79%                     51.25%
Northeast              Westchester                       11/21/2020                   87.26%              84.55%                     65.17%
Northeast              Westchester                       11/28/2020                   83.06%              89.31%                     62.45%
Northeast              Westchester                        12/5/2020                   75.94%              69.67%                     41.28%
Northeast              Westchester                       12/12/2020                   66.78%              47.93%                     32.72%
Pacific                Bay‐Valley                          1/4/2020                   93.90%              93.37%                     77.21%
Pacific                Bay‐Valley                         1/11/2020                   93.36%              92.87%                     90.28%
Pacific                Bay‐Valley                         1/18/2020                   95.00%              93.79%                     87.41%
Pacific                Bay‐Valley                         1/25/2020                   93.54%              92.15%                     89.12%
Pacific                Bay‐Valley                          2/1/2020                   91.25%              91.03%                     86.93%
Pacific                Bay‐Valley                          2/8/2020                   91.88%              93.21%                     88.80%
Pacific                Bay‐Valley                         2/15/2020                   94.71%              95.04%                     90.63%
Pacific                Bay‐Valley                         2/22/2020                   94.16%              95.81%                     84.50%
Pacific                Bay‐Valley                         2/29/2020                   93.54%              92.26%                     83.13%
Pacific                Bay‐Valley                          3/7/2020                   93.77%              94.16%                     92.07%
Pacific                Bay‐Valley                         3/14/2020                   93.41%              94.09%                     90.21%
Pacific                Bay‐Valley                         3/21/2020                   94.29%              94.52%                     88.49%
Pacific                Bay‐Valley                         3/28/2020                   94.38%              95.62%                     88.92%
Pacific                Bay‐Valley                          4/1/2020                   94.29%              86.97%                     89.47%
Pacific                Bay‐Valley                          4/4/2020                   94.01%              94.26%                     89.42%
Pacific                Bay‐Valley                         4/11/2020                   91.83%              94.21%                     86.87%
Pacific                Bay‐Valley                         4/18/2020                   93.18%              93.03%                     89.55%
Pacific                Bay‐Valley                         4/25/2020                   93.47%              92.97%                     88.03%
Pacific                Bay‐Valley                          5/2/2020                   91.66%              92.91%                     85.79%
Pacific                Bay‐Valley                          5/9/2020                   91.08%              92.84%                     87.25%
Pacific                Bay‐Valley                         5/16/2020                   91.13%              92.84%                     83.53%
Pacific                Bay‐Valley                         5/23/2020                   93.76%              91.93%                     85.17%
Pacific                Bay‐Valley                         5/30/2020                   91.78%              91.52%                     84.59%
Pacific                Bay‐Valley                          6/6/2020                   92.05%              91.95%                     77.48%
Pacific                Bay‐Valley                         6/13/2020                   92.98%              91.50%                     86.73%
Pacific                Bay‐Valley                         6/20/2020                   92.14%              91.57%                     85.70%
Pacific                Bay‐Valley                         6/27/2020                   93.66%              93.29%                     87.82%
Pacific                Bay‐Valley                          7/1/2020                   91.32%              83.51%                     87.84%
Pacific                Bay‐Valley                          7/4/2020                   92.43%              89.12%                     75.14%
Pacific                Bay‐Valley                         7/11/2020                   88.96%              85.41%                     84.08%
Pacific                Bay‐Valley                         7/18/2020                   87.97%              80.11%                     83.63%
Pacific                Bay‐Valley                         7/25/2020                   89.30%              80.13%                     82.25%
Pacific                Bay‐Valley                          8/1/2020                   86.94%              81.56%                     71.42%
Pacific                Bay‐Valley                          8/8/2020                   85.64%              85.76%                     69.03%
Pacific                Bay‐Valley                         8/15/2020                   88.41%              88.00%                     81.54%
Pacific                Bay‐Valley                         8/22/2020                   90.13%              89.05%                     83.41%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          40
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 41 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Pacific                Bay‐Valley                         8/29/2020                   91.03%              87.55%                     80.86%
Pacific                Bay‐Valley                          9/5/2020                   92.54%              90.82%                     83.73%
Pacific                Bay‐Valley                         9/12/2020                   89.99%              89.89%                     84.73%
Pacific                Bay‐Valley                         9/19/2020                   90.98%              93.25%                     87.75%
Pacific                Bay‐Valley                         9/26/2020                   92.04%              92.38%                     84.85%
Pacific                Bay‐Valley                         10/3/2020                   91.64%              88.30%                     75.47%
Pacific                Bay‐Valley                        10/10/2020                   91.89%              88.29%                     79.51%
Pacific                Bay‐Valley                        10/17/2020                   87.74%              92.51%                     83.14%
Pacific                Bay‐Valley                        10/24/2020                   90.02%              93.31%                     81.88%
Pacific                Bay‐Valley                        10/31/2020                   92.61%              92.93%                     87.41%
Pacific                Bay‐Valley                         11/7/2020                   92.88%              94.25%                     84.34%
Pacific                Bay‐Valley                        11/14/2020                   93.19%              92.58%                     90.23%
Pacific                Bay‐Valley                        11/21/2020                   92.00%              93.36%                     89.29%
Pacific                Bay‐Valley                        11/28/2020                   83.97%              92.18%                     79.70%
Pacific                Bay‐Valley                         12/5/2020                   81.43%              87.90%                     80.03%
Pacific                Bay‐Valley                        12/12/2020                   83.39%              83.21%                     80.29%
Pacific                Honolulu                            1/4/2020                   93.07%              92.72%                     86.73%
Pacific                Honolulu                           1/11/2020                   90.63%              84.49%                     82.84%
Pacific                Honolulu                           1/18/2020                   92.54%              92.30%                     77.32%
Pacific                Honolulu                           1/25/2020                   87.06%              92.21%                     86.58%
Pacific                Honolulu                            2/1/2020                   87.71%              92.38%                     89.04%
Pacific                Honolulu                            2/8/2020                   91.43%              77.79%                     94.08%
Pacific                Honolulu                           2/15/2020                   92.83%              92.11%                     91.78%
Pacific                Honolulu                           2/22/2020                   92.69%              94.76%                     91.41%
Pacific                Honolulu                           2/29/2020                   91.72%              94.27%                     79.76%
Pacific                Honolulu                            3/7/2020                   89.39%              92.61%                     80.10%
Pacific                Honolulu                           3/14/2020                   89.73%              92.10%                     83.49%
Pacific                Honolulu                           3/21/2020                   91.28%              79.98%                     89.66%
Pacific                Honolulu                           3/28/2020                   90.23%              95.11%                     86.13%
Pacific                Honolulu                            4/1/2020                   89.50%              96.79%                     69.65%
Pacific                Honolulu                            4/4/2020                   90.97%              94.84%                     81.81%
Pacific                Honolulu                           4/11/2020                   89.77%              95.95%                     68.64%
Pacific                Honolulu                           4/18/2020                   87.56%              95.54%                     89.71%
Pacific                Honolulu                           4/25/2020                   88.64%              91.92%                     76.59%
Pacific                Honolulu                            5/2/2020                   90.16%              91.63%                     92.36%
Pacific                Honolulu                            5/9/2020                   86.95%              80.68%                     74.72%
Pacific                Honolulu                           5/16/2020                   88.24%              79.46%                     88.67%
Pacific                Honolulu                           5/23/2020                   87.01%              79.68%                     61.89%
Pacific                Honolulu                           5/30/2020                   83.36%              92.13%                     58.82%
Pacific                Honolulu                            6/6/2020                   81.82%              91.58%                     82.62%
Pacific                Honolulu                           6/13/2020                   79.01%              82.27%                     79.77%
Pacific                Honolulu                           6/20/2020                   68.85%              95.12%                     68.25%
Pacific                Honolulu                           6/27/2020                   75.58%              95.76%                     88.17%
Pacific                Honolulu                            7/1/2020                   71.15%              95.73%                     88.77%
Pacific                Honolulu                            7/4/2020                   83.19%              94.80%                     83.07%
Pacific                Honolulu                           7/11/2020                   80.41%              84.11%                     54.73%
Pacific                Honolulu                           7/18/2020                   70.53%              84.36%                     44.36%
Pacific                Honolulu                           7/25/2020                   57.47%              74.16%                     39.74%
Pacific                Honolulu                            8/1/2020                   55.23%              61.85%                     60.96%
Pacific                Honolulu                            8/8/2020                   63.81%              72.37%                     76.66%
Pacific                Honolulu                           8/15/2020                   84.01%              93.28%                     84.97%
Pacific                Honolulu                           8/22/2020                   88.67%              96.10%                     78.17%
Pacific                Honolulu                           8/29/2020                   88.54%              97.23%                     93.54%
Pacific                Honolulu                            9/5/2020                   90.41%              94.57%                     84.19%
Pacific                Honolulu                           9/12/2020                   87.26%              89.59%                     89.53%
Pacific                Honolulu                           9/19/2020                   85.06%              81.75%                     90.67%
Pacific                Honolulu                           9/26/2020                   83.88%              95.86%                     73.04%
Pacific                Honolulu                           10/3/2020                   88.06%              93.47%                     89.72%

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Commission (PRC) at the end of the quarter.                          41
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 42 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Pacific                Honolulu                          10/10/2020                   85.27%              94.98%                     83.00%
Pacific                Honolulu                          10/17/2020                   87.45%              94.56%                     69.75%
Pacific                Honolulu                          10/24/2020                   87.95%              95.45%                     92.23%
Pacific                Honolulu                          10/31/2020                   89.22%              93.34%                     76.42%
Pacific                Honolulu                           11/7/2020                   83.34%              93.48%                     80.85%
Pacific                Honolulu                          11/14/2020                   86.07%              75.43%                     81.81%
Pacific                Honolulu                          11/21/2020                   82.27%              91.11%                     80.49%
Pacific                Honolulu                          11/28/2020                   81.95%              95.65%                     78.90%
Pacific                Honolulu                           12/5/2020                   87.85%              85.05%                     82.66%
Pacific                Honolulu                          12/12/2020                   83.75%              75.62%                     79.69%
Pacific                Los Angeles                         1/4/2020                   94.09%              92.59%                     84.55%
Pacific                Los Angeles                        1/11/2020                   92.59%              90.44%                     83.85%
Pacific                Los Angeles                        1/18/2020                   92.90%              89.13%                     88.15%
Pacific                Los Angeles                        1/25/2020                   93.37%              89.71%                     86.56%
Pacific                Los Angeles                         2/1/2020                   90.05%              76.98%                     81.80%
Pacific                Los Angeles                         2/8/2020                   91.05%              89.55%                     87.50%
Pacific                Los Angeles                        2/15/2020                   93.66%              91.80%                     87.51%
Pacific                Los Angeles                        2/22/2020                   94.15%              93.70%                     86.62%
Pacific                Los Angeles                        2/29/2020                   93.85%              87.37%                     78.31%
Pacific                Los Angeles                         3/7/2020                   92.76%              88.70%                     78.53%
Pacific                Los Angeles                        3/14/2020                   92.62%              89.91%                     84.01%
Pacific                Los Angeles                        3/21/2020                   92.69%              93.88%                     77.10%
Pacific                Los Angeles                        3/28/2020                   93.95%              94.57%                     84.09%
Pacific                Los Angeles                         4/1/2020                   92.91%              90.95%                     86.86%
Pacific                Los Angeles                         4/4/2020                   93.01%              90.99%                     89.00%
Pacific                Los Angeles                        4/11/2020                   91.74%              89.62%                     82.14%
Pacific                Los Angeles                        4/18/2020                   92.26%              90.74%                     81.41%
Pacific                Los Angeles                        4/25/2020                   87.49%              90.88%                     72.33%
Pacific                Los Angeles                         5/2/2020                   92.10%              91.83%                     75.56%
Pacific                Los Angeles                         5/9/2020                   91.29%              91.44%                     60.81%
Pacific                Los Angeles                        5/16/2020                   92.33%              92.08%                     72.34%
Pacific                Los Angeles                        5/23/2020                   91.52%              91.59%                     71.93%
Pacific                Los Angeles                        5/30/2020                   88.98%              85.57%                     52.95%
Pacific                Los Angeles                         6/6/2020                   88.32%              87.32%                     65.16%
Pacific                Los Angeles                        6/13/2020                   90.77%              86.95%                     67.54%
Pacific                Los Angeles                        6/20/2020                   87.71%              86.37%                     67.08%
Pacific                Los Angeles                        6/27/2020                   87.86%              83.60%                     69.35%
Pacific                Los Angeles                         7/1/2020                   89.32%              85.52%                     74.05%
Pacific                Los Angeles                         7/4/2020                   88.88%              82.65%                     66.61%
Pacific                Los Angeles                        7/11/2020                   82.68%              75.74%                     56.56%
Pacific                Los Angeles                        7/18/2020                   77.93%              74.79%                     46.45%
Pacific                Los Angeles                        7/25/2020                   77.29%              74.37%                     48.90%
Pacific                Los Angeles                         8/1/2020                   73.51%              72.38%                     36.82%
Pacific                Los Angeles                         8/8/2020                   78.03%              77.82%                     53.56%
Pacific                Los Angeles                        8/15/2020                   83.39%              84.37%                     51.97%
Pacific                Los Angeles                        8/22/2020                   86.23%              87.04%                     55.65%
Pacific                Los Angeles                        8/29/2020                   88.66%              87.06%                     65.00%
Pacific                Los Angeles                         9/5/2020                   89.17%              90.87%                     78.82%
Pacific                Los Angeles                        9/12/2020                   91.52%              90.34%                     80.36%
Pacific                Los Angeles                        9/19/2020                   90.24%              93.30%                     79.58%
Pacific                Los Angeles                        9/26/2020                   89.30%              93.43%                     75.07%
Pacific                Los Angeles                        10/3/2020                   89.40%              93.10%                     78.07%
Pacific                Los Angeles                       10/10/2020                   89.44%              91.36%                     75.77%
Pacific                Los Angeles                       10/17/2020                   88.16%              95.05%                     69.74%
Pacific                Los Angeles                       10/24/2020                   88.21%              94.22%                     77.51%
Pacific                Los Angeles                       10/31/2020                   89.43%              92.03%                     76.93%
Pacific                Los Angeles                        11/7/2020                   91.64%              94.35%                     79.38%
Pacific                Los Angeles                       11/14/2020                   92.53%              95.35%                     75.63%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          42
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 43 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Pacific                Los Angeles                       11/21/2020                   89.26%              95.01%                     81.34%
Pacific                Los Angeles                       11/28/2020                   86.11%              92.61%                     75.36%
Pacific                Los Angeles                        12/5/2020                   83.76%              91.37%                     76.44%
Pacific                Los Angeles                       12/12/2020                   79.83%              89.16%                     67.26%
Pacific                Sacramento                          1/4/2020                   93.62%              93.13%                     87.90%
Pacific                Sacramento                         1/11/2020                   91.42%              92.65%                     85.09%
Pacific                Sacramento                         1/18/2020                   93.72%              91.91%                     91.15%
Pacific                Sacramento                         1/25/2020                   91.54%              93.23%                     88.72%
Pacific                Sacramento                          2/1/2020                   91.03%              92.40%                     91.44%
Pacific                Sacramento                          2/8/2020                   91.41%              92.67%                     91.27%
Pacific                Sacramento                         2/15/2020                   94.23%              93.65%                     90.51%
Pacific                Sacramento                         2/22/2020                   94.00%              95.82%                     88.51%
Pacific                Sacramento                         2/29/2020                   94.17%              94.92%                     88.57%
Pacific                Sacramento                          3/7/2020                   93.75%              93.48%                     88.43%
Pacific                Sacramento                         3/14/2020                   92.72%              92.49%                     88.46%
Pacific                Sacramento                         3/21/2020                   93.32%              94.65%                     88.01%
Pacific                Sacramento                         3/28/2020                   93.38%              93.99%                     85.50%
Pacific                Sacramento                          4/1/2020                   93.56%              86.14%                     91.73%
Pacific                Sacramento                          4/4/2020                   91.60%              93.05%                     87.05%
Pacific                Sacramento                         4/11/2020                   90.57%              93.45%                     74.89%
Pacific                Sacramento                         4/18/2020                   91.93%              93.12%                     81.49%
Pacific                Sacramento                         4/25/2020                   91.15%              89.23%                     80.96%
Pacific                Sacramento                          5/2/2020                   89.50%              91.71%                     75.85%
Pacific                Sacramento                          5/9/2020                   86.56%              90.06%                     62.22%
Pacific                Sacramento                         5/16/2020                   88.04%              89.43%                     72.06%
Pacific                Sacramento                         5/23/2020                   92.08%              88.97%                     73.05%
Pacific                Sacramento                         5/30/2020                   90.02%              89.61%                     77.27%
Pacific                Sacramento                          6/6/2020                   91.01%              90.88%                     73.57%
Pacific                Sacramento                         6/13/2020                   92.05%              91.04%                     82.94%
Pacific                Sacramento                         6/20/2020                   89.45%              87.93%                     73.70%
Pacific                Sacramento                         6/27/2020                   92.15%              87.23%                     65.73%
Pacific                Sacramento                          7/1/2020                   91.59%              84.81%                     78.89%
Pacific                Sacramento                          7/4/2020                   91.22%              83.92%                     67.20%
Pacific                Sacramento                         7/11/2020                   85.19%              81.01%                     49.06%
Pacific                Sacramento                         7/18/2020                   80.48%              68.41%                     63.88%
Pacific                Sacramento                         7/25/2020                   85.65%              82.26%                     58.98%
Pacific                Sacramento                          8/1/2020                   80.86%              77.50%                     50.19%
Pacific                Sacramento                          8/8/2020                   81.19%              82.76%                     48.97%
Pacific                Sacramento                         8/15/2020                   86.70%              87.08%                     66.65%
Pacific                Sacramento                         8/22/2020                   88.15%              91.78%                     75.12%
Pacific                Sacramento                         8/29/2020                   90.08%              91.65%                     80.42%
Pacific                Sacramento                          9/5/2020                   90.49%              91.07%                     83.66%
Pacific                Sacramento                         9/12/2020                   89.26%              90.43%                     72.98%
Pacific                Sacramento                         9/19/2020                   91.02%              90.83%                     86.23%
Pacific                Sacramento                         9/26/2020                   90.23%              92.53%                     80.13%
Pacific                Sacramento                         10/3/2020                   89.16%              92.71%                     83.12%
Pacific                Sacramento                        10/10/2020                   90.05%              90.61%                     77.07%
Pacific                Sacramento                        10/17/2020                   87.10%              92.13%                     85.48%
Pacific                Sacramento                        10/24/2020                   89.06%              93.50%                     85.18%
Pacific                Sacramento                        10/31/2020                   88.99%              92.09%                     85.57%
Pacific                Sacramento                         11/7/2020                   88.63%              93.18%                     88.20%
Pacific                Sacramento                        11/14/2020                   91.54%              92.98%                     88.74%
Pacific                Sacramento                        11/21/2020                   89.26%              91.36%                     88.94%
Pacific                Sacramento                        11/28/2020                   82.30%              91.85%                     80.73%
Pacific                Sacramento                         12/5/2020                   79.90%              90.64%                     82.92%
Pacific                Sacramento                        12/12/2020                   79.91%              87.17%                     72.99%
Pacific                San Diego                           1/4/2020                   93.25%              94.24%                     82.44%
Pacific                San Diego                          1/11/2020                   92.52%              93.18%                     77.70%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          43
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 44 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Pacific                San Diego                          1/18/2020                   94.64%              93.96%                     91.94%
Pacific                San Diego                          1/25/2020                   92.02%              93.32%                     90.09%
Pacific                San Diego                           2/1/2020                   90.91%              91.52%                     83.93%
Pacific                San Diego                           2/8/2020                   92.25%              92.27%                     82.65%
Pacific                San Diego                          2/15/2020                   94.76%              92.91%                     92.84%
Pacific                San Diego                          2/22/2020                   93.04%              94.97%                     85.55%
Pacific                San Diego                          2/29/2020                   91.78%              93.41%                     82.33%
Pacific                San Diego                           3/7/2020                   92.55%              94.42%                     86.37%
Pacific                San Diego                          3/14/2020                   90.87%              94.00%                     87.29%
Pacific                San Diego                          3/21/2020                   93.97%              94.23%                     89.24%
Pacific                San Diego                          3/28/2020                   93.42%              95.45%                     83.80%
Pacific                San Diego                           4/1/2020                   94.11%              90.63%                     83.49%
Pacific                San Diego                           4/4/2020                   92.59%              95.11%                     86.64%
Pacific                San Diego                          4/11/2020                   90.91%              93.90%                     84.40%
Pacific                San Diego                          4/18/2020                   92.43%              90.27%                     84.76%
Pacific                San Diego                          4/25/2020                   86.96%              92.76%                     83.45%
Pacific                San Diego                           5/2/2020                   91.07%              92.36%                     81.23%
Pacific                San Diego                           5/9/2020                   89.58%              91.84%                     77.56%
Pacific                San Diego                          5/16/2020                   91.32%              92.81%                     80.04%
Pacific                San Diego                          5/23/2020                   92.39%              92.36%                     76.90%
Pacific                San Diego                          5/30/2020                   89.99%              93.32%                     81.87%
Pacific                San Diego                           6/6/2020                   90.60%              92.39%                     79.96%
Pacific                San Diego                          6/13/2020                   91.57%              91.63%                     83.90%
Pacific                San Diego                          6/20/2020                   90.64%              91.91%                     81.98%
Pacific                San Diego                          6/27/2020                   90.13%              92.65%                     82.38%
Pacific                San Diego                           7/1/2020                   93.13%              88.61%                     85.29%
Pacific                San Diego                           7/4/2020                   93.15%              90.76%                     81.03%
Pacific                San Diego                          7/11/2020                   87.83%              89.55%                     69.80%
Pacific                San Diego                          7/18/2020                   84.24%              90.52%                     83.15%
Pacific                San Diego                          7/25/2020                   86.45%              88.67%                     72.57%
Pacific                San Diego                           8/1/2020                   81.65%              89.06%                     73.16%
Pacific                San Diego                           8/8/2020                   81.49%              86.86%                     67.20%
Pacific                San Diego                          8/15/2020                   85.37%              90.83%                     67.40%
Pacific                San Diego                          8/22/2020                   88.36%              92.19%                     79.43%
Pacific                San Diego                          8/29/2020                   89.43%              90.72%                     79.42%
Pacific                San Diego                           9/5/2020                   93.12%              91.78%                     84.37%
Pacific                San Diego                          9/12/2020                   92.07%              92.53%                     82.23%
Pacific                San Diego                          9/19/2020                   90.29%              93.45%                     86.87%
Pacific                San Diego                          9/26/2020                   91.28%              93.51%                     86.52%
Pacific                San Diego                          10/3/2020                   90.44%              93.37%                     83.17%
Pacific                San Diego                         10/10/2020                   91.84%              92.14%                     77.77%
Pacific                San Diego                         10/17/2020                   88.08%              92.51%                     71.16%
Pacific                San Diego                         10/24/2020                   89.48%              94.62%                     77.10%
Pacific                San Diego                         10/31/2020                   91.26%              94.28%                     84.77%
Pacific                San Diego                          11/7/2020                   91.36%              95.21%                     89.31%
Pacific                San Diego                         11/14/2020                   92.45%              94.79%                     89.31%
Pacific                San Diego                         11/21/2020                   89.42%              94.36%                     85.76%
Pacific                San Diego                         11/28/2020                   85.83%              92.47%                     77.38%
Pacific                San Diego                          12/5/2020                   75.18%              89.83%                     70.20%
Pacific                San Diego                         12/12/2020                   73.71%              76.81%                     59.16%
Pacific                San Francisco                       1/4/2020                   93.33%              91.61%                     87.61%
Pacific                San Francisco                      1/11/2020                   92.76%              92.17%                     90.17%
Pacific                San Francisco                      1/18/2020                   93.44%              93.20%                     90.84%
Pacific                San Francisco                      1/25/2020                   92.95%              92.33%                     92.73%
Pacific                San Francisco                       2/1/2020                   91.71%              90.46%                     89.28%
Pacific                San Francisco                       2/8/2020                   92.52%              94.10%                     90.52%
Pacific                San Francisco                      2/15/2020                   94.57%              94.41%                     90.36%
Pacific                San Francisco                      2/22/2020                   94.55%              94.72%                     89.58%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          44
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 45 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Pacific                San Francisco                      2/29/2020                   94.65%              93.54%                     86.53%
Pacific                San Francisco                       3/7/2020                   94.18%              94.49%                     90.94%
Pacific                San Francisco                      3/14/2020                   93.36%              93.71%                     91.56%
Pacific                San Francisco                      3/21/2020                   93.19%              94.15%                     91.28%
Pacific                San Francisco                      3/28/2020                   92.93%              95.44%                     87.37%
Pacific                San Francisco                       4/1/2020                   93.78%              87.92%                     90.62%
Pacific                San Francisco                       4/4/2020                   93.34%              93.84%                     92.87%
Pacific                San Francisco                      4/11/2020                   92.84%              94.52%                     89.53%
Pacific                San Francisco                      4/18/2020                   93.49%              93.27%                     90.48%
Pacific                San Francisco                      4/25/2020                   93.97%              92.89%                     87.67%
Pacific                San Francisco                       5/2/2020                   92.87%              93.47%                     91.09%
Pacific                San Francisco                       5/9/2020                   92.85%              92.17%                     83.94%
Pacific                San Francisco                      5/16/2020                   91.96%              93.44%                     88.98%
Pacific                San Francisco                      5/23/2020                   94.17%              91.32%                     84.18%
Pacific                San Francisco                      5/30/2020                   93.18%              91.13%                     88.58%
Pacific                San Francisco                       6/6/2020                   94.00%              91.99%                     89.23%
Pacific                San Francisco                      6/13/2020                   93.13%              91.80%                     88.26%
Pacific                San Francisco                      6/20/2020                   92.63%              93.49%                     89.61%
Pacific                San Francisco                      6/27/2020                   93.68%              95.18%                     88.10%
Pacific                San Francisco                       7/1/2020                   94.46%              83.27%                     88.10%
Pacific                San Francisco                       7/4/2020                   93.80%              90.09%                     88.24%
Pacific                San Francisco                      7/11/2020                   91.70%              89.14%                     89.87%
Pacific                San Francisco                      7/18/2020                   90.31%              86.48%                     82.72%
Pacific                San Francisco                      7/25/2020                   90.41%              87.37%                     72.21%
Pacific                San Francisco                       8/1/2020                   87.88%              86.84%                     69.82%
Pacific                San Francisco                       8/8/2020                   87.96%              87.64%                     73.76%
Pacific                San Francisco                      8/15/2020                   89.80%              89.96%                     83.55%
Pacific                San Francisco                      8/22/2020                   92.60%              89.69%                     86.03%
Pacific                San Francisco                      8/29/2020                   92.79%              90.43%                     84.52%
Pacific                San Francisco                       9/5/2020                   93.11%              90.59%                     88.49%
Pacific                San Francisco                      9/12/2020                   92.34%              87.58%                     87.36%
Pacific                San Francisco                      9/19/2020                   92.04%              94.14%                     91.13%
Pacific                San Francisco                      9/26/2020                   91.82%              92.35%                     78.04%
Pacific                San Francisco                      10/3/2020                   92.15%              92.10%                     90.20%
Pacific                San Francisco                     10/10/2020                   90.59%              92.17%                     82.10%
Pacific                San Francisco                     10/17/2020                   87.94%              94.47%                     84.39%
Pacific                San Francisco                     10/24/2020                   90.70%              94.86%                     88.76%
Pacific                San Francisco                     10/31/2020                   92.48%              93.51%                     90.17%
Pacific                San Francisco                      11/7/2020                   92.80%              93.18%                     90.16%
Pacific                San Francisco                     11/14/2020                   93.18%              93.39%                     93.20%
Pacific                San Francisco                     11/21/2020                   92.35%              94.41%                     89.26%
Pacific                San Francisco                     11/28/2020                   88.83%              92.73%                     80.74%
Pacific                San Francisco                      12/5/2020                   87.55%              93.31%                     89.17%
Pacific                San Francisco                     12/12/2020                   84.04%              87.87%                     87.29%
Pacific                Santa Ana                           1/4/2020                   93.70%              92.86%                     82.94%
Pacific                Santa Ana                          1/11/2020                   93.69%              90.83%                     87.39%
Pacific                Santa Ana                          1/18/2020                   94.32%              92.47%                     92.27%
Pacific                Santa Ana                          1/25/2020                   91.48%              86.48%                     88.47%
Pacific                Santa Ana                           2/1/2020                   88.98%              84.99%                     87.16%
Pacific                Santa Ana                           2/8/2020                   89.87%              89.76%                     84.90%
Pacific                Santa Ana                          2/15/2020                   94.43%              93.12%                     90.63%
Pacific                Santa Ana                          2/22/2020                   92.70%              94.63%                     90.44%
Pacific                Santa Ana                          2/29/2020                   93.66%              93.81%                     83.59%
Pacific                Santa Ana                           3/7/2020                   94.09%              94.84%                     85.11%
Pacific                Santa Ana                          3/14/2020                   92.61%              94.75%                     88.02%
Pacific                Santa Ana                          3/21/2020                   94.44%              94.86%                     86.95%
Pacific                Santa Ana                          3/28/2020                   93.38%              95.63%                     85.71%
Pacific                Santa Ana                           4/1/2020                   94.86%              91.86%                     83.69%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          45
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 46 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Pacific                Santa Ana                           4/4/2020                   93.72%              95.28%                     85.61%
Pacific                Santa Ana                          4/11/2020                   93.52%              95.09%                     81.44%
Pacific                Santa Ana                          4/18/2020                   93.31%              90.36%                     85.17%
Pacific                Santa Ana                          4/25/2020                   91.16%              92.87%                     81.75%
Pacific                Santa Ana                           5/2/2020                   93.02%              94.36%                     79.22%
Pacific                Santa Ana                           5/9/2020                   91.51%              94.22%                     76.33%
Pacific                Santa Ana                          5/16/2020                   93.43%              95.72%                     77.63%
Pacific                Santa Ana                          5/23/2020                   91.15%              93.75%                     80.88%
Pacific                Santa Ana                          5/30/2020                   90.83%              93.40%                     76.33%
Pacific                Santa Ana                           6/6/2020                   92.07%              93.42%                     82.91%
Pacific                Santa Ana                          6/13/2020                   93.21%              92.92%                     79.90%
Pacific                Santa Ana                          6/20/2020                   92.66%              92.23%                     86.24%
Pacific                Santa Ana                          6/27/2020                   89.92%              93.19%                     81.16%
Pacific                Santa Ana                           7/1/2020                   92.23%              90.55%                     76.01%
Pacific                Santa Ana                           7/4/2020                   90.93%              89.39%                     73.93%
Pacific                Santa Ana                          7/11/2020                   86.26%              88.35%                     73.54%
Pacific                Santa Ana                          7/18/2020                   81.35%              85.05%                     81.55%
Pacific                Santa Ana                          7/25/2020                   84.05%              89.71%                     71.37%
Pacific                Santa Ana                           8/1/2020                   81.67%              90.56%                     71.21%
Pacific                Santa Ana                           8/8/2020                   80.95%              90.23%                     75.26%
Pacific                Santa Ana                          8/15/2020                   85.13%              92.03%                     74.78%
Pacific                Santa Ana                          8/22/2020                   88.96%              92.71%                     76.28%
Pacific                Santa Ana                          8/29/2020                   89.83%              93.86%                     81.46%
Pacific                Santa Ana                           9/5/2020                   91.16%              92.60%                     75.20%
Pacific                Santa Ana                          9/12/2020                   91.40%              93.20%                     80.99%
Pacific                Santa Ana                          9/19/2020                   90.40%              95.09%                     88.63%
Pacific                Santa Ana                          9/26/2020                   91.63%              94.80%                     72.07%
Pacific                Santa Ana                          10/3/2020                   89.25%              96.92%                     88.23%
Pacific                Santa Ana                         10/10/2020                   91.99%              95.17%                     84.59%
Pacific                Santa Ana                         10/17/2020                   86.46%              96.73%                     82.37%
Pacific                Santa Ana                         10/24/2020                   86.48%              95.72%                     75.52%
Pacific                Santa Ana                         10/31/2020                   90.40%              94.67%                     86.92%
Pacific                Santa Ana                          11/7/2020                   91.56%              94.87%                     86.84%
Pacific                Santa Ana                         11/14/2020                   92.40%              95.95%                     86.34%
Pacific                Santa Ana                         11/21/2020                   90.06%              95.93%                     79.93%
Pacific                Santa Ana                         11/28/2020                   84.94%              94.36%                     79.59%
Pacific                Santa Ana                          12/5/2020                   82.01%              92.44%                     81.30%
Pacific                Santa Ana                         12/12/2020                   84.92%              94.56%                     79.46%
Pacific                Sierra Coastal                      1/4/2020                   93.28%              94.49%                     78.92%
Pacific                Sierra Coastal                     1/11/2020                   93.38%              94.77%                     85.21%
Pacific                Sierra Coastal                     1/18/2020                   94.22%              93.43%                     92.18%
Pacific                Sierra Coastal                     1/25/2020                   92.52%              95.08%                     89.65%
Pacific                Sierra Coastal                      2/1/2020                   92.37%              94.17%                     88.18%
Pacific                Sierra Coastal                      2/8/2020                   92.98%              94.90%                     86.90%
Pacific                Sierra Coastal                     2/15/2020                   94.86%              94.95%                     91.62%
Pacific                Sierra Coastal                     2/22/2020                   94.20%              95.78%                     92.61%
Pacific                Sierra Coastal                     2/29/2020                   94.26%              95.05%                     86.10%
Pacific                Sierra Coastal                      3/7/2020                   94.66%              95.15%                     87.02%
Pacific                Sierra Coastal                     3/14/2020                   94.03%              95.28%                     87.58%
Pacific                Sierra Coastal                     3/21/2020                   94.52%              95.28%                     89.11%
Pacific                Sierra Coastal                     3/28/2020                   94.17%              95.09%                     87.61%
Pacific                Sierra Coastal                      4/1/2020                   94.39%              92.45%                     86.12%
Pacific                Sierra Coastal                      4/4/2020                   93.64%              95.32%                     85.40%
Pacific                Sierra Coastal                     4/11/2020                   93.01%              95.15%                     83.11%
Pacific                Sierra Coastal                     4/18/2020                   93.51%              91.53%                     84.66%
Pacific                Sierra Coastal                     4/25/2020                   90.36%              93.20%                     78.17%
Pacific                Sierra Coastal                      5/2/2020                   93.03%              94.10%                     84.85%
Pacific                Sierra Coastal                      5/9/2020                   91.67%              93.52%                     73.90%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          46
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 47 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Pacific                Sierra Coastal                     5/16/2020                   92.94%              94.36%                     81.19%
Pacific                Sierra Coastal                     5/23/2020                   92.93%              93.32%                     81.54%
Pacific                Sierra Coastal                     5/30/2020                   91.09%              92.81%                     78.72%
Pacific                Sierra Coastal                      6/6/2020                   90.55%              92.90%                     68.95%
Pacific                Sierra Coastal                     6/13/2020                   92.51%              93.06%                     87.61%
Pacific                Sierra Coastal                     6/20/2020                   90.36%              92.81%                     82.49%
Pacific                Sierra Coastal                     6/27/2020                   92.28%              94.54%                     79.93%
Pacific                Sierra Coastal                      7/1/2020                   93.38%              91.71%                     82.33%
Pacific                Sierra Coastal                      7/4/2020                   91.96%              91.19%                     75.45%
Pacific                Sierra Coastal                     7/11/2020                   87.50%              90.71%                     74.67%
Pacific                Sierra Coastal                     7/18/2020                   86.83%              90.75%                     76.05%
Pacific                Sierra Coastal                     7/25/2020                   85.94%              92.02%                     70.45%
Pacific                Sierra Coastal                      8/1/2020                   84.16%              91.15%                     77.31%
Pacific                Sierra Coastal                      8/8/2020                   83.32%              89.96%                     78.27%
Pacific                Sierra Coastal                     8/15/2020                   89.36%              93.13%                     81.32%
Pacific                Sierra Coastal                     8/22/2020                   90.24%              93.00%                     77.07%
Pacific                Sierra Coastal                     8/29/2020                   91.87%              92.09%                     83.72%
Pacific                Sierra Coastal                      9/5/2020                   91.92%              90.62%                     70.95%
Pacific                Sierra Coastal                     9/12/2020                   91.19%              94.06%                     79.59%
Pacific                Sierra Coastal                     9/19/2020                   91.78%              94.55%                     86.90%
Pacific                Sierra Coastal                     9/26/2020                   92.06%              94.23%                     90.15%
Pacific                Sierra Coastal                     10/3/2020                   90.77%              95.95%                     83.90%
Pacific                Sierra Coastal                    10/10/2020                   92.13%              94.19%                     83.54%
Pacific                Sierra Coastal                    10/17/2020                   87.21%              95.04%                     85.54%
Pacific                Sierra Coastal                    10/24/2020                   89.47%              95.20%                     80.41%
Pacific                Sierra Coastal                    10/31/2020                   88.36%              93.92%                     87.93%
Pacific                Sierra Coastal                     11/7/2020                   91.79%              95.15%                     86.75%
Pacific                Sierra Coastal                    11/14/2020                   92.62%              95.28%                     88.49%
Pacific                Sierra Coastal                    11/21/2020                   90.75%              95.05%                     87.79%
Pacific                Sierra Coastal                    11/28/2020                   86.16%              93.78%                     86.10%
Pacific                Sierra Coastal                     12/5/2020                   86.33%              94.48%                     86.24%
Pacific                Sierra Coastal                    12/12/2020                   85.50%              93.93%                     83.27%
Southern               Alabama                             1/4/2020                   93.75%              93.69%                     84.57%
Southern               Alabama                            1/11/2020                   93.38%              91.55%                     86.76%
Southern               Alabama                            1/18/2020                   94.51%              92.36%                     88.71%
Southern               Alabama                            1/25/2020                   93.62%              93.22%                     89.00%
Southern               Alabama                             2/1/2020                   92.53%              93.33%                     86.17%
Southern               Alabama                             2/8/2020                   93.17%              94.79%                     88.67%
Southern               Alabama                            2/15/2020                   94.89%              94.89%                     89.58%
Southern               Alabama                            2/22/2020                   93.29%              94.70%                     87.22%
Southern               Alabama                            2/29/2020                   93.63%              93.57%                     89.60%
Southern               Alabama                             3/7/2020                   93.60%              94.38%                     88.10%
Southern               Alabama                            3/14/2020                   93.32%              94.19%                     88.98%
Southern               Alabama                            3/21/2020                   94.72%              93.86%                     80.66%
Southern               Alabama                            3/28/2020                   94.16%              94.27%                     82.73%
Southern               Alabama                             4/1/2020                   94.12%              93.69%                     87.68%
Southern               Alabama                             4/4/2020                   93.73%              93.93%                     88.96%
Southern               Alabama                            4/11/2020                   91.43%              92.54%                     76.13%
Southern               Alabama                            4/18/2020                   93.46%              93.44%                     84.55%
Southern               Alabama                            4/25/2020                   93.01%              92.54%                     81.66%
Southern               Alabama                             5/2/2020                   92.22%              91.39%                     79.59%
Southern               Alabama                             5/9/2020                   91.93%              84.63%                     65.69%
Southern               Alabama                            5/16/2020                   92.88%              86.15%                     76.73%
Southern               Alabama                            5/23/2020                   93.38%              89.63%                     71.94%
Southern               Alabama                            5/30/2020                   92.45%              89.43%                     73.48%
Southern               Alabama                             6/6/2020                   91.60%              87.84%                     71.85%
Southern               Alabama                            6/13/2020                   92.00%              84.46%                     67.63%
Southern               Alabama                            6/20/2020                   91.45%              83.79%                     72.57%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          47
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 48 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                  District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               Alabama                            6/27/2020                   90.63%              87.18%                     81.73%
Southern               Alabama                             7/1/2020                   92.38%              92.23%                     75.82%
Southern               Alabama                             7/4/2020                   91.04%              87.89%                     82.05%
Southern               Alabama                            7/11/2020                   88.21%              86.64%                     68.64%
Southern               Alabama                            7/18/2020                   87.64%              89.16%                     76.37%
Southern               Alabama                            7/25/2020                   87.53%              89.43%                     76.08%
Southern               Alabama                             8/1/2020                   86.30%              86.57%                     71.17%
Southern               Alabama                             8/8/2020                   84.59%              87.02%                     65.25%
Southern               Alabama                            8/15/2020                   88.60%              89.90%                     74.73%
Southern               Alabama                            8/22/2020                   89.06%              92.54%                     73.39%
Southern               Alabama                            8/29/2020                   86.46%              90.38%                     82.04%
Southern               Alabama                             9/5/2020                   83.93%              88.56%                     81.85%
Southern               Alabama                            9/12/2020                   82.33%              77.23%                     73.08%
Southern               Alabama                            9/19/2020                   75.32%              74.63%                     68.70%
Southern               Alabama                            9/26/2020                   80.02%              73.05%                     70.89%
Southern               Alabama                            10/3/2020                   79.65%              82.62%                     72.62%
Southern               Alabama                           10/10/2020                   78.78%              69.01%                     77.03%
Southern               Alabama                           10/17/2020                   75.26%              81.73%                     65.19%
Southern               Alabama                           10/24/2020                   80.33%              79.01%                     72.08%
Southern               Alabama                           10/31/2020                   83.85%              79.37%                     75.52%
Southern               Alabama                            11/7/2020                   85.69%              86.23%                     77.50%
Southern               Alabama                           11/14/2020                   86.15%              86.17%                     72.04%
Southern               Alabama                           11/21/2020                   82.23%              79.20%                     76.98%
Southern               Alabama                           11/28/2020                   71.04%              73.10%                     52.82%
Southern               Alabama                            12/5/2020                   67.25%              56.72%                     46.02%
Southern               Alabama                           12/12/2020                   60.04%              32.03%                     31.90%
Southern               Arkansas                            1/4/2020                   91.55%              89.90%                     87.59%
Southern               Arkansas                           1/11/2020                   92.74%              89.59%                     87.04%
Southern               Arkansas                           1/18/2020                   94.56%              90.61%                     90.27%
Southern               Arkansas                           1/25/2020                   92.24%              93.07%                     92.97%
Southern               Arkansas                            2/1/2020                   93.01%              92.40%                     87.56%
Southern               Arkansas                            2/8/2020                   93.07%              95.32%                     89.30%
Southern               Arkansas                           2/15/2020                   94.50%              94.07%                     89.58%
Southern               Arkansas                           2/22/2020                   92.22%              92.05%                     89.54%
Southern               Arkansas                           2/29/2020                   93.54%              95.07%                     87.01%
Southern               Arkansas                            3/7/2020                   93.10%              93.96%                     89.16%
Southern               Arkansas                           3/14/2020                   92.96%              93.41%                     86.17%
Southern               Arkansas                           3/21/2020                   94.32%              94.56%                     88.80%
Southern               Arkansas                           3/28/2020                   94.80%              95.20%                     78.26%
Southern               Arkansas                            4/1/2020                   93.72%              94.05%                     82.08%
Southern               Arkansas                            4/4/2020                   94.09%              95.62%                     88.79%
Southern               Arkansas                           4/11/2020                   93.12%              92.59%                     65.36%
Southern               Arkansas                           4/18/2020                   94.59%              95.45%                     86.69%
Southern               Arkansas                           4/25/2020                   93.60%              94.51%                     88.32%
Southern               Arkansas                            5/2/2020                   93.89%              93.68%                     84.01%
Southern               Arkansas                            5/9/2020                   92.97%              91.49%                     76.24%
Southern               Arkansas                           5/16/2020                   93.73%              89.72%                     86.17%
Southern               Arkansas                           5/23/2020                   93.35%              84.60%                     85.80%
Southern               Arkansas                           5/30/2020                   92.83%              86.92%                     77.15%
Southern               Arkansas                            6/6/2020                   92.56%              89.28%                     75.57%
Southern               Arkansas                           6/13/2020                   94.02%              92.12%                     80.36%
Southern               Arkansas                           6/20/2020                   92.43%              91.13%                     85.79%
Southern               Arkansas                           6/27/2020                   92.87%              93.78%                     84.29%
Southern               Arkansas                            7/1/2020                   92.70%              91.67%                     81.16%
Southern               Arkansas                            7/4/2020                   92.70%              86.56%                     79.11%
Southern               Arkansas                           7/11/2020                   88.97%              86.19%                     74.91%
Southern               Arkansas                           7/18/2020                   88.35%              85.90%                     75.58%
Southern               Arkansas                           7/25/2020                   88.27%              85.71%                     72.34%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          48
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 49 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                  District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               Arkansas                            8/1/2020                   88.02%              86.15%                     67.47%
Southern               Arkansas                            8/8/2020                   87.38%              87.37%                     67.41%
Southern               Arkansas                           8/15/2020                   88.08%              87.05%                     73.27%
Southern               Arkansas                           8/22/2020                   91.11%              86.80%                     79.33%
Southern               Arkansas                           8/29/2020                   90.53%              89.11%                     79.91%
Southern               Arkansas                            9/5/2020                   92.01%              84.13%                     68.86%
Southern               Arkansas                           9/12/2020                   88.64%              87.35%                     79.12%
Southern               Arkansas                           9/19/2020                   89.37%              89.33%                     82.11%
Southern               Arkansas                           9/26/2020                   89.98%              91.11%                     83.25%
Southern               Arkansas                           10/3/2020                   90.37%              94.01%                     78.89%
Southern               Arkansas                          10/10/2020                   89.88%              93.35%                     81.37%
Southern               Arkansas                          10/17/2020                   87.20%              92.26%                     76.02%
Southern               Arkansas                          10/24/2020                   88.43%              91.38%                     84.63%
Southern               Arkansas                          10/31/2020                   88.78%              92.24%                     78.62%
Southern               Arkansas                           11/7/2020                   90.01%              92.06%                     72.76%
Southern               Arkansas                          11/14/2020                   90.18%              93.07%                     83.52%
Southern               Arkansas                          11/21/2020                   88.28%              84.19%                     42.25%
Southern               Arkansas                          11/28/2020                   83.69%              76.26%                     72.87%
Southern               Arkansas                           12/5/2020                   82.95%              83.39%                     69.05%
Southern               Arkansas                          12/12/2020                   80.03%              85.47%                     57.13%
Southern               Dallas                              1/4/2020                   91.80%              89.63%                     80.93%
Southern               Dallas                             1/11/2020                   88.60%              80.52%                     75.81%
Southern               Dallas                             1/18/2020                   92.90%              84.18%                     73.88%
Southern               Dallas                             1/25/2020                   91.13%              87.50%                     87.23%
Southern               Dallas                              2/1/2020                   91.06%              86.77%                     82.54%
Southern               Dallas                              2/8/2020                   92.35%              90.02%                     84.40%
Southern               Dallas                             2/15/2020                   94.38%              91.37%                     85.41%
Southern               Dallas                             2/22/2020                   92.89%              92.08%                     86.19%
Southern               Dallas                             2/29/2020                   92.71%              89.90%                     82.76%
Southern               Dallas                              3/7/2020                   92.34%              91.46%                     84.51%
Southern               Dallas                             3/14/2020                   92.40%              89.80%                     82.97%
Southern               Dallas                             3/21/2020                   93.76%              91.99%                     84.92%
Southern               Dallas                             3/28/2020                   92.77%              93.87%                     79.93%
Southern               Dallas                              4/1/2020                   90.88%              86.37%                     87.17%
Southern               Dallas                              4/4/2020                   90.00%              90.63%                     72.75%
Southern               Dallas                             4/11/2020                   88.97%              92.32%                     76.81%
Southern               Dallas                             4/18/2020                   91.06%              94.36%                     89.63%
Southern               Dallas                             4/25/2020                   91.36%              92.20%                     90.89%
Southern               Dallas                              5/2/2020                   90.29%              91.64%                     83.95%
Southern               Dallas                              5/9/2020                   90.76%              90.57%                     56.56%
Southern               Dallas                             5/16/2020                   92.10%              92.92%                     83.32%
Southern               Dallas                             5/23/2020                   93.24%              90.60%                     81.61%
Southern               Dallas                             5/30/2020                   91.27%              92.85%                     81.91%
Southern               Dallas                              6/6/2020                   90.32%              91.76%                     81.31%
Southern               Dallas                             6/13/2020                   91.86%              92.72%                     82.65%
Southern               Dallas                             6/20/2020                   90.56%              92.41%                     78.23%
Southern               Dallas                             6/27/2020                   91.04%              94.91%                     79.53%
Southern               Dallas                              7/1/2020                   92.35%              88.97%                     83.92%
Southern               Dallas                              7/4/2020                   89.25%              87.40%                     73.83%
Southern               Dallas                             7/11/2020                   84.17%              69.00%                     66.23%
Southern               Dallas                             7/18/2020                   78.86%              64.08%                     55.72%
Southern               Dallas                             7/25/2020                   82.80%              83.44%                     57.69%
Southern               Dallas                              8/1/2020                   84.51%              84.69%                     62.74%
Southern               Dallas                              8/8/2020                   80.59%              85.33%                     52.44%
Southern               Dallas                             8/15/2020                   85.63%              86.65%                     58.72%
Southern               Dallas                             8/22/2020                   89.11%              92.15%                     67.86%
Southern               Dallas                             8/29/2020                   88.07%              92.21%                     83.01%
Southern               Dallas                              9/5/2020                   91.51%              90.49%                     80.27%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          49
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 50 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                  District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               Dallas                             9/12/2020                   86.97%              86.26%                     69.59%
Southern               Dallas                             9/19/2020                   86.21%              91.13%                     75.13%
Southern               Dallas                             9/26/2020                   88.38%              92.86%                     84.08%
Southern               Dallas                             10/3/2020                   87.14%              91.86%                     77.44%
Southern               Dallas                            10/10/2020                   85.64%              92.19%                     76.62%
Southern               Dallas                            10/17/2020                   83.87%              90.61%                     73.19%
Southern               Dallas                            10/24/2020                   83.46%              89.55%                     81.66%
Southern               Dallas                            10/31/2020                   87.14%              89.13%                     69.19%
Southern               Dallas                             11/7/2020                   86.58%              91.48%                     78.43%
Southern               Dallas                            11/14/2020                   88.40%              92.20%                     72.24%
Southern               Dallas                            11/21/2020                   83.93%              87.73%                     68.84%
Southern               Dallas                            11/28/2020                   78.90%              87.11%                     51.28%
Southern               Dallas                             12/5/2020                   69.70%              82.29%                     37.58%
Southern               Dallas                            12/12/2020                   63.06%              73.56%                     35.06%
Southern               Ft Worth                            1/4/2020                   91.70%              93.16%                     85.46%
Southern               Ft Worth                           1/11/2020                   92.02%              91.74%                     88.31%
Southern               Ft Worth                           1/18/2020                   93.46%              89.11%                     79.39%
Southern               Ft Worth                           1/25/2020                   90.94%              92.26%                     89.70%
Southern               Ft Worth                            2/1/2020                   88.78%              90.13%                     81.37%
Southern               Ft Worth                            2/8/2020                   91.51%              92.21%                     87.42%
Southern               Ft Worth                           2/15/2020                   94.10%              91.94%                     84.52%
Southern               Ft Worth                           2/22/2020                   92.46%              91.69%                     79.75%
Southern               Ft Worth                           2/29/2020                   92.97%              93.61%                     82.20%
Southern               Ft Worth                            3/7/2020                   92.36%              91.64%                     75.62%
Southern               Ft Worth                           3/14/2020                   90.47%              86.51%                     80.77%
Southern               Ft Worth                           3/21/2020                   93.25%              93.15%                     85.54%
Southern               Ft Worth                           3/28/2020                   92.02%              94.45%                     89.48%
Southern               Ft Worth                            4/1/2020                   93.42%              89.98%                     79.26%
Southern               Ft Worth                            4/4/2020                   92.19%              95.93%                     87.42%
Southern               Ft Worth                           4/11/2020                   91.27%              93.73%                     83.87%
Southern               Ft Worth                           4/18/2020                   92.83%              95.76%                     84.42%
Southern               Ft Worth                           4/25/2020                   92.24%              89.29%                     82.38%
Southern               Ft Worth                            5/2/2020                   90.05%              86.08%                     62.41%
Southern               Ft Worth                            5/9/2020                   89.74%              85.79%                     62.08%
Southern               Ft Worth                           5/16/2020                   90.70%              83.03%                     61.40%
Southern               Ft Worth                           5/23/2020                   92.71%              88.79%                     70.03%
Southern               Ft Worth                           5/30/2020                   91.21%              94.75%                     82.97%
Southern               Ft Worth                            6/6/2020                   89.29%              92.35%                     82.61%
Southern               Ft Worth                           6/13/2020                   90.19%              91.59%                     78.94%
Southern               Ft Worth                           6/20/2020                   89.92%              90.99%                     78.85%
Southern               Ft Worth                           6/27/2020                   88.94%              91.68%                     71.56%
Southern               Ft Worth                            7/1/2020                   91.63%              91.47%                     76.97%
Southern               Ft Worth                            7/4/2020                   89.71%              89.18%                     71.24%
Southern               Ft Worth                           7/11/2020                   84.01%              81.22%                     66.65%
Southern               Ft Worth                           7/18/2020                   80.50%              73.87%                     58.57%
Southern               Ft Worth                           7/25/2020                   82.53%              80.50%                     69.62%
Southern               Ft Worth                            8/1/2020                   81.48%              83.04%                     72.51%
Southern               Ft Worth                            8/8/2020                   84.09%              82.33%                     61.84%
Southern               Ft Worth                           8/15/2020                   86.04%              84.53%                     58.56%
Southern               Ft Worth                           8/22/2020                   88.49%              87.40%                     73.43%
Southern               Ft Worth                           8/29/2020                   87.79%              88.57%                     78.75%
Southern               Ft Worth                            9/5/2020                   89.06%              87.26%                     82.03%
Southern               Ft Worth                           9/12/2020                   85.54%              87.25%                     85.55%
Southern               Ft Worth                           9/19/2020                   88.67%              92.22%                     85.54%
Southern               Ft Worth                           9/26/2020                   89.41%              93.08%                     85.29%
Southern               Ft Worth                           10/3/2020                   89.97%              93.50%                     85.53%
Southern               Ft Worth                          10/10/2020                   88.70%              93.45%                     87.32%
Southern               Ft Worth                          10/17/2020                   83.72%              88.31%                     77.41%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          50
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 51 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                    District                Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               Ft Worth                          10/24/2020                   84.66%              89.36%                     88.20%
Southern               Ft Worth                          10/31/2020                   89.41%              92.81%                     81.95%
Southern               Ft Worth                           11/7/2020                   88.26%              94.19%                     84.30%
Southern               Ft Worth                          11/14/2020                   91.13%              94.72%                     85.08%
Southern               Ft Worth                          11/21/2020                   87.85%              94.08%                     85.20%
Southern               Ft Worth                          11/28/2020                   84.32%              91.95%                     64.96%
Southern               Ft Worth                           12/5/2020                   74.87%              85.46%                     74.20%
Southern               Ft Worth                          12/12/2020                   78.39%              82.56%                     56.89%
Southern               Gulf Atlantic                       1/4/2020                   92.29%              92.87%                     87.45%
Southern               Gulf Atlantic                      1/11/2020                   91.84%              90.51%                     87.60%
Southern               Gulf Atlantic                      1/18/2020                   94.00%              88.89%                     90.35%
Southern               Gulf Atlantic                      1/25/2020                   91.66%              88.33%                     86.35%
Southern               Gulf Atlantic                       2/1/2020                   92.47%              91.38%                     85.68%
Southern               Gulf Atlantic                       2/8/2020                   93.11%              90.65%                     84.77%
Southern               Gulf Atlantic                      2/15/2020                   93.92%              89.41%                     90.74%
Southern               Gulf Atlantic                      2/22/2020                   92.23%              93.08%                     89.50%
Southern               Gulf Atlantic                      2/29/2020                   93.88%              91.54%                     84.11%
Southern               Gulf Atlantic                       3/7/2020                   92.23%              90.86%                     87.92%
Southern               Gulf Atlantic                      3/14/2020                   91.97%              88.02%                     83.22%
Southern               Gulf Atlantic                      3/21/2020                   93.71%              93.31%                     90.18%
Southern               Gulf Atlantic                      3/28/2020                   93.96%              95.83%                     88.01%
Southern               Gulf Atlantic                       4/1/2020                   94.63%              92.56%                     89.21%
Southern               Gulf Atlantic                       4/4/2020                   92.24%              95.10%                     88.67%
Southern               Gulf Atlantic                      4/11/2020                   92.69%              94.38%                     80.85%
Southern               Gulf Atlantic                      4/18/2020                   93.70%              92.24%                     85.27%
Southern               Gulf Atlantic                      4/25/2020                   92.14%              92.56%                     81.49%
Southern               Gulf Atlantic                       5/2/2020                   92.86%              93.63%                     76.68%
Southern               Gulf Atlantic                       5/9/2020                   92.12%              92.07%                     77.30%
Southern               Gulf Atlantic                      5/16/2020                   93.08%              93.36%                     85.07%
Southern               Gulf Atlantic                      5/23/2020                   93.64%              91.32%                     84.21%
Southern               Gulf Atlantic                      5/30/2020                   91.71%              91.52%                     78.98%
Southern               Gulf Atlantic                       6/6/2020                   91.89%              90.85%                     83.14%
Southern               Gulf Atlantic                      6/13/2020                   92.80%              90.94%                     72.93%
Southern               Gulf Atlantic                      6/20/2020                   91.54%              92.28%                     86.49%
Southern               Gulf Atlantic                      6/27/2020                   91.48%              93.93%                     83.10%
Southern               Gulf Atlantic                       7/1/2020                   93.72%              91.42%                     83.06%
Southern               Gulf Atlantic                       7/4/2020                   92.00%              90.01%                     83.03%
Southern               Gulf Atlantic                      7/11/2020                   86.72%              83.12%                     80.75%
Southern               Gulf Atlantic                      7/18/2020                   83.76%              80.64%                     70.55%
Southern               Gulf Atlantic                      7/25/2020                   88.26%              86.90%                     67.29%
Southern               Gulf Atlantic                       8/1/2020                   86.26%              81.72%                     61.06%
Southern               Gulf Atlantic                       8/8/2020                   85.15%              87.27%                     71.49%
Southern               Gulf Atlantic                      8/15/2020                   88.83%              89.12%                     76.32%
Southern               Gulf Atlantic                      8/22/2020                   88.89%              90.23%                     73.64%
Southern               Gulf Atlantic                      8/29/2020                   89.51%              90.02%                     80.57%
Southern               Gulf Atlantic                       9/5/2020                   89.11%              88.26%                     82.17%
Southern               Gulf Atlantic                      9/12/2020                   87.14%              88.43%                     77.92%
Southern               Gulf Atlantic                      9/19/2020                   80.56%              87.07%                     80.19%
Southern               Gulf Atlantic                      9/26/2020                   82.56%              86.75%                     72.99%
Southern               Gulf Atlantic                      10/3/2020                   83.34%              86.26%                     74.88%
Southern               Gulf Atlantic                     10/10/2020                   82.69%              83.10%                     78.64%
Southern               Gulf Atlantic                     10/17/2020                   76.16%              83.37%                     75.74%
Southern               Gulf Atlantic                     10/24/2020                   77.38%              77.47%                     73.30%
Southern               Gulf Atlantic                     10/31/2020                   81.74%              77.59%                     75.44%
Southern               Gulf Atlantic                      11/7/2020                   83.73%              80.23%                     74.24%
Southern               Gulf Atlantic                     11/14/2020                   86.57%              90.48%                     80.03%
Southern               Gulf Atlantic                     11/21/2020                   84.37%              92.03%                     79.55%
Southern               Gulf Atlantic                     11/28/2020                   78.34%              87.64%                     73.16%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          51
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 52 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                    District                Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               Gulf Atlantic                      12/5/2020                   76.46%              89.55%                     62.82%
Southern               Gulf Atlantic                     12/12/2020                   75.13%              89.35%                     30.95%
Southern               Houston                             1/4/2020                   91.35%              89.75%                     87.43%
Southern               Houston                            1/11/2020                   88.08%              83.91%                     83.10%
Southern               Houston                            1/18/2020                   91.91%              87.72%                     84.32%
Southern               Houston                            1/25/2020                   89.89%              90.04%                     89.37%
Southern               Houston                             2/1/2020                   87.92%              88.21%                     86.36%
Southern               Houston                             2/8/2020                   89.27%              91.75%                     87.50%
Southern               Houston                            2/15/2020                   91.76%              92.40%                     86.10%
Southern               Houston                            2/22/2020                   90.66%              93.32%                     86.15%
Southern               Houston                            2/29/2020                   92.12%              92.51%                     86.23%
Southern               Houston                             3/7/2020                   90.47%              92.03%                     87.02%
Southern               Houston                            3/14/2020                   86.45%              88.57%                     86.36%
Southern               Houston                            3/21/2020                   90.93%              93.37%                     88.29%
Southern               Houston                            3/28/2020                   91.73%              95.64%                     91.87%
Southern               Houston                             4/1/2020                   93.78%              94.37%                     81.34%
Southern               Houston                             4/4/2020                   92.27%              95.36%                     86.81%
Southern               Houston                            4/11/2020                   88.96%              95.05%                     84.69%
Southern               Houston                            4/18/2020                   91.17%              95.17%                     86.59%
Southern               Houston                            4/25/2020                   91.09%              93.15%                     77.29%
Southern               Houston                             5/2/2020                   90.37%              90.69%                     73.94%
Southern               Houston                             5/9/2020                   87.69%              88.46%                     62.20%
Southern               Houston                            5/16/2020                   89.91%              93.30%                     78.23%
Southern               Houston                            5/23/2020                   91.81%              91.80%                     83.26%
Southern               Houston                            5/30/2020                   90.26%              94.29%                     87.47%
Southern               Houston                             6/6/2020                   90.71%              92.75%                     86.25%
Southern               Houston                            6/13/2020                   91.07%              90.85%                     84.42%
Southern               Houston                            6/20/2020                   90.53%              92.73%                     84.79%
Southern               Houston                            6/27/2020                   91.04%              92.73%                     83.93%
Southern               Houston                             7/1/2020                   91.95%              91.38%                     91.69%
Southern               Houston                             7/4/2020                   91.44%              86.45%                     78.27%
Southern               Houston                            7/11/2020                   83.98%              86.02%                     81.47%
Southern               Houston                            7/18/2020                   80.81%              86.92%                     73.68%
Southern               Houston                            7/25/2020                   82.02%              82.90%                     75.26%
Southern               Houston                             8/1/2020                   81.80%              83.58%                     76.67%
Southern               Houston                             8/8/2020                   78.45%              85.23%                     71.59%
Southern               Houston                            8/15/2020                   84.55%              87.57%                     66.58%
Southern               Houston                            8/22/2020                   88.39%              91.73%                     78.41%
Southern               Houston                            8/29/2020                   86.00%              92.03%                     87.85%
Southern               Houston                             9/5/2020                   90.19%              89.18%                     79.45%
Southern               Houston                            9/12/2020                   87.46%              92.44%                     87.57%
Southern               Houston                            9/19/2020                   86.17%              92.67%                     80.10%
Southern               Houston                            9/26/2020                   86.78%              93.23%                     76.05%
Southern               Houston                            10/3/2020                   86.29%              94.46%                     82.11%
Southern               Houston                           10/10/2020                   89.33%              92.88%                     80.83%
Southern               Houston                           10/17/2020                   83.77%              92.68%                     84.95%
Southern               Houston                           10/24/2020                   83.37%              92.32%                     86.50%
Southern               Houston                           10/31/2020                   89.09%              94.03%                     87.84%
Southern               Houston                            11/7/2020                   87.23%              92.78%                     84.77%
Southern               Houston                           11/14/2020                   89.95%              94.80%                     85.01%
Southern               Houston                           11/21/2020                   87.38%              94.99%                     80.89%
Southern               Houston                           11/28/2020                   81.47%              91.00%                     84.12%
Southern               Houston                            12/5/2020                   77.07%              88.69%                     74.27%
Southern               Houston                           12/12/2020                   75.35%              90.93%                     77.24%
Southern               Louisiana                           1/4/2020                   91.39%              88.65%                     81.19%
Southern               Louisiana                          1/11/2020                   91.75%              88.40%                     83.32%
Southern               Louisiana                          1/18/2020                   93.51%              84.50%                     84.26%
Southern               Louisiana                          1/25/2020                   92.13%              89.56%                     87.38%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          52
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 53 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               Louisiana                           2/1/2020                   92.31%              88.31%                     85.00%
Southern               Louisiana                           2/8/2020                   91.66%              88.98%                     80.45%
Southern               Louisiana                          2/15/2020                   92.98%              88.21%                     78.41%
Southern               Louisiana                          2/22/2020                   90.00%              82.86%                     77.99%
Southern               Louisiana                          2/29/2020                   92.59%              88.41%                     83.03%
Southern               Louisiana                           3/7/2020                   91.54%              87.60%                     79.81%
Southern               Louisiana                          3/14/2020                   92.31%              85.86%                     76.11%
Southern               Louisiana                          3/21/2020                   93.29%              91.12%                     83.57%
Southern               Louisiana                          3/28/2020                   91.42%              91.76%                     78.81%
Southern               Louisiana                           4/1/2020                   93.21%              87.94%                     63.34%
Southern               Louisiana                           4/4/2020                   94.15%              90.55%                     83.47%
Southern               Louisiana                          4/11/2020                   91.23%              91.65%                     71.48%
Southern               Louisiana                          4/18/2020                   92.67%              89.90%                     85.97%
Southern               Louisiana                          4/25/2020                   90.71%              86.28%                     70.10%
Southern               Louisiana                           5/2/2020                   91.32%              90.01%                     76.58%
Southern               Louisiana                           5/9/2020                   90.58%              86.92%                     58.99%
Southern               Louisiana                          5/16/2020                   91.70%              86.07%                     73.95%
Southern               Louisiana                          5/23/2020                   91.68%              85.03%                     78.81%
Southern               Louisiana                          5/30/2020                   91.29%              85.30%                     70.48%
Southern               Louisiana                           6/6/2020                   89.03%              82.13%                     68.03%
Southern               Louisiana                          6/13/2020                   91.20%              87.13%                     69.01%
Southern               Louisiana                          6/20/2020                   86.00%              85.97%                     66.27%
Southern               Louisiana                          6/27/2020                   85.38%              85.51%                     79.82%
Southern               Louisiana                           7/1/2020                   89.43%              82.96%                     70.07%
Southern               Louisiana                           7/4/2020                   88.04%              79.19%                     65.41%
Southern               Louisiana                          7/11/2020                   83.75%              75.80%                     58.57%
Southern               Louisiana                          7/18/2020                   81.80%              68.22%                     61.33%
Southern               Louisiana                          7/25/2020                   80.49%              70.34%                     49.94%
Southern               Louisiana                           8/1/2020                   82.08%              69.30%                     45.12%
Southern               Louisiana                           8/8/2020                   73.71%              73.13%                     42.82%
Southern               Louisiana                          8/15/2020                   79.20%              80.59%                     53.34%
Southern               Louisiana                          8/22/2020                   74.01%              82.49%                     56.21%
Southern               Louisiana                          8/29/2020                   82.18%              86.73%                     60.95%
Southern               Louisiana                           9/5/2020                   85.97%              83.06%                     73.33%
Southern               Louisiana                          9/12/2020                   83.52%              84.85%                     65.09%
Southern               Louisiana                          9/19/2020                   83.83%              85.67%                     77.52%
Southern               Louisiana                          9/26/2020                   87.72%              87.39%                     65.82%
Southern               Louisiana                          10/3/2020                   87.83%              90.58%                     64.90%
Southern               Louisiana                         10/10/2020                   83.42%              85.63%                     63.96%
Southern               Louisiana                         10/17/2020                   83.82%              84.88%                     64.71%
Southern               Louisiana                         10/24/2020                   83.86%              84.92%                     65.38%
Southern               Louisiana                         10/31/2020                   85.73%              81.34%                     60.90%
Southern               Louisiana                          11/7/2020                   86.42%              87.47%                     59.32%
Southern               Louisiana                         11/14/2020                   88.83%              89.18%                     72.50%
Southern               Louisiana                         11/21/2020                   88.41%              90.94%                     72.29%
Southern               Louisiana                         11/28/2020                   85.45%              87.18%                     68.31%
Southern               Louisiana                          12/5/2020                   83.05%              84.95%                     66.78%
Southern               Louisiana                         12/12/2020                   83.75%              85.75%                     60.81%
Southern               Mississippi                         1/4/2020                   90.57%              91.96%                     80.94%
Southern               Mississippi                        1/11/2020                   91.83%              88.43%                     82.97%
Southern               Mississippi                        1/18/2020                   93.09%              84.44%                     93.10%
Southern               Mississippi                        1/25/2020                   91.30%              86.87%                     87.49%
Southern               Mississippi                         2/1/2020                   90.28%              90.11%                     79.62%
Southern               Mississippi                         2/8/2020                   92.62%              91.65%                     89.83%
Southern               Mississippi                        2/15/2020                   94.26%              89.74%                     88.95%
Southern               Mississippi                        2/22/2020                   92.49%              92.61%                     84.94%
Southern               Mississippi                        2/29/2020                   93.33%              93.62%                     85.93%
Southern               Mississippi                         3/7/2020                   92.41%              90.19%                     87.92%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          53
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 54 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               Mississippi                        3/14/2020                   91.27%              87.37%                     89.49%
Southern               Mississippi                        3/21/2020                   93.97%              93.65%                     88.36%
Southern               Mississippi                        3/28/2020                   94.78%              94.69%                     77.39%
Southern               Mississippi                         4/1/2020                   93.77%              92.05%                     87.58%
Southern               Mississippi                         4/4/2020                   94.09%              94.81%                     86.52%
Southern               Mississippi                        4/11/2020                   91.00%              94.42%                     88.22%
Southern               Mississippi                        4/18/2020                   94.46%              91.05%                     85.26%
Southern               Mississippi                        4/25/2020                   91.93%              92.65%                     72.38%
Southern               Mississippi                         5/2/2020                   91.83%              88.41%                     71.15%
Southern               Mississippi                         5/9/2020                   92.03%              89.01%                     84.06%
Southern               Mississippi                        5/16/2020                   91.85%              87.46%                     72.09%
Southern               Mississippi                        5/23/2020                   92.57%              85.57%                     74.66%
Southern               Mississippi                        5/30/2020                   90.68%              84.77%                     52.76%
Southern               Mississippi                         6/6/2020                   88.96%              81.65%                     56.19%
Southern               Mississippi                        6/13/2020                   90.76%              85.71%                     65.85%
Southern               Mississippi                        6/20/2020                   89.71%              91.11%                     78.81%
Southern               Mississippi                        6/27/2020                   92.15%              90.35%                     77.12%
Southern               Mississippi                         7/1/2020                   91.91%              85.89%                     31.48%
Southern               Mississippi                         7/4/2020                   90.68%              83.44%                     54.60%
Southern               Mississippi                        7/11/2020                   90.19%              83.16%                     72.67%
Southern               Mississippi                        7/18/2020                   86.62%              76.84%                     76.22%
Southern               Mississippi                        7/25/2020                   87.68%              80.16%                     74.94%
Southern               Mississippi                         8/1/2020                   86.74%              80.39%                     75.93%
Southern               Mississippi                         8/8/2020                   86.76%              88.38%                     76.60%
Southern               Mississippi                        8/15/2020                   87.26%              88.83%                     79.73%
Southern               Mississippi                        8/22/2020                   89.44%              86.29%                     73.44%
Southern               Mississippi                        8/29/2020                   89.68%              90.15%                     84.93%
Southern               Mississippi                         9/5/2020                   88.95%              80.63%                     50.80%
Southern               Mississippi                        9/12/2020                   81.86%              77.94%                     74.97%
Southern               Mississippi                        9/19/2020                   79.85%              80.35%                     82.21%
Southern               Mississippi                        9/26/2020                   80.81%              88.49%                     80.96%
Southern               Mississippi                        10/3/2020                   77.46%              87.53%                     86.90%
Southern               Mississippi                       10/10/2020                   78.09%              81.38%                     79.96%
Southern               Mississippi                       10/17/2020                   74.06%              85.69%                     72.45%
Southern               Mississippi                       10/24/2020                   77.55%              83.53%                     83.42%
Southern               Mississippi                       10/31/2020                   81.67%              84.41%                     85.29%
Southern               Mississippi                        11/7/2020                   84.10%              78.94%                     60.55%
Southern               Mississippi                       11/14/2020                   85.36%              84.25%                     83.36%
Southern               Mississippi                       11/21/2020                   81.29%              86.45%                     65.75%
Southern               Mississippi                       11/28/2020                   78.55%              78.06%                     69.51%
Southern               Mississippi                        12/5/2020                   73.66%              73.22%                     42.91%
Southern               Mississippi                       12/12/2020                   71.42%              67.82%                     34.75%
Southern               Oklahoma                            1/4/2020                   94.49%              93.72%                     88.59%
Southern               Oklahoma                           1/11/2020                   93.33%              90.38%                     89.42%
Southern               Oklahoma                           1/18/2020                   94.86%              92.45%                     89.85%
Southern               Oklahoma                           1/25/2020                   93.54%              92.92%                     92.97%
Southern               Oklahoma                            2/1/2020                   93.10%              92.08%                     92.77%
Southern               Oklahoma                            2/8/2020                   92.77%              93.87%                     92.54%
Southern               Oklahoma                           2/15/2020                   95.39%              92.54%                     92.52%
Southern               Oklahoma                           2/22/2020                   94.19%              93.86%                     91.87%
Southern               Oklahoma                           2/29/2020                   94.71%              94.19%                     86.70%
Southern               Oklahoma                            3/7/2020                   94.62%              93.60%                     91.95%
Southern               Oklahoma                           3/14/2020                   93.89%              93.87%                     87.21%
Southern               Oklahoma                           3/21/2020                   94.97%              94.06%                     93.26%
Southern               Oklahoma                           3/28/2020                   95.28%              95.95%                     90.60%
Southern               Oklahoma                            4/1/2020                   95.83%              92.91%                     97.05%
Southern               Oklahoma                            4/4/2020                   93.99%              94.97%                     91.19%
Southern               Oklahoma                           4/11/2020                   94.48%              94.89%                     87.69%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          54
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 55 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               Oklahoma                           4/18/2020                   95.02%              95.66%                     89.07%
Southern               Oklahoma                           4/25/2020                   93.90%              93.63%                     90.10%
Southern               Oklahoma                            5/2/2020                   92.67%              91.53%                     85.18%
Southern               Oklahoma                            5/9/2020                   93.42%              92.85%                     89.58%
Southern               Oklahoma                           5/16/2020                   94.14%              94.25%                     86.48%
Southern               Oklahoma                           5/23/2020                   94.25%              91.23%                     87.49%
Southern               Oklahoma                           5/30/2020                   92.91%              93.32%                     90.57%
Southern               Oklahoma                            6/6/2020                   93.22%              92.55%                     88.75%
Southern               Oklahoma                           6/13/2020                   93.72%              94.75%                     86.45%
Southern               Oklahoma                           6/20/2020                   93.37%              94.32%                     88.47%
Southern               Oklahoma                           6/27/2020                   93.44%              95.01%                     85.53%
Southern               Oklahoma                            7/1/2020                   92.98%              92.97%                     91.41%
Southern               Oklahoma                            7/4/2020                   92.61%              92.25%                     79.47%
Southern               Oklahoma                           7/11/2020                   89.79%              87.33%                     85.92%
Southern               Oklahoma                           7/18/2020                   88.83%              84.37%                     80.93%
Southern               Oklahoma                           7/25/2020                   90.28%              87.72%                     71.68%
Southern               Oklahoma                            8/1/2020                   89.18%              84.16%                     83.80%
Southern               Oklahoma                            8/8/2020                   85.15%              87.52%                     67.68%
Southern               Oklahoma                           8/15/2020                   89.64%              91.21%                     84.36%
Southern               Oklahoma                           8/22/2020                   92.89%              94.74%                     87.26%
Southern               Oklahoma                           8/29/2020                   92.59%              93.47%                     93.22%
Southern               Oklahoma                            9/5/2020                   93.28%              89.32%                     84.93%
Southern               Oklahoma                           9/12/2020                   89.93%              89.67%                     89.38%
Southern               Oklahoma                           9/19/2020                   90.23%              92.12%                     88.90%
Southern               Oklahoma                           9/26/2020                   90.68%              93.30%                     90.89%
Southern               Oklahoma                           10/3/2020                   90.36%              94.37%                     90.10%
Southern               Oklahoma                          10/10/2020                   92.42%              93.07%                     87.33%
Southern               Oklahoma                          10/17/2020                   88.83%              94.85%                     83.65%
Southern               Oklahoma                          10/24/2020                   89.06%              94.02%                     87.27%
Southern               Oklahoma                          10/31/2020                   91.34%              94.15%                     90.34%
Southern               Oklahoma                           11/7/2020                   91.60%              94.50%                     82.63%
Southern               Oklahoma                          11/14/2020                   91.71%              95.08%                     88.35%
Southern               Oklahoma                          11/21/2020                   89.13%              93.05%                     81.78%
Southern               Oklahoma                          11/28/2020                   85.15%              93.08%                     90.84%
Southern               Oklahoma                           12/5/2020                   83.05%              81.84%                     69.23%
Southern               Oklahoma                          12/12/2020                   81.71%              76.61%                     42.46%
Southern               Rio Grande                          1/4/2020                   92.24%              92.80%                     86.08%
Southern               Rio Grande                         1/11/2020                   92.95%              90.41%                     89.65%
Southern               Rio Grande                         1/18/2020                   94.55%              90.02%                     89.66%
Southern               Rio Grande                         1/25/2020                   92.61%              93.29%                     92.43%
Southern               Rio Grande                          2/1/2020                   92.82%              92.19%                     86.99%
Southern               Rio Grande                          2/8/2020                   92.82%              94.33%                     88.52%
Southern               Rio Grande                         2/15/2020                   94.77%              92.87%                     90.09%
Southern               Rio Grande                         2/22/2020                   93.30%              94.68%                     87.18%
Southern               Rio Grande                         2/29/2020                   92.61%              93.53%                     90.54%
Southern               Rio Grande                          3/7/2020                   92.50%              93.90%                     86.71%
Southern               Rio Grande                         3/14/2020                   93.18%              93.59%                     86.81%
Southern               Rio Grande                         3/21/2020                   93.17%              94.06%                     87.05%
Southern               Rio Grande                         3/28/2020                   93.08%              96.19%                     91.16%
Southern               Rio Grande                          4/1/2020                   93.15%              93.99%                     93.87%
Southern               Rio Grande                          4/4/2020                   93.58%              95.67%                     91.16%
Southern               Rio Grande                         4/11/2020                   92.13%              94.48%                     83.47%
Southern               Rio Grande                         4/18/2020                   92.58%              94.98%                     90.58%
Southern               Rio Grande                         4/25/2020                   92.25%              94.20%                     86.65%
Southern               Rio Grande                          5/2/2020                   91.45%              92.74%                     84.17%
Southern               Rio Grande                          5/9/2020                   91.21%              93.44%                     83.51%
Southern               Rio Grande                         5/16/2020                   92.63%              94.43%                     83.60%
Southern               Rio Grande                         5/23/2020                   93.03%              91.99%                     83.35%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          55
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 56 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               Rio Grande                         5/30/2020                   92.14%              93.76%                     85.73%
Southern               Rio Grande                          6/6/2020                   91.71%              92.80%                     81.71%
Southern               Rio Grande                         6/13/2020                   91.51%              91.29%                     82.13%
Southern               Rio Grande                         6/20/2020                   90.80%              91.48%                     77.38%
Southern               Rio Grande                         6/27/2020                   89.60%              90.00%                     71.83%
Southern               Rio Grande                          7/1/2020                   92.30%              91.17%                     83.20%
Southern               Rio Grande                          7/4/2020                   92.24%              85.61%                     73.28%
Southern               Rio Grande                         7/11/2020                   82.66%              69.08%                     74.14%
Southern               Rio Grande                         7/18/2020                   85.69%              75.00%                     68.65%
Southern               Rio Grande                         7/25/2020                   85.26%              74.65%                     73.99%
Southern               Rio Grande                          8/1/2020                   86.58%              79.06%                     69.58%
Southern               Rio Grande                          8/8/2020                   85.21%              86.08%                     71.05%
Southern               Rio Grande                         8/15/2020                   88.28%              89.10%                     74.77%
Southern               Rio Grande                         8/22/2020                   89.16%              93.69%                     77.70%
Southern               Rio Grande                         8/29/2020                   89.54%              94.99%                     90.16%
Southern               Rio Grande                          9/5/2020                   90.64%              89.97%                     82.16%
Southern               Rio Grande                         9/12/2020                   89.48%              89.83%                     81.04%
Southern               Rio Grande                         9/19/2020                   88.77%              91.14%                     82.30%
Southern               Rio Grande                         9/26/2020                   88.10%              93.35%                     84.17%
Southern               Rio Grande                         10/3/2020                   89.64%              94.21%                     89.29%
Southern               Rio Grande                        10/10/2020                   90.46%              92.87%                     82.25%
Southern               Rio Grande                        10/17/2020                   85.50%              90.35%                     79.67%
Southern               Rio Grande                        10/24/2020                   88.47%              91.45%                     85.98%
Southern               Rio Grande                        10/31/2020                   90.07%              93.18%                     84.29%
Southern               Rio Grande                         11/7/2020                   90.70%              92.80%                     78.02%
Southern               Rio Grande                        11/14/2020                   90.60%              93.15%                     80.62%
Southern               Rio Grande                        11/21/2020                   88.24%              91.01%                     81.91%
Southern               Rio Grande                        11/28/2020                   84.15%              92.88%                     71.85%
Southern               Rio Grande                         12/5/2020                   80.85%              89.27%                     50.72%
Southern               Rio Grande                        12/12/2020                   80.73%              79.10%                     60.29%
Southern               South Florida                       1/4/2020                   91.89%              91.07%                     84.43%
Southern               South Florida                      1/11/2020                   91.12%              88.70%                     84.90%
Southern               South Florida                      1/18/2020                   93.19%              87.56%                     86.37%
Southern               South Florida                      1/25/2020                   91.71%              88.87%                     86.17%
Southern               South Florida                       2/1/2020                   90.94%              87.46%                     86.83%
Southern               South Florida                       2/8/2020                   90.57%              89.29%                     85.75%
Southern               South Florida                      2/15/2020                   92.49%              89.49%                     86.84%
Southern               South Florida                      2/22/2020                   92.55%              91.78%                     87.89%
Southern               South Florida                      2/29/2020                   93.24%              90.24%                     85.82%
Southern               South Florida                       3/7/2020                   92.29%              90.49%                     83.10%
Southern               South Florida                      3/14/2020                   92.66%              91.24%                     82.91%
Southern               South Florida                      3/21/2020                   92.65%              92.00%                     84.78%
Southern               South Florida                      3/28/2020                   92.42%              94.00%                     78.10%
Southern               South Florida                       4/1/2020                   92.73%              91.18%                     86.47%
Southern               South Florida                       4/4/2020                   91.43%              93.30%                     85.13%
Southern               South Florida                      4/11/2020                   90.58%              93.30%                     81.06%
Southern               South Florida                      4/18/2020                   91.84%              91.88%                     79.50%
Southern               South Florida                      4/25/2020                   91.80%              89.50%                     81.66%
Southern               South Florida                       5/2/2020                   91.79%              92.27%                     79.69%
Southern               South Florida                       5/9/2020                   88.90%              90.66%                     71.32%
Southern               South Florida                      5/16/2020                   90.98%              90.61%                     71.75%
Southern               South Florida                      5/23/2020                   92.11%              86.73%                     74.64%
Southern               South Florida                      5/30/2020                   89.44%              90.38%                     80.08%
Southern               South Florida                       6/6/2020                   90.64%              89.18%                     68.24%
Southern               South Florida                      6/13/2020                   91.65%              90.46%                     86.68%
Southern               South Florida                      6/20/2020                   89.60%              88.62%                     82.72%
Southern               South Florida                      6/27/2020                   89.11%              92.28%                     80.13%
Southern               South Florida                       7/1/2020                   91.77%              91.19%                     77.48%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          56
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 57 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               South Florida                       7/4/2020                   90.57%              89.04%                     76.72%
Southern               South Florida                      7/11/2020                   85.21%              82.13%                     70.95%
Southern               South Florida                      7/18/2020                   77.95%              78.42%                     67.67%
Southern               South Florida                      7/25/2020                   84.11%              81.30%                     69.12%
Southern               South Florida                       8/1/2020                   80.16%              78.38%                     65.64%
Southern               South Florida                       8/8/2020                   79.67%              79.57%                     71.66%
Southern               South Florida                      8/15/2020                   80.82%              79.62%                     68.76%
Southern               South Florida                      8/22/2020                   85.47%              82.99%                     73.90%
Southern               South Florida                      8/29/2020                   85.03%              85.49%                     70.73%
Southern               South Florida                       9/5/2020                   86.57%              85.43%                     79.44%
Southern               South Florida                      9/12/2020                   86.93%              86.64%                     74.96%
Southern               South Florida                      9/19/2020                   84.80%              87.57%                     78.93%
Southern               South Florida                      9/26/2020                   84.38%              89.39%                     65.28%
Southern               South Florida                      10/3/2020                   82.79%              83.81%                     64.05%
Southern               South Florida                     10/10/2020                   83.47%              75.18%                     65.18%
Southern               South Florida                     10/17/2020                   78.72%              84.01%                     70.10%
Southern               South Florida                     10/24/2020                   76.96%              84.65%                     66.25%
Southern               South Florida                     10/31/2020                   79.87%              79.29%                     65.20%
Southern               South Florida                      11/7/2020                   81.83%              82.53%                     70.04%
Southern               South Florida                     11/14/2020                   85.12%              85.79%                     70.31%
Southern               South Florida                     11/21/2020                   82.24%              90.25%                     61.84%
Southern               South Florida                     11/28/2020                   74.73%              83.51%                     60.19%
Southern               South Florida                      12/5/2020                   70.89%              83.98%                     52.97%
Southern               South Florida                     12/12/2020                   70.97%              84.28%                     66.50%
Southern               Suncoast                            1/4/2020                   90.93%              89.27%                     84.10%
Southern               Suncoast                           1/11/2020                   91.40%              85.89%                     84.60%
Southern               Suncoast                           1/18/2020                   93.29%              88.91%                     87.98%
Southern               Suncoast                           1/25/2020                   90.57%              89.67%                     87.50%
Southern               Suncoast                            2/1/2020                   92.54%              91.50%                     89.27%
Southern               Suncoast                            2/8/2020                   92.78%              91.89%                     90.66%
Southern               Suncoast                           2/15/2020                   94.29%              92.73%                     88.97%
Southern               Suncoast                           2/22/2020                   93.59%              92.27%                     87.65%
Southern               Suncoast                           2/29/2020                   93.67%              92.43%                     89.63%
Southern               Suncoast                            3/7/2020                   92.75%              91.19%                     85.61%
Southern               Suncoast                           3/14/2020                   92.36%              90.79%                     88.02%
Southern               Suncoast                           3/21/2020                   93.47%              92.44%                     85.52%
Southern               Suncoast                           3/28/2020                   92.96%              94.83%                     89.79%
Southern               Suncoast                            4/1/2020                   93.64%              92.50%                     83.21%
Southern               Suncoast                            4/4/2020                   92.58%              95.09%                     89.82%
Southern               Suncoast                           4/11/2020                   92.31%              94.08%                     80.63%
Southern               Suncoast                           4/18/2020                   93.00%              92.42%                     87.14%
Southern               Suncoast                           4/25/2020                   92.65%              91.88%                     85.63%
Southern               Suncoast                            5/2/2020                   91.52%              93.63%                     85.11%
Southern               Suncoast                            5/9/2020                   90.24%              90.84%                     70.29%
Southern               Suncoast                           5/16/2020                   92.46%              93.50%                     80.25%
Southern               Suncoast                           5/23/2020                   93.59%              91.61%                     83.75%
Southern               Suncoast                           5/30/2020                   90.66%              91.17%                     85.01%
Southern               Suncoast                            6/6/2020                   91.21%              90.04%                     85.03%
Southern               Suncoast                           6/13/2020                   92.97%              91.59%                     89.06%
Southern               Suncoast                           6/20/2020                   90.90%              90.30%                     82.88%
Southern               Suncoast                           6/27/2020                   90.56%              91.03%                     74.17%
Southern               Suncoast                            7/1/2020                   93.04%              89.59%                     87.07%
Southern               Suncoast                            7/4/2020                   89.54%              88.91%                     83.65%
Southern               Suncoast                           7/11/2020                   80.09%              76.97%                     79.92%
Southern               Suncoast                           7/18/2020                   75.24%              70.29%                     72.52%
Southern               Suncoast                           7/25/2020                   85.11%              76.04%                     80.74%
Southern               Suncoast                            8/1/2020                   85.30%              83.34%                     75.11%
Southern               Suncoast                            8/8/2020                   85.21%              89.39%                     80.11%

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Commission (PRC) at the end of the quarter.                          57
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 58 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                  District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Southern               Suncoast                           8/15/2020                   89.27%              89.23%                     79.03%
Southern               Suncoast                           8/22/2020                   89.40%              89.63%                     80.15%
Southern               Suncoast                           8/29/2020                   89.70%              90.17%                     82.32%
Southern               Suncoast                            9/5/2020                   90.33%              86.76%                     88.18%
Southern               Suncoast                           9/12/2020                   88.95%              88.76%                     84.40%
Southern               Suncoast                           9/19/2020                   86.67%              91.50%                     84.27%
Southern               Suncoast                           9/26/2020                   88.41%              91.78%                     84.78%
Southern               Suncoast                           10/3/2020                   88.13%              88.14%                     78.35%
Southern               Suncoast                          10/10/2020                   86.49%              86.81%                     74.90%
Southern               Suncoast                          10/17/2020                   81.96%              86.89%                     78.88%
Southern               Suncoast                          10/24/2020                   84.70%              87.67%                     78.51%
Southern               Suncoast                          10/31/2020                   87.47%              87.42%                     83.45%
Southern               Suncoast                           11/7/2020                   86.44%              87.62%                     84.94%
Southern               Suncoast                          11/14/2020                   86.56%              89.51%                     80.69%
Southern               Suncoast                          11/21/2020                   85.00%              90.75%                     80.74%
Southern               Suncoast                          11/28/2020                   83.14%              89.58%                     78.30%
Southern               Suncoast                           12/5/2020                   82.24%              85.47%                     68.18%
Southern               Suncoast                          12/12/2020                   80.77%              87.99%                     69.77%
Western                Alaska                              1/4/2020                   89.12%              89.95%                     77.51%
Western                Alaska                             1/11/2020                   91.09%              91.23%                     70.03%
Western                Alaska                             1/18/2020                   92.57%              92.92%                     87.30%
Western                Alaska                             1/25/2020                   91.22%              95.96%                     94.81%
Western                Alaska                              2/1/2020                   90.77%              95.96%                     92.22%
Western                Alaska                              2/8/2020                   91.89%              81.83%                     89.98%
Western                Alaska                             2/15/2020                   93.62%              82.09%                     82.84%
Western                Alaska                             2/22/2020                   93.30%              98.05%                     87.40%
Western                Alaska                             2/29/2020                   92.97%              96.95%                     90.65%
Western                Alaska                              3/7/2020                   92.41%              82.13%                     88.96%
Western                Alaska                             3/14/2020                   92.02%              90.51%                     91.68%
Western                Alaska                             3/21/2020                   91.98%              82.23%                     93.83%
Western                Alaska                             3/28/2020                   91.79%              98.65%                     94.61%
Western                Alaska                              4/1/2020                   90.26%              97.44%                     87.95%
Western                Alaska                              4/4/2020                   92.88%              63.97%                     82.56%
Western                Alaska                             4/11/2020                   91.36%              85.17%                     89.33%
Western                Alaska                             4/18/2020                   91.79%              85.33%                     93.03%
Western                Alaska                             4/25/2020                   92.74%              93.27%                     95.57%
Western                Alaska                              5/2/2020                   92.00%              96.59%                     84.45%
Western                Alaska                              5/9/2020                   92.51%              86.77%                     94.42%
Western                Alaska                             5/16/2020                   92.31%              84.57%                     94.22%
Western                Alaska                             5/23/2020                   91.24%              83.79%                     89.05%
Western                Alaska                             5/30/2020                   91.29%              97.20%                     93.93%
Western                Alaska                              6/6/2020                   92.12%              84.72%                     88.72%
Western                Alaska                             6/13/2020                   92.14%              98.43%                     91.14%
Western                Alaska                             6/20/2020                   91.63%              93.65%                     91.63%
Western                Alaska                             6/27/2020                   91.79%              97.65%                     94.91%
Western                Alaska                              7/1/2020                   93.87%              95.72%                     83.10%
Western                Alaska                              7/4/2020                   90.82%              93.84%                     77.28%
Western                Alaska                             7/11/2020                   91.14%              84.23%                     89.93%
Western                Alaska                             7/18/2020                   88.31%              98.32%                     86.89%
Western                Alaska                             7/25/2020                   89.01%              96.55%                     86.79%
Western                Alaska                              8/1/2020                   89.67%              85.73%                     84.11%
Western                Alaska                              8/8/2020                   87.07%              85.01%                     87.66%
Western                Alaska                             8/15/2020                   86.51%              83.98%                     87.43%
Western                Alaska                             8/22/2020                   89.43%              97.04%                     88.93%
Western                Alaska                             8/29/2020                   91.46%              97.73%                     94.71%
Western                Alaska                              9/5/2020                   90.96%              98.39%                     92.76%
Western                Alaska                             9/12/2020                   90.35%              96.64%                     95.87%
Western                Alaska                             9/19/2020                   94.07%              98.26%                     87.59%

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Commission (PRC) at the end of the quarter.                          58
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 59 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                   District               Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Alaska                             9/26/2020                   90.97%              83.03%                     91.25%
Western                Alaska                             10/3/2020                   90.56%              97.95%                     95.51%
Western                Alaska                            10/10/2020                   87.43%              96.91%                     88.24%
Western                Alaska                            10/17/2020                   80.93%              96.85%                     75.65%
Western                Alaska                            10/24/2020                   72.43%              82.90%                     92.28%
Western                Alaska                            10/31/2020                   83.48%              88.52%                     97.22%
Western                Alaska                             11/7/2020                   89.83%              94.90%                     93.71%
Western                Alaska                            11/14/2020                   89.49%              96.54%                     91.61%
Western                Alaska                            11/21/2020                   87.52%              80.86%                     94.21%
Western                Alaska                            11/28/2020                   84.59%              97.34%                     88.14%
Western                Alaska                             12/5/2020                   84.29%              91.38%                     93.13%
Western                Alaska                            12/12/2020                   79.92%              82.43%                     96.26%
Western                Arizona                             1/4/2020                   91.44%              90.90%                     87.48%
Western                Arizona                            1/11/2020                   92.39%              90.37%                     88.93%
Western                Arizona                            1/18/2020                   93.78%              91.48%                     91.61%
Western                Arizona                            1/25/2020                   92.11%              92.30%                     87.41%
Western                Arizona                             2/1/2020                   90.48%              90.42%                     88.40%
Western                Arizona                             2/8/2020                   91.36%              91.31%                     91.33%
Western                Arizona                            2/15/2020                   94.34%              90.26%                     89.94%
Western                Arizona                            2/22/2020                   91.43%              89.61%                     86.20%
Western                Arizona                            2/29/2020                   92.61%              92.07%                     87.45%
Western                Arizona                             3/7/2020                   90.79%              90.45%                     83.11%
Western                Arizona                            3/14/2020                   91.35%              89.55%                     84.60%
Western                Arizona                            3/21/2020                   92.27%              92.62%                     84.98%
Western                Arizona                            3/28/2020                   89.97%              92.09%                     87.23%
Western                Arizona                             4/1/2020                   91.24%              91.02%                     84.14%
Western                Arizona                             4/4/2020                   91.97%              93.55%                     87.65%
Western                Arizona                            4/11/2020                   91.69%              92.97%                     85.42%
Western                Arizona                            4/18/2020                   92.55%              93.66%                     87.24%
Western                Arizona                            4/25/2020                   90.97%              92.85%                     79.71%
Western                Arizona                             5/2/2020                   92.05%              91.56%                     83.51%
Western                Arizona                             5/9/2020                   90.75%              91.29%                     78.45%
Western                Arizona                            5/16/2020                   92.78%              93.19%                     82.85%
Western                Arizona                            5/23/2020                   93.18%              93.25%                     80.82%
Western                Arizona                            5/30/2020                   91.26%              93.55%                     90.11%
Western                Arizona                             6/6/2020                   91.18%              93.47%                     83.96%
Western                Arizona                            6/13/2020                   91.57%              94.29%                     87.73%
Western                Arizona                            6/20/2020                   91.43%              91.39%                     75.74%
Western                Arizona                            6/27/2020                   90.76%              92.22%                     89.36%
Western                Arizona                             7/1/2020                   92.34%              92.52%                     89.27%
Western                Arizona                             7/4/2020                   92.22%              91.81%                     78.46%
Western                Arizona                            7/11/2020                   86.72%              85.59%                     81.28%
Western                Arizona                            7/18/2020                   86.82%              84.44%                     75.31%
Western                Arizona                            7/25/2020                   87.20%              88.29%                     83.38%
Western                Arizona                             8/1/2020                   87.37%              87.46%                     82.52%
Western                Arizona                             8/8/2020                   87.64%              91.10%                     74.70%
Western                Arizona                            8/15/2020                   88.72%              92.75%                     81.88%
Western                Arizona                            8/22/2020                   89.74%              93.86%                     79.93%
Western                Arizona                            8/29/2020                   88.97%              93.29%                     85.44%
Western                Arizona                             9/5/2020                   90.12%              92.99%                     83.29%
Western                Arizona                            9/12/2020                   90.35%              91.28%                     79.85%
Western                Arizona                            9/19/2020                   88.94%              92.96%                     86.40%
Western                Arizona                            9/26/2020                   87.44%              89.79%                     78.02%
Western                Arizona                            10/3/2020                   88.29%              94.35%                     76.19%
Western                Arizona                           10/10/2020                   85.84%              77.38%                     84.38%
Western                Arizona                           10/17/2020                   82.12%              84.37%                     66.24%
Western                Arizona                           10/24/2020                   87.07%              88.91%                     68.93%
Western                Arizona                           10/31/2020                   88.22%              87.08%                     72.99%

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Commission (PRC) at the end of the quarter.                          59
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 60 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Arizona                            11/7/2020                   89.32%              89.84%                     64.73%
Western                Arizona                           11/14/2020                   91.75%              92.64%                     78.99%
Western                Arizona                           11/21/2020                   88.15%              91.73%                     79.67%
Western                Arizona                           11/28/2020                   80.96%              88.51%                     71.31%
Western                Arizona                            12/5/2020                   80.72%              82.74%                     68.28%
Western                Arizona                           12/12/2020                   77.97%              84.88%                     54.76%
Western                Central Plains                      1/4/2020                   93.81%              94.29%                     87.66%
Western                Central Plains                     1/11/2020                   92.81%              94.03%                     90.20%
Western                Central Plains                     1/18/2020                   95.13%              90.56%                     89.51%
Western                Central Plains                     1/25/2020                   90.74%              95.15%                     90.90%
Western                Central Plains                      2/1/2020                   93.46%              95.09%                     89.33%
Western                Central Plains                      2/8/2020                   94.18%              96.10%                     93.70%
Western                Central Plains                     2/15/2020                   96.17%              95.44%                     93.72%
Western                Central Plains                     2/22/2020                   95.57%              96.63%                     93.35%
Western                Central Plains                     2/29/2020                   95.07%              88.53%                     92.05%
Western                Central Plains                      3/7/2020                   93.98%              94.78%                     91.40%
Western                Central Plains                     3/14/2020                   95.16%              95.87%                     91.60%
Western                Central Plains                     3/21/2020                   94.95%              95.58%                     90.45%
Western                Central Plains                     3/28/2020                   95.70%              96.44%                     91.76%
Western                Central Plains                      4/1/2020                   94.32%              95.90%                     91.03%
Western                Central Plains                      4/4/2020                   93.73%              88.73%                     91.65%
Western                Central Plains                     4/11/2020                   93.37%              96.51%                     89.53%
Western                Central Plains                     4/18/2020                   94.35%              96.01%                     91.79%
Western                Central Plains                     4/25/2020                   90.93%              95.95%                     82.74%
Western                Central Plains                      5/2/2020                   92.00%              87.64%                     89.03%
Western                Central Plains                      5/9/2020                   92.31%              94.15%                     86.45%
Western                Central Plains                     5/16/2020                   94.04%              87.67%                     89.56%
Western                Central Plains                     5/23/2020                   95.32%              93.74%                     90.26%
Western                Central Plains                     5/30/2020                   91.89%              93.88%                     85.47%
Western                Central Plains                      6/6/2020                   93.00%              93.79%                     88.11%
Western                Central Plains                     6/13/2020                   94.40%              94.37%                     88.46%
Western                Central Plains                     6/20/2020                   94.57%              94.76%                     88.82%
Western                Central Plains                     6/27/2020                   94.18%              96.12%                     86.37%
Western                Central Plains                      7/1/2020                   93.28%              92.00%                     88.71%
Western                Central Plains                      7/4/2020                   93.40%              88.52%                     83.72%
Western                Central Plains                     7/11/2020                   88.97%              92.17%                     88.75%
Western                Central Plains                     7/18/2020                   85.62%              89.39%                     86.77%
Western                Central Plains                     7/25/2020                   87.94%              93.09%                     85.38%
Western                Central Plains                      8/1/2020                   88.67%              84.60%                     82.95%
Western                Central Plains                      8/8/2020                   87.95%              92.40%                     81.62%
Western                Central Plains                     8/15/2020                   86.90%              92.99%                     87.48%
Western                Central Plains                     8/22/2020                   87.00%              94.80%                     88.08%
Western                Central Plains                     8/29/2020                   87.52%              93.08%                     89.76%
Western                Central Plains                      9/5/2020                   88.86%              84.70%                     88.95%
Western                Central Plains                     9/12/2020                   85.36%              92.67%                     87.98%
Western                Central Plains                     9/19/2020                   90.52%              94.73%                     90.82%
Western                Central Plains                     9/26/2020                   88.88%              93.53%                     86.80%
Western                Central Plains                     10/3/2020                   90.76%              94.94%                     88.92%
Western                Central Plains                    10/10/2020                   90.54%              93.36%                     91.40%
Western                Central Plains                    10/17/2020                   86.34%              87.31%                     89.04%
Western                Central Plains                    10/24/2020                   88.42%              93.82%                     86.40%
Western                Central Plains                    10/31/2020                   91.19%              87.35%                     87.01%
Western                Central Plains                     11/7/2020                   91.56%              93.08%                     87.05%
Western                Central Plains                    11/14/2020                   92.89%              95.26%                     88.15%
Western                Central Plains                    11/21/2020                   87.92%              93.49%                     87.77%
Western                Central Plains                    11/28/2020                   84.41%              92.85%                     86.43%
Western                Central Plains                     12/5/2020                   84.05%              85.88%                     78.27%
Western                Central Plains                    12/12/2020                   81.32%              88.74%                     77.07%

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Commission (PRC) at the end of the quarter.                          60
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 61 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Colorado/Wyoming                    1/4/2020                   88.39%              83.93%                     77.62%
Western                Colorado/Wyoming                   1/11/2020                   87.00%              84.89%                     87.05%
Western                Colorado/Wyoming                   1/18/2020                   91.54%              87.33%                     82.45%
Western                Colorado/Wyoming                   1/25/2020                   85.95%              88.64%                     83.23%
Western                Colorado/Wyoming                    2/1/2020                   80.11%              81.16%                     88.65%
Western                Colorado/Wyoming                    2/8/2020                   84.99%              86.68%                     85.33%
Western                Colorado/Wyoming                   2/15/2020                   89.54%              86.40%                     87.92%
Western                Colorado/Wyoming                   2/22/2020                   90.81%              92.82%                     85.16%
Western                Colorado/Wyoming                   2/29/2020                   91.51%              90.65%                     81.02%
Western                Colorado/Wyoming                    3/7/2020                   90.67%              88.18%                     82.52%
Western                Colorado/Wyoming                   3/14/2020                   88.70%              88.70%                     80.24%
Western                Colorado/Wyoming                   3/21/2020                   88.05%              89.44%                     79.99%
Western                Colorado/Wyoming                   3/28/2020                   88.28%              91.24%                     77.79%
Western                Colorado/Wyoming                    4/1/2020                   91.36%              86.70%                     79.28%
Western                Colorado/Wyoming                    4/4/2020                   86.13%              82.23%                     59.28%
Western                Colorado/Wyoming                   4/11/2020                   83.42%              77.56%                     57.01%
Western                Colorado/Wyoming                   4/18/2020                   86.07%              87.32%                     58.10%
Western                Colorado/Wyoming                   4/25/2020                   83.31%              85.48%                     64.39%
Western                Colorado/Wyoming                    5/2/2020                   87.76%              87.82%                     60.23%
Western                Colorado/Wyoming                    5/9/2020                   86.39%              89.07%                     60.95%
Western                Colorado/Wyoming                   5/16/2020                   88.50%              91.99%                     76.63%
Western                Colorado/Wyoming                   5/23/2020                   89.88%              92.58%                     76.72%
Western                Colorado/Wyoming                   5/30/2020                   89.26%              94.41%                     75.58%
Western                Colorado/Wyoming                    6/6/2020                   88.21%              82.34%                     77.75%
Western                Colorado/Wyoming                   6/13/2020                   87.71%              89.24%                     77.63%
Western                Colorado/Wyoming                   6/20/2020                   87.47%              91.28%                     74.21%
Western                Colorado/Wyoming                   6/27/2020                   86.75%              90.70%                     77.74%
Western                Colorado/Wyoming                    7/1/2020                   88.49%              89.54%                     76.57%
Western                Colorado/Wyoming                    7/4/2020                   86.01%              87.67%                     82.13%
Western                Colorado/Wyoming                   7/11/2020                   81.98%              76.38%                     64.21%
Western                Colorado/Wyoming                   7/18/2020                   82.90%              83.32%                     77.73%
Western                Colorado/Wyoming                   7/25/2020                   83.92%              86.28%                     61.84%
Western                Colorado/Wyoming                    8/1/2020                   79.31%              84.49%                     72.62%
Western                Colorado/Wyoming                    8/8/2020                   80.54%              86.69%                     69.32%
Western                Colorado/Wyoming                   8/15/2020                   80.52%              86.82%                     66.25%
Western                Colorado/Wyoming                   8/22/2020                   84.51%              92.04%                     76.80%
Western                Colorado/Wyoming                   8/29/2020                   84.02%              90.25%                     75.96%
Western                Colorado/Wyoming                    9/5/2020                   84.83%              90.42%                     76.25%
Western                Colorado/Wyoming                   9/12/2020                   82.83%              89.20%                     80.97%
Western                Colorado/Wyoming                   9/19/2020                   82.78%              89.76%                     75.40%
Western                Colorado/Wyoming                   9/26/2020                   83.20%              89.74%                     81.81%
Western                Colorado/Wyoming                   10/3/2020                   84.41%              89.30%                     75.64%
Western                Colorado/Wyoming                  10/10/2020                   77.41%              81.81%                     77.05%
Western                Colorado/Wyoming                  10/17/2020                   71.47%              64.43%                     70.85%
Western                Colorado/Wyoming                  10/24/2020                   62.54%              78.36%                     60.41%
Western                Colorado/Wyoming                  10/31/2020                   67.12%              67.16%                     54.31%
Western                Colorado/Wyoming                   11/7/2020                   70.58%              65.28%                     64.38%
Western                Colorado/Wyoming                  11/14/2020                   75.04%              75.45%                     69.92%
Western                Colorado/Wyoming                  11/21/2020                   73.32%              82.45%                     69.43%
Western                Colorado/Wyoming                  11/28/2020                   69.20%              74.10%                     65.50%
Western                Colorado/Wyoming                   12/5/2020                   67.35%              85.39%                     64.56%
Western                Colorado/Wyoming                  12/12/2020                   65.11%              79.27%                     61.16%
Western                Dakotas                             1/4/2020                   91.47%              91.30%                     86.24%
Western                Dakotas                            1/11/2020                   91.89%              87.84%                     86.15%
Western                Dakotas                            1/18/2020                   90.67%              90.58%                     85.28%
Western                Dakotas                            1/25/2020                   90.81%              94.24%                     88.69%
Western                Dakotas                             2/1/2020                   92.19%              92.89%                     90.51%
Western                Dakotas                             2/8/2020                   92.82%              94.26%                     90.92%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          61
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                   District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Dakotas                            2/15/2020                   94.58%              92.97%                     88.88%
Western                Dakotas                            2/22/2020                   93.85%              95.54%                     90.63%
Western                Dakotas                            2/29/2020                   94.45%              94.41%                     89.68%
Western                Dakotas                             3/7/2020                   93.79%              94.71%                     88.59%
Western                Dakotas                            3/14/2020                   93.80%              95.03%                     90.12%
Western                Dakotas                            3/21/2020                   94.36%              95.27%                     85.71%
Western                Dakotas                            3/28/2020                   93.59%              94.58%                     87.04%
Western                Dakotas                             4/1/2020                   94.58%              94.49%                     85.42%
Western                Dakotas                             4/4/2020                   93.57%              96.12%                     91.21%
Western                Dakotas                            4/11/2020                   93.03%              95.55%                     87.28%
Western                Dakotas                            4/18/2020                   94.25%              94.35%                     86.95%
Western                Dakotas                            4/25/2020                   93.87%              96.01%                     86.97%
Western                Dakotas                             5/2/2020                   93.73%              94.01%                     87.87%
Western                Dakotas                             5/9/2020                   92.41%              92.18%                     87.11%
Western                Dakotas                            5/16/2020                   94.03%              95.03%                     87.75%
Western                Dakotas                            5/23/2020                   94.90%              92.86%                     85.34%
Western                Dakotas                            5/30/2020                   92.40%              94.44%                     85.75%
Western                Dakotas                             6/6/2020                   93.69%              94.85%                     89.69%
Western                Dakotas                            6/13/2020                   94.65%              94.40%                     89.55%
Western                Dakotas                            6/20/2020                   93.85%              93.73%                     89.15%
Western                Dakotas                            6/27/2020                   93.42%              93.15%                     88.22%
Western                Dakotas                             7/1/2020                   94.00%              94.50%                     87.16%
Western                Dakotas                             7/4/2020                   92.57%              88.03%                     89.44%
Western                Dakotas                            7/11/2020                   91.21%              87.45%                     87.00%
Western                Dakotas                            7/18/2020                   89.34%              90.99%                     84.63%
Western                Dakotas                            7/25/2020                   90.73%              90.70%                     78.47%
Western                Dakotas                             8/1/2020                   90.94%              90.58%                     83.54%
Western                Dakotas                             8/8/2020                   89.74%              90.36%                     79.98%
Western                Dakotas                            8/15/2020                   91.20%              91.15%                     85.07%
Western                Dakotas                            8/22/2020                   92.97%              92.88%                     80.20%
Western                Dakotas                            8/29/2020                   91.37%              92.37%                     80.67%
Western                Dakotas                             9/5/2020                   92.00%              91.19%                     78.51%
Western                Dakotas                            9/12/2020                   90.68%              92.01%                     87.96%
Western                Dakotas                            9/19/2020                   91.77%              95.38%                     86.58%
Western                Dakotas                            9/26/2020                   92.08%              95.30%                     90.76%
Western                Dakotas                            10/3/2020                   91.77%              94.29%                     84.71%
Western                Dakotas                           10/10/2020                   91.26%              93.51%                     87.99%
Western                Dakotas                           10/17/2020                   88.52%              94.02%                     80.37%
Western                Dakotas                           10/24/2020                   86.60%              94.84%                     82.23%
Western                Dakotas                           10/31/2020                   90.89%              91.20%                     84.35%
Western                Dakotas                            11/7/2020                   90.38%              91.29%                     85.41%
Western                Dakotas                           11/14/2020                   91.90%              95.43%                     89.86%
Western                Dakotas                           11/21/2020                   88.76%              89.76%                     83.23%
Western                Dakotas                           11/28/2020                   83.25%              90.88%                     80.61%
Western                Dakotas                            12/5/2020                   84.72%              86.49%                     69.17%
Western                Dakotas                           12/12/2020                   83.04%              84.27%                     71.75%
Western                Hawkeye                             1/4/2020                   93.25%              94.09%                     91.42%
Western                Hawkeye                            1/11/2020                   91.69%              90.45%                     91.58%
Western                Hawkeye                            1/18/2020                   90.65%              91.03%                     77.93%
Western                Hawkeye                            1/25/2020                   92.77%              93.84%                     82.88%
Western                Hawkeye                             2/1/2020                   92.51%              93.48%                     94.08%
Western                Hawkeye                             2/8/2020                   93.65%              94.28%                     91.72%
Western                Hawkeye                            2/15/2020                   93.22%              95.63%                     87.96%
Western                Hawkeye                            2/22/2020                   93.50%              95.99%                     91.21%
Western                Hawkeye                            2/29/2020                   94.35%              95.59%                     90.56%
Western                Hawkeye                             3/7/2020                   92.68%              95.99%                     90.46%
Western                Hawkeye                            3/14/2020                   93.65%              95.93%                     91.18%
Western                Hawkeye                            3/21/2020                   93.57%              95.56%                     91.33%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          62
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 63 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                 District                   Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Hawkeye                            3/28/2020                   94.03%              96.01%                     90.60%
Western                Hawkeye                             4/1/2020                   94.35%              96.65%                     92.98%
Western                Hawkeye                             4/4/2020                   94.04%              96.70%                     90.38%
Western                Hawkeye                            4/11/2020                   92.92%              96.09%                     91.56%
Western                Hawkeye                            4/18/2020                   94.64%              96.41%                     92.60%
Western                Hawkeye                            4/25/2020                   93.95%              96.95%                     87.97%
Western                Hawkeye                             5/2/2020                   93.15%              94.86%                     89.57%
Western                Hawkeye                             5/9/2020                   92.25%              94.13%                     87.58%
Western                Hawkeye                            5/16/2020                   94.00%              94.41%                     90.46%
Western                Hawkeye                            5/23/2020                   92.83%              94.62%                     90.84%
Western                Hawkeye                            5/30/2020                   93.80%              94.57%                     90.37%
Western                Hawkeye                             6/6/2020                   93.00%              94.90%                     89.93%
Western                Hawkeye                            6/13/2020                   93.97%              95.93%                     87.89%
Western                Hawkeye                            6/20/2020                   92.94%              95.28%                     92.22%
Western                Hawkeye                            6/27/2020                   92.60%              95.17%                     81.83%
Western                Hawkeye                             7/1/2020                   92.43%              94.12%                     92.86%
Western                Hawkeye                             7/4/2020                   92.28%              93.22%                     83.66%
Western                Hawkeye                            7/11/2020                   90.05%              91.75%                     90.39%
Western                Hawkeye                            7/18/2020                   88.48%              92.42%                     87.66%
Western                Hawkeye                            7/25/2020                   90.48%              92.28%                     86.21%
Western                Hawkeye                             8/1/2020                   88.41%              92.05%                     81.16%
Western                Hawkeye                             8/8/2020                   84.80%              85.56%                     73.21%
Western                Hawkeye                            8/15/2020                   89.96%              92.18%                     84.27%
Western                Hawkeye                            8/22/2020                   91.46%              94.62%                     87.97%
Western                Hawkeye                            8/29/2020                   88.46%              93.94%                     83.51%
Western                Hawkeye                             9/5/2020                   86.11%              93.57%                     86.14%
Western                Hawkeye                            9/12/2020                   89.06%              92.74%                     88.11%
Western                Hawkeye                            9/19/2020                   85.86%              94.62%                     89.70%
Western                Hawkeye                            9/26/2020                   87.93%              94.19%                     88.61%
Western                Hawkeye                            10/3/2020                   88.46%              91.63%                     82.47%
Western                Hawkeye                           10/10/2020                   88.23%              87.31%                     88.23%
Western                Hawkeye                           10/17/2020                   85.65%              93.89%                     81.27%
Western                Hawkeye                           10/24/2020                   87.43%              92.56%                     81.19%
Western                Hawkeye                           10/31/2020                   89.81%              95.67%                     88.21%
Western                Hawkeye                            11/7/2020                   87.98%              94.08%                     89.35%
Western                Hawkeye                           11/14/2020                   88.49%              95.00%                     86.75%
Western                Hawkeye                           11/21/2020                   84.66%              90.51%                     81.58%
Western                Hawkeye                           11/28/2020                   73.00%              85.61%                     78.74%
Western                Hawkeye                            12/5/2020                   77.48%              82.89%                     71.02%
Western                Hawkeye                           12/12/2020                   74.66%              73.90%                     50.42%
Western                Mid‐America                         1/4/2020                   92.87%              92.68%                     89.27%
Western                Mid‐America                        1/11/2020                   91.73%              92.39%                     89.23%
Western                Mid‐America                        1/18/2020                   93.52%              86.12%                     89.66%
Western                Mid‐America                        1/25/2020                   92.49%              93.95%                     89.69%
Western                Mid‐America                         2/1/2020                   91.50%              85.23%                     89.46%
Western                Mid‐America                         2/8/2020                   92.63%              93.06%                     92.44%
Western                Mid‐America                        2/15/2020                   94.05%              94.39%                     91.10%
Western                Mid‐America                        2/22/2020                   93.41%              95.28%                     93.09%
Western                Mid‐America                        2/29/2020                   93.35%              94.71%                     86.54%
Western                Mid‐America                         3/7/2020                   92.74%              86.84%                     88.37%
Western                Mid‐America                        3/14/2020                   92.51%              91.16%                     89.68%
Western                Mid‐America                        3/21/2020                   93.16%              86.80%                     89.64%
Western                Mid‐America                        3/28/2020                   93.77%              94.13%                     90.19%
Western                Mid‐America                         4/1/2020                   93.40%              91.43%                     85.01%
Western                Mid‐America                         4/4/2020                   93.59%              87.90%                     88.08%
Western                Mid‐America                        4/11/2020                   91.47%              95.05%                     89.77%
Western                Mid‐America                        4/18/2020                   93.14%              93.93%                     88.85%
Western                Mid‐America                        4/25/2020                   92.15%              91.71%                     86.33%

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Commission (PRC) at the end of the quarter.                          63
               Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 64 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                  District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Mid‐America                         5/2/2020                   92.13%              85.68%                     83.58%
Western                Mid‐America                         5/9/2020                   91.20%              92.55%                     81.53%
Western                Mid‐America                        5/16/2020                   92.48%              94.80%                     82.06%
Western                Mid‐America                        5/23/2020                   93.25%              91.59%                     80.92%
Western                Mid‐America                        5/30/2020                   90.14%              90.21%                     79.43%
Western                Mid‐America                         6/6/2020                   91.12%              83.56%                     80.27%
Western                Mid‐America                        6/13/2020                   90.75%              92.63%                     82.25%
Western                Mid‐America                        6/20/2020                   91.73%              89.13%                     83.35%
Western                Mid‐America                        6/27/2020                   91.34%              93.82%                     85.05%
Western                Mid‐America                         7/1/2020                   91.03%              87.84%                     80.23%
Western                Mid‐America                         7/4/2020                   90.57%              82.67%                     76.49%
Western                Mid‐America                        7/11/2020                   85.22%              85.28%                     74.74%
Western                Mid‐America                        7/18/2020                   87.49%              87.01%                     77.86%
Western                Mid‐America                        7/25/2020                   87.05%              88.47%                     79.40%
Western                Mid‐America                         8/1/2020                   86.23%              74.01%                     71.75%
Western                Mid‐America                         8/8/2020                   83.85%              86.77%                     79.93%
Western                Mid‐America                        8/15/2020                   88.83%              88.73%                     77.62%
Western                Mid‐America                        8/22/2020                   90.06%              92.21%                     81.72%
Western                Mid‐America                        8/29/2020                   89.23%              89.34%                     82.48%
Western                Mid‐America                         9/5/2020                   90.12%              79.04%                     78.18%
Western                Mid‐America                        9/12/2020                   85.96%              80.36%                     75.70%
Western                Mid‐America                        9/19/2020                   85.99%              79.62%                     77.43%
Western                Mid‐America                        9/26/2020                   85.80%              85.47%                     76.76%
Western                Mid‐America                        10/3/2020                   84.38%              80.14%                     73.87%
Western                Mid‐America                       10/10/2020                   84.63%              88.08%                     75.28%
Western                Mid‐America                       10/17/2020                   83.32%              86.20%                     77.97%
Western                Mid‐America                       10/24/2020                   84.57%              82.19%                     84.02%
Western                Mid‐America                       10/31/2020                   85.63%              76.63%                     75.70%
Western                Mid‐America                        11/7/2020                   82.06%              77.83%                     84.83%
Western                Mid‐America                       11/14/2020                   85.90%              83.90%                     75.71%
Western                Mid‐America                       11/21/2020                   82.43%              68.82%                     69.31%
Western                Mid‐America                       11/28/2020                   80.41%              78.32%                     51.29%
Western                Mid‐America                        12/5/2020                   78.71%              65.02%                     41.91%
Western                Mid‐America                       12/12/2020                   74.43%              55.46%                     32.69%
Western                Nevada Sierra                       1/4/2020                   93.47%              93.77%                     86.48%
Western                Nevada Sierra                      1/11/2020                   93.61%              92.92%                     81.50%
Western                Nevada Sierra                      1/18/2020                   94.70%              93.38%                     85.30%
Western                Nevada Sierra                      1/25/2020                   93.02%              95.19%                     86.21%
Western                Nevada Sierra                       2/1/2020                   90.67%              93.77%                     86.95%
Western                Nevada Sierra                       2/8/2020                   91.93%              95.24%                     85.65%
Western                Nevada Sierra                      2/15/2020                   94.84%              93.73%                     89.69%
Western                Nevada Sierra                      2/22/2020                   94.59%              96.75%                     89.68%
Western                Nevada Sierra                      2/29/2020                   95.14%              95.02%                     89.43%
Western                Nevada Sierra                       3/7/2020                   92.78%              93.56%                     81.77%
Western                Nevada Sierra                      3/14/2020                   93.11%              94.91%                     88.91%
Western                Nevada Sierra                      3/21/2020                   90.78%              95.53%                     84.31%
Western                Nevada Sierra                      3/28/2020                   93.50%              96.23%                     89.14%
Western                Nevada Sierra                       4/1/2020                   94.86%              94.08%                     91.21%
Western                Nevada Sierra                       4/4/2020                   94.29%              95.48%                     85.80%
Western                Nevada Sierra                      4/11/2020                   92.61%              94.63%                     77.14%
Western                Nevada Sierra                      4/18/2020                   94.00%              94.77%                     80.78%
Western                Nevada Sierra                      4/25/2020                   93.96%              94.12%                     79.30%
Western                Nevada Sierra                       5/2/2020                   93.31%              93.23%                     78.43%
Western                Nevada Sierra                       5/9/2020                   91.40%              94.49%                     73.97%
Western                Nevada Sierra                      5/16/2020                   93.80%              95.39%                     79.77%
Western                Nevada Sierra                      5/23/2020                   93.51%              94.16%                     78.80%
Western                Nevada Sierra                      5/30/2020                   93.40%              96.04%                     88.87%
Western                Nevada Sierra                       6/6/2020                   94.16%              95.33%                     79.78%

Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          64
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                  District                  Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Nevada Sierra                      6/13/2020                   94.39%              94.54%                     81.39%
Western                Nevada Sierra                      6/20/2020                   93.73%              94.73%                     76.47%
Western                Nevada Sierra                      6/27/2020                   91.03%              94.94%                     82.83%
Western                Nevada Sierra                       7/1/2020                   91.15%              92.29%                     88.98%
Western                Nevada Sierra                       7/4/2020                   93.29%              87.84%                     76.95%
Western                Nevada Sierra                      7/11/2020                   91.50%              93.42%                     78.57%
Western                Nevada Sierra                      7/18/2020                   89.27%              92.14%                     78.19%
Western                Nevada Sierra                      7/25/2020                   88.43%              91.85%                     71.41%
Western                Nevada Sierra                       8/1/2020                   87.59%              90.41%                     75.00%
Western                Nevada Sierra                       8/8/2020                   88.44%              91.67%                     67.10%
Western                Nevada Sierra                      8/15/2020                   89.21%              91.23%                     75.80%
Western                Nevada Sierra                      8/22/2020                   90.43%              92.61%                     78.85%
Western                Nevada Sierra                      8/29/2020                   91.09%              94.61%                     87.64%
Western                Nevada Sierra                       9/5/2020                   91.85%              91.82%                     85.06%
Western                Nevada Sierra                      9/12/2020                   90.97%              90.79%                     83.18%
Western                Nevada Sierra                      9/19/2020                   89.76%              94.74%                     86.04%
Western                Nevada Sierra                      9/26/2020                   92.23%              93.88%                     78.05%
Western                Nevada Sierra                      10/3/2020                   91.48%              94.78%                     85.18%
Western                Nevada Sierra                     10/10/2020                   90.36%              93.61%                     82.54%
Western                Nevada Sierra                     10/17/2020                   86.47%              95.19%                     85.68%
Western                Nevada Sierra                     10/24/2020                   89.08%              95.68%                     79.71%
Western                Nevada Sierra                     10/31/2020                   91.02%              94.36%                     87.23%
Western                Nevada Sierra                      11/7/2020                   91.06%              94.72%                     83.86%
Western                Nevada Sierra                     11/14/2020                   90.59%              95.05%                     79.80%
Western                Nevada Sierra                     11/21/2020                   89.11%              93.22%                     74.09%
Western                Nevada Sierra                     11/28/2020                   84.54%              94.59%                     80.17%
Western                Nevada Sierra                      12/5/2020                   85.83%              94.31%                     82.14%
Western                Nevada Sierra                     12/12/2020                   83.26%              93.93%                     81.77%
Western                Northland                           1/4/2020                   89.01%              92.37%                     88.59%
Western                Northland                          1/11/2020                   86.78%              89.56%                     89.32%
Western                Northland                          1/18/2020                   90.09%              84.53%                     88.25%
Western                Northland                          1/25/2020                   88.36%              92.31%                     88.21%
Western                Northland                           2/1/2020                   89.04%              86.63%                     87.39%
Western                Northland                           2/8/2020                   90.77%              93.86%                     91.54%
Western                Northland                          2/15/2020                   92.81%              94.81%                     88.37%
Western                Northland                          2/22/2020                   91.56%              94.30%                     88.69%
Western                Northland                          2/29/2020                   92.33%              87.84%                     83.08%
Western                Northland                           3/7/2020                   90.74%              94.84%                     91.94%
Western                Northland                          3/14/2020                   89.95%              95.49%                     89.46%
Western                Northland                          3/21/2020                   91.48%              95.80%                     91.63%
Western                Northland                          3/28/2020                   90.91%              96.44%                     84.27%
Western                Northland                           4/1/2020                   93.54%              96.00%                     87.80%
Western                Northland                           4/4/2020                   90.68%              89.12%                     91.32%
Western                Northland                          4/11/2020                   90.17%              96.32%                     89.40%
Western                Northland                          4/18/2020                   91.46%              95.08%                     88.25%
Western                Northland                          4/25/2020                   93.28%              94.47%                     78.57%
Western                Northland                           5/2/2020                   90.08%              86.83%                     86.39%
Western                Northland                           5/9/2020                   91.30%              93.54%                     87.92%
Western                Northland                          5/16/2020                   91.74%              95.33%                     82.63%
Western                Northland                          5/23/2020                   92.34%              92.13%                     85.64%
Western                Northland                          5/30/2020                   86.11%              92.60%                     74.23%
Western                Northland                           6/6/2020                   88.64%              85.73%                     85.92%
Western                Northland                          6/13/2020                   92.12%              93.74%                     86.74%
Western                Northland                          6/20/2020                   90.63%              92.16%                     87.20%
Western                Northland                          6/27/2020                   87.53%              86.68%                     88.15%
Western                Northland                           7/1/2020                   89.34%              93.30%                     74.95%
Western                Northland                           7/4/2020                   91.24%              88.99%                     84.94%
Western                Northland                          7/11/2020                   84.31%              87.02%                     81.56%

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Commission (PRC) at the end of the quarter.                          65
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 66 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                 District                 Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Northland                          7/18/2020                   75.49%              86.80%                     85.87%
Western                Northland                          7/25/2020                   82.85%              88.31%                     80.49%
Western                Northland                           8/1/2020                   80.13%              81.95%                     79.68%
Western                Northland                           8/8/2020                   79.91%              86.30%                     73.93%
Western                Northland                          8/15/2020                   84.33%              88.81%                     80.69%
Western                Northland                          8/22/2020                   84.85%              91.22%                     73.66%
Western                Northland                          8/29/2020                   84.22%              83.29%                     69.45%
Western                Northland                           9/5/2020                   87.87%              86.32%                     82.76%
Western                Northland                          9/12/2020                   84.51%              89.28%                     85.51%
Western                Northland                          9/19/2020                   81.46%              92.81%                     81.63%
Western                Northland                          9/26/2020                   82.88%              93.49%                     81.46%
Western                Northland                          10/3/2020                   84.65%              88.68%                     80.85%
Western                Northland                         10/10/2020                   85.95%              89.04%                     84.85%
Western                Northland                         10/17/2020                   80.25%              90.13%                     81.17%
Western                Northland                         10/24/2020                   81.57%              89.69%                     84.91%
Western                Northland                         10/31/2020                   86.30%              84.93%                     81.97%
Western                Northland                          11/7/2020                   84.90%              92.48%                     85.73%
Western                Northland                         11/14/2020                   87.36%              90.73%                     81.15%
Western                Northland                         11/21/2020                   77.75%              80.12%                     75.67%
Western                Northland                         11/28/2020                   75.92%              78.27%                     71.38%
Western                Northland                          12/5/2020                   70.80%              64.62%                     63.28%
Western                Northland                         12/12/2020                   70.27%              56.85%                     48.56%
Western                Portland                            1/4/2020                   92.92%              93.23%                     90.19%
Western                Portland                           1/11/2020                   89.06%              91.07%                     81.94%
Western                Portland                           1/18/2020                   93.27%              92.87%                     89.76%
Western                Portland                           1/25/2020                   91.19%              93.75%                     94.41%
Western                Portland                            2/1/2020                   90.93%              93.74%                     90.35%
Western                Portland                            2/8/2020                   92.82%              94.51%                     94.11%
Western                Portland                           2/15/2020                   94.69%              94.54%                     94.45%
Western                Portland                           2/22/2020                   93.54%              95.20%                     90.15%
Western                Portland                           2/29/2020                   94.06%              95.15%                     91.94%
Western                Portland                            3/7/2020                   93.08%              94.51%                     92.30%
Western                Portland                           3/14/2020                   92.31%              94.39%                     89.05%
Western                Portland                           3/21/2020                   92.95%              95.45%                     88.33%
Western                Portland                           3/28/2020                   92.16%              95.10%                     85.25%
Western                Portland                            4/1/2020                   93.26%              96.35%                     87.44%
Western                Portland                            4/4/2020                   90.68%              96.56%                     93.90%
Western                Portland                           4/11/2020                   90.47%              95.75%                     87.72%
Western                Portland                           4/18/2020                   92.51%              96.12%                     87.87%
Western                Portland                           4/25/2020                   91.41%              96.28%                     88.34%
Western                Portland                            5/2/2020                   90.94%              93.98%                     87.61%
Western                Portland                            5/9/2020                   89.05%              94.33%                     82.97%
Western                Portland                           5/16/2020                   92.15%              95.23%                     85.25%
Western                Portland                           5/23/2020                   92.32%              93.81%                     88.96%
Western                Portland                           5/30/2020                   91.80%              94.39%                     87.26%
Western                Portland                            6/6/2020                   91.61%              94.70%                     89.93%
Western                Portland                           6/13/2020                   92.16%              94.91%                     86.89%
Western                Portland                           6/20/2020                   91.46%              94.10%                     89.11%
Western                Portland                           6/27/2020                   90.19%              93.83%                     78.29%
Western                Portland                            7/1/2020                   92.78%              92.23%                     94.66%
Western                Portland                            7/4/2020                   90.60%              89.07%                     86.43%
Western                Portland                           7/11/2020                   87.71%              92.49%                     82.74%
Western                Portland                           7/18/2020                   88.11%              92.76%                     83.88%
Western                Portland                           7/25/2020                   86.76%              93.16%                     74.42%
Western                Portland                            8/1/2020                   87.67%              91.62%                     82.51%
Western                Portland                            8/8/2020                   86.40%              92.49%                     80.24%
Western                Portland                           8/15/2020                   88.76%              94.38%                     76.32%
Western                Portland                           8/22/2020                   89.60%              94.12%                     82.24%

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Commission (PRC) at the end of the quarter.                          66
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 67 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                  District                Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Portland                           8/29/2020                   88.95%              93.75%                     86.76%
Western                Portland                            9/5/2020                   89.99%              90.39%                     85.15%
Western                Portland                           9/12/2020                   87.63%              89.29%                     81.37%
Western                Portland                           9/19/2020                   89.29%              94.95%                     82.51%
Western                Portland                           9/26/2020                   90.97%              92.83%                     82.08%
Western                Portland                           10/3/2020                   88.96%              96.01%                     82.12%
Western                Portland                          10/10/2020                   89.83%              93.49%                     83.99%
Western                Portland                          10/17/2020                   83.89%              94.18%                     82.91%
Western                Portland                          10/24/2020                   88.68%              93.18%                     87.55%
Western                Portland                          10/31/2020                   89.77%              95.31%                     93.04%
Western                Portland                           11/7/2020                   90.24%              94.56%                     91.91%
Western                Portland                          11/14/2020                   91.46%              94.88%                     88.63%
Western                Portland                          11/21/2020                   89.17%              94.64%                     78.88%
Western                Portland                          11/28/2020                   84.02%              93.19%                     83.21%
Western                Portland                           12/5/2020                   84.85%              82.25%                     68.82%
Western                Portland                          12/12/2020                   84.46%              80.26%                     70.12%
Western                Salt Lake City                      1/4/2020                   91.25%              90.95%                     84.94%
Western                Salt Lake City                     1/11/2020                   92.10%              92.81%                     88.87%
Western                Salt Lake City                     1/18/2020                   92.63%              92.44%                     86.75%
Western                Salt Lake City                     1/25/2020                   91.01%              94.68%                     90.38%
Western                Salt Lake City                      2/1/2020                   91.68%              93.85%                     85.30%
Western                Salt Lake City                      2/8/2020                   91.30%              93.71%                     89.17%
Western                Salt Lake City                     2/15/2020                   93.54%              91.77%                     90.01%
Western                Salt Lake City                     2/22/2020                   93.66%              95.84%                     88.51%
Western                Salt Lake City                     2/29/2020                   93.33%              95.48%                     89.29%
Western                Salt Lake City                      3/7/2020                   91.79%              94.37%                     91.53%
Western                Salt Lake City                     3/14/2020                   90.52%              94.09%                     88.93%
Western                Salt Lake City                     3/21/2020                   89.85%              95.27%                     83.02%
Western                Salt Lake City                     3/28/2020                   92.13%              93.99%                     83.29%
Western                Salt Lake City                      4/1/2020                   90.76%              92.50%                     75.97%
Western                Salt Lake City                      4/4/2020                   92.67%              93.25%                     72.05%
Western                Salt Lake City                     4/11/2020                   85.84%              95.39%                     81.86%
Western                Salt Lake City                     4/18/2020                   90.82%              93.56%                     83.62%
Western                Salt Lake City                     4/25/2020                   91.05%              94.79%                     74.65%
Western                Salt Lake City                      5/2/2020                   89.40%              94.09%                     72.41%
Western                Salt Lake City                      5/9/2020                   88.21%              92.30%                     70.63%
Western                Salt Lake City                     5/16/2020                   92.26%              91.69%                     78.41%
Western                Salt Lake City                     5/23/2020                   92.52%              93.61%                     78.85%
Western                Salt Lake City                     5/30/2020                   90.33%              94.59%                     80.09%
Western                Salt Lake City                      6/6/2020                   90.60%              93.32%                     76.58%
Western                Salt Lake City                     6/13/2020                   91.55%              93.65%                     84.30%
Western                Salt Lake City                     6/20/2020                   90.75%              93.44%                     84.10%
Western                Salt Lake City                     6/27/2020                   89.95%              90.65%                     88.07%
Western                Salt Lake City                      7/1/2020                   91.95%              92.29%                     84.17%
Western                Salt Lake City                      7/4/2020                   88.55%              86.78%                     77.79%
Western                Salt Lake City                     7/11/2020                   86.29%              90.70%                     85.71%
Western                Salt Lake City                     7/18/2020                   86.69%              90.73%                     85.81%
Western                Salt Lake City                     7/25/2020                   87.91%              91.10%                     74.52%
Western                Salt Lake City                      8/1/2020                   86.71%              91.41%                     82.42%
Western                Salt Lake City                      8/8/2020                   85.74%              90.29%                     70.94%
Western                Salt Lake City                     8/15/2020                   88.77%              92.11%                     79.91%
Western                Salt Lake City                     8/22/2020                   89.90%              94.31%                     79.92%
Western                Salt Lake City                     8/29/2020                   90.13%              92.82%                     88.73%
Western                Salt Lake City                      9/5/2020                   90.51%              92.79%                     90.55%
Western                Salt Lake City                     9/12/2020                   88.49%              91.58%                     86.77%
Western                Salt Lake City                     9/19/2020                   89.78%              93.71%                     87.61%
Western                Salt Lake City                     9/26/2020                   91.24%              93.30%                     88.67%
Western                Salt Lake City                     10/3/2020                   90.97%              94.63%                     90.89%

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Commission (PRC) at the end of the quarter.                          67
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                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

        Area                    District                Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Salt Lake City                    10/10/2020                   89.23%              88.37%                     87.79%
Western                Salt Lake City                    10/17/2020                   86.32%              94.12%                     83.30%
Western                Salt Lake City                    10/24/2020                   87.78%              94.92%                     86.62%
Western                Salt Lake City                    10/31/2020                   88.62%              95.50%                     87.07%
Western                Salt Lake City                     11/7/2020                   87.35%              91.76%                     90.98%
Western                Salt Lake City                    11/14/2020                   90.72%              93.58%                     88.08%
Western                Salt Lake City                    11/21/2020                   86.92%              91.62%                     80.17%
Western                Salt Lake City                    11/28/2020                   81.37%              89.52%                     72.67%
Western                Salt Lake City                     12/5/2020                   81.80%              83.27%                     77.11%
Western                Salt Lake City                    12/12/2020                   80.28%              70.03%                     70.98%
Western                Seattle                             1/4/2020                   92.83%              92.34%                     88.39%
Western                Seattle                            1/11/2020                   89.53%              90.61%                     89.47%
Western                Seattle                            1/18/2020                   93.67%              93.62%                     89.58%
Western                Seattle                            1/25/2020                   90.67%              93.92%                     91.16%
Western                Seattle                             2/1/2020                   89.66%              93.80%                     87.70%
Western                Seattle                             2/8/2020                   90.39%              94.89%                     94.35%
Western                Seattle                            2/15/2020                   94.33%              94.47%                     93.29%
Western                Seattle                            2/22/2020                   92.70%              94.67%                     94.06%
Western                Seattle                            2/29/2020                   92.71%              94.87%                     90.51%
Western                Seattle                             3/7/2020                   92.21%              94.31%                     90.67%
Western                Seattle                            3/14/2020                   91.72%              95.09%                     88.77%
Western                Seattle                            3/21/2020                   92.42%              95.23%                     89.14%
Western                Seattle                            3/28/2020                   91.12%              96.30%                     85.75%
Western                Seattle                             4/1/2020                   91.79%              94.28%                     89.11%
Western                Seattle                             4/4/2020                   91.48%              96.26%                     85.71%
Western                Seattle                            4/11/2020                   90.61%              96.31%                     89.81%
Western                Seattle                            4/18/2020                   91.89%              96.21%                     88.09%
Western                Seattle                            4/25/2020                   91.16%              96.08%                     89.21%
Western                Seattle                             5/2/2020                   90.60%              95.07%                     88.16%
Western                Seattle                             5/9/2020                   88.35%              95.27%                     83.71%
Western                Seattle                            5/16/2020                   92.23%              95.11%                     85.26%
Western                Seattle                            5/23/2020                   91.90%              92.78%                     85.66%
Western                Seattle                            5/30/2020                   90.66%              94.16%                     87.13%
Western                Seattle                             6/6/2020                   91.69%              94.33%                     81.82%
Western                Seattle                            6/13/2020                   91.51%              95.10%                     87.97%
Western                Seattle                            6/20/2020                   91.50%              92.78%                     80.46%
Western                Seattle                            6/27/2020                   91.58%              94.19%                     93.81%
Western                Seattle                             7/1/2020                   91.59%              93.77%                     92.84%
Western                Seattle                             7/4/2020                   91.85%              93.38%                     80.78%
Western                Seattle                            7/11/2020                   85.75%              94.10%                     87.05%
Western                Seattle                            7/18/2020                   81.32%              80.55%                     82.38%
Western                Seattle                            7/25/2020                   86.66%              92.23%                     78.34%
Western                Seattle                             8/1/2020                   84.20%              89.47%                     75.81%
Western                Seattle                             8/8/2020                   75.89%              90.99%                     81.31%
Western                Seattle                            8/15/2020                   75.85%              90.31%                     79.88%
Western                Seattle                            8/22/2020                   77.91%              91.75%                     88.24%
Western                Seattle                            8/29/2020                   82.00%              92.11%                     81.87%
Western                Seattle                             9/5/2020                   87.70%              91.58%                     89.04%
Western                Seattle                            9/12/2020                   85.45%              89.47%                     85.09%
Western                Seattle                            9/19/2020                   88.25%              94.20%                     88.33%
Western                Seattle                            9/26/2020                   88.98%              93.55%                     88.64%
Western                Seattle                            10/3/2020                   89.48%              95.62%                     87.02%
Western                Seattle                           10/10/2020                   89.14%              93.81%                     88.40%
Western                Seattle                           10/17/2020                   81.15%              93.05%                     89.19%
Western                Seattle                           10/24/2020                   84.54%              94.39%                     92.22%
Western                Seattle                           10/31/2020                   88.04%              93.64%                     92.83%
Western                Seattle                            11/7/2020                   85.70%              92.50%                     92.90%
Western                Seattle                           11/14/2020                   89.53%              92.67%                     86.10%

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Commission (PRC) at the end of the quarter.                          68
                 Case 1:20-cv-06516-VM Document 107-1 Filed 12/28/20 Page 69 of 69
                             USPS FY20 Q2 ‐ FY21 Q1 To‐Date Service Performance For Market‐Dominant Products
                                                             District ‐ By Week

          Area                   District               Week              First‐Class Mail   USPS Marketing Mail            Periodicals
Western                Seattle                           11/21/2020                   83.33%              92.60%                     88.52%
Western                Seattle                           11/28/2020                   80.06%              90.03%                     84.29%
Western                Seattle                            12/5/2020                   80.10%              88.76%                     88.29%
Western                Seattle                           12/12/2020                   80.23%              87.51%                     76.26%




Please note that scores provided for each week in a quarter may not exactly match the official scores filed with the Postal Regulatory
Commission (PRC) at the end of the quarter.                          69
